               IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE

                                                  )
In re:                                            ) Chapter 11
                                                  )
GigaMonster Networks, LLC, et al.,                ) Case No. 23-10051 (JKS)
                                                  )
                              Debtors.            ) (Jointly Administered)
                                                  )
                                                  )




                                                                    December 22, 2023


Office of the United States Trustee




               Subject: Attestation Regard Bank Account Reconciliations

       The debtor, GigaMonster Networks, LLC, hereby submits this attestation
regarding bank account reconciliations in lieu of providing copies of bank statements and
copies of all account reconciliations.

        The debtor has, on a timely basis, performed all bank account reconciliation in the
ordinary course of its business. Copies of bank account statements and reconciliations
are available for inspection upon request by the United States Trustee’s Office.


                                                /s/ Rian Branning
                                             Name: Rian Branning
                                             Position: Chief Restructuring Officer
GigaMonster Networks LLC                                                                    Case 23-10051-JKS
Monthly Operating Report, Jan. 17 - Nov 30, 2023
Statement of Cash Receipts - by Date

                 Date                              Transaction Description    Amount
                 1/17/2023     Customer Receipt                                     32.14
                 1/17/2023     Customer Receipt                                     64.30
                 1/17/2023     Customer Receipt                                    129.53
                 1/17/2023     Customer Receipt                                    199.98
                 1/17/2023     Customer Receipt                                    234.97
                 1/17/2023     Customer Receipt                                    247.51
                 1/17/2023     Customer Receipt                                    670.81
                 1/17/2023     Customer Receipt                                  1,041.77
                 1/17/2023     Customer Receipt                                  1,128.24
                 1/17/2023     Customer Receipt                                  2,046.97
                 1/17/2023     Customer Receipt                                  3,075.58
                 1/17/2023     Customer Receipt                                  3,767.55
                 1/17/2023     Customer Receipt                                  3,925.07
                 1/17/2023     Customer Receipt                                 98,175.88
                 1/18/2023     Customer Receipt                                     28.68
                 1/18/2023     Customer Receipt                                    115.00
                 1/18/2023     Customer Receipt                                    179.94
                 1/18/2023     Customer Receipt                                    197.00
                 1/18/2023     Customer Receipt                                    650.00
                 1/18/2023     Customer Receipt                                    929.75
                 1/18/2023     Customer Receipt                                  1,527.41
                 1/18/2023     Customer Receipt                                  3,380.00
                 1/18/2023     Customer Receipt                                  4,853.42
                 1/18/2023     Customer Receipt                                 64,124.16
                 1/18/2023     DIP Loan Funding                              3,500,000.00
                 1/19/2023     Customer Receipt                                     15.05
                 1/19/2023     Customer Receipt                                    130.00
                 1/19/2023     Customer Receipt                                    529.92
                 1/19/2023     Customer Receipt                                    598.58
                 1/19/2023     Customer Receipt                                  4,406.86
                 1/19/2023     Customer Receipt                                  4,528.86
                 1/19/2023     Customer Receipt                                  5,894.45
                 1/19/2023     Customer Receipt                                  8,783.99
                 1/19/2023     Customer Receipt                                 25,960.21
                 1/20/2023     Customer Receipt                                    143.95
                 1/20/2023     Customer Receipt                                    611.96
                 1/20/2023     Customer Receipt                                    646.19
                 1/20/2023     Customer Receipt                                    701.98
                 1/20/2023     Customer Receipt                                  3,365.50
                 1/20/2023     Customer Receipt                                  4,400.00
                 1/20/2023     Customer Receipt                                  4,471.78
                 1/23/2023     Customer Receipt                                      2.50
                 1/23/2023     Customer Receipt                                    152.51
                 1/23/2023     Customer Receipt                                    190.69
                 1/23/2023     Customer Receipt                                    709.86
                 1/23/2023     Customer Receipt                                    914.02
                 1/23/2023     Customer Receipt                                  1,434.83
                 1/23/2023     Customer Receipt                                  1,884.79
                 1/23/2023     Customer Receipt                                  2,255.17
                 1/23/2023     Customer Receipt                                  2,420.21


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
Monthly Operating Report, Jan. 17 - Nov 30, 2023
Statement of Cash Receipts - by Date

                 Date                              Transaction Description   Amount
                 1/23/2023     Customer Receipt                                7,028.54
                 1/23/2023     Customer Receipt                                7,292.58
                 1/23/2023     Customer Receipt                               18,454.36
                 1/23/2023     Customer Receipt                              119,860.61
                 1/24/2023     Customer Receipt                                   24.80
                 1/24/2023     Customer Receipt                                  187.27
                 1/24/2023     Customer Receipt                                  302.34
                 1/24/2023     Customer Receipt                                  490.00
                 1/24/2023     Customer Receipt                                  547.70
                 1/24/2023     Customer Receipt                                  885.00
                 1/24/2023     Customer Receipt                                  917.94
                 1/24/2023     Customer Receipt                                4,320.00
                 1/24/2023     Customer Receipt                                7,447.32
                 1/25/2023     Customer Receipt                                  162.64
                 1/25/2023     Customer Receipt                                  350.57
                 1/25/2023     Customer Receipt                                  490.66
                 1/25/2023     Customer Receipt                                2,534.92
                 1/25/2023     Customer Receipt                                4,216.82
                 1/25/2023     Customer Receipt                              152,603.53
                 1/26/2023     Customer Receipt                                   59.99
                 1/26/2023     Customer Receipt                                   82.64
                 1/26/2023     Customer Receipt                                  110.00
                 1/26/2023     Customer Receipt                                  512.09
                 1/26/2023     Customer Receipt                                  594.12
                 1/26/2023     Customer Receipt                                  654.81
                 1/26/2023     Customer Receipt                                  823.99
                 1/26/2023     Customer Receipt                                7,842.46
                 1/26/2023     Customer Receipt                               21,166.01
                 1/27/2023     Customer Receipt                                1,234.90
                 1/27/2023     Customer Receipt                                1,679.98
                 1/27/2023     Customer Receipt                                2,061.98
                 1/27/2023     Customer Receipt                                5,089.98
                 1/27/2023     Customer Receipt                              101,546.58
                 1/30/2023     Customer Receipt                                  130.00
                 1/30/2023     Customer Receipt                                  179.99
                 1/30/2023     Customer Receipt                                  244.61
                 1/30/2023     Customer Receipt                                  360.00
                 1/30/2023     Customer Receipt                                  409.53
                 1/30/2023     Customer Receipt                                  584.68
                 1/30/2023     Customer Receipt                                  984.81
                 1/30/2023     Customer Receipt                                1,106.75
                 1/30/2023     Customer Receipt                                1,584.86
                 1/30/2023     Customer Receipt                                2,559.47
                 1/30/2023     Customer Receipt                                4,049.73
                 1/30/2023     Customer Receipt                                6,706.52
                 1/30/2023     Customer Receipt                               12,205.42
                 1/31/2023     Customer Receipt                                   80.00
                 1/31/2023     Customer Receipt                                  356.59
                 1/31/2023     Customer Receipt                                  381.29
                 1/31/2023     Customer Receipt                                  559.80


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
Monthly Operating Report, Jan. 17 - Nov 30, 2023
Statement of Cash Receipts - by Date

                 Date                              Transaction Description   Amount
                 1/31/2023     Customer Receipt                                2,657.90
                 1/31/2023     Customer Receipt                                4,639.32
                 1/31/2023     Customer Receipt                                8,077.98
                 2/1/2023      Customer Receipt                                   30.00
                 2/1/2023      Customer Receipt                                   39.40
                 2/1/2023      Customer Receipt                                   69.99
                 2/1/2023      Customer Receipt                                  130.00
                 2/1/2023      Customer Receipt                                  633.73
                 2/1/2023      Customer Receipt                                  899.94
                 2/1/2023      Customer Receipt                                2,389.12
                 2/1/2023      Customer Receipt                                3,274.27
                 2/1/2023      Customer Receipt                               27,780.50
                 2/2/2023      Customer Receipt                                   69.82
                 2/2/2023      Customer Receipt                                  139.10
                 2/2/2023      Customer Receipt                                  435.00
                 2/2/2023      Customer Receipt                                8,657.24
                 2/2/2023      Customer Receipt                               32,763.08
                 2/2/2023      Customer Receipt                               62,114.37
                 2/2/2023      Customer Receipt                               66,053.63
                 2/3/2023      Customer Receipt                                1,879.80
                 2/3/2023      Customer Receipt                                2,868.22
                 2/3/2023      Customer Receipt                                3,833.00
                 2/3/2023      Customer Receipt                               16,829.75
                 2/3/2023      Customer Receipt                               19,500.62
                 2/6/2023      Customer Receipt                                  120.00
                 2/6/2023      Customer Receipt                                  329.94
                 2/6/2023      Customer Receipt                                  349.96
                 2/6/2023      Customer Receipt                                  414.28
                 2/6/2023      Customer Receipt                                  525.53
                 2/6/2023      Customer Receipt                                1,212.69
                 2/6/2023      Customer Receipt                                2,077.32
                 2/6/2023      Customer Receipt                                2,982.22
                 2/6/2023      Customer Receipt                                3,360.00
                 2/6/2023      Customer Receipt                                4,602.61
                 2/6/2023      Customer Receipt                                5,240.84
                 2/6/2023      Customer Receipt                                7,555.92
                 2/6/2023      Customer Receipt                                9,728.07
                 2/6/2023      Customer Receipt                               16,872.54
                 2/7/2023      Customer Receipt                                  427.70
                 2/7/2023      Customer Receipt                                  594.97
                 2/7/2023      Customer Receipt                                1,534.96
                 2/7/2023      Customer Receipt                                4,118.73
                 2/7/2023      Customer Receipt                                9,451.49
                 2/8/2023      Customer Receipt                                  155.59
                 2/8/2023      Customer Receipt                                  366.98
                 2/8/2023      Customer Receipt                                  388.18
                 2/8/2023      Customer Receipt                                1,014.29
                 2/8/2023      Customer Receipt                                1,504.91
                 2/8/2023      Customer Receipt                                4,514.18
                 2/8/2023      Customer Receipt                               51,208.78


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
Monthly Operating Report, Jan. 17 - Nov 30, 2023
Statement of Cash Receipts - by Date

                 Date                              Transaction Description   Amount
                 2/9/2023      Customer Receipt                                  194.68
                 2/9/2023      Customer Receipt                                  514.40
                 2/9/2023      Customer Receipt                                  596.46
                 2/9/2023      Customer Receipt                                  651.19
                 2/9/2023      Customer Receipt                                1,883.84
                 2/9/2023      Customer Receipt                                3,380.00
                 2/9/2023      Customer Receipt                                3,667.55
                 2/9/2023      Customer Receipt                                4,319.77
                 2/9/2023      Customer Receipt                                4,400.00
                 2/10/2023     Customer Receipt                                   71.20
                 2/10/2023     Customer Receipt                                  107.58
                 2/10/2023     Customer Receipt                                  163.98
                 2/10/2023     Customer Receipt                                  188.46
                 2/10/2023     Customer Receipt                                1,130.00
                 2/10/2023     Customer Receipt                                1,150.46
                 2/10/2023     Customer Receipt                                4,148.88
                 2/10/2023     Customer Receipt                                8,190.31
                 2/10/2023     Customer Receipt                               43,476.89
                 2/13/2023     Customer Receipt                                   30.00
                 2/13/2023     Customer Receipt                                   41.93
                 2/13/2023     Customer Receipt                                   48.95
                 2/13/2023     Customer Receipt                                   89.98
                 2/13/2023     Customer Receipt                                  359.99
                 2/13/2023     Customer Receipt                                  460.00
                 2/13/2023     Customer Receipt                                  488.87
                 2/13/2023     Customer Receipt                                  674.05
                 2/13/2023     Customer Receipt                                1,421.97
                 2/13/2023     Customer Receipt                                2,059.40
                 2/13/2023     Customer Receipt                                2,107.89
                 2/13/2023     Customer Receipt                                2,537.22
                 2/13/2023     Customer Receipt                                4,660.44
                 2/13/2023     Customer Receipt                               12,804.61
                 2/13/2023     Customer Receipt                              142,007.44
                 2/14/2023     Customer Receipt                                   79.99
                 2/14/2023     Customer Receipt                                  479.32
                 2/14/2023     Customer Receipt                                  604.74
                 2/14/2023     Customer Receipt                                3,003.60
                 2/14/2023     Customer Receipt                                7,713.17
                 2/14/2023     Customer Receipt                               13,643.40
                 2/14/2023     Customer Receipt                               46,739.97
                 2/15/2023     Customer Receipt                                   69.79
                 2/15/2023     Customer Receipt                                  130.79
                 2/15/2023     Customer Receipt                                  543.48
                 2/15/2023     Customer Receipt                                  639.98
                 2/15/2023     Customer Receipt                                  714.48
                 2/15/2023     Customer Receipt                                2,893.24
                 2/15/2023     Customer Receipt                                3,585.03
                 2/15/2023     Customer Receipt                                4,683.84
                 2/15/2023     Customer Receipt                               22,717.89
                 2/15/2023     Customer Receipt                               42,423.62


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GigaMonster Networks LLC                                                                Case 23-10051-JKS
Monthly Operating Report, Jan. 17 - Nov 30, 2023
Statement of Cash Receipts - by Date

                 Date                              Transaction Description   Amount
                 2/16/2023     Returned Deposit                               (11,318.05)
                 2/16/2023     Returned Deposit                                (1,631.70)
                 2/16/2023     Customer Receipt                                   229.99
                 2/16/2023     Customer Receipt                                   259.99
                 2/16/2023     Customer Receipt                                   586.98
                 2/16/2023     Customer Receipt                                 1,207.04
                 2/16/2023     Customer Receipt                                 3,575.73
                 2/16/2023     Customer Receipt                                28,677.79
                 2/17/2023     Customer Receipt                                    11.08
                 2/17/2023     Customer Receipt                                    34.95
                 2/17/2023     Customer Receipt                                   299.99
                 2/17/2023     Customer Receipt                                   389.97
                 2/17/2023     Customer Receipt                                   483.80
                 2/17/2023     Customer Receipt                                 1,106.08
                 2/17/2023     Customer Receipt                                 2,775.33
                 2/17/2023     Customer Receipt                                 6,533.40
                 2/21/2023     Customer Receipt                                    40.00
                 2/21/2023     Customer Receipt                                    55.00
                 2/21/2023     Customer Receipt                                   143.95
                 2/21/2023     Customer Receipt                                   281.98
                 2/21/2023     Customer Receipt                                   430.09
                 2/21/2023     Customer Receipt                                   550.00
                 2/21/2023     Customer Receipt                                   589.99
                 2/21/2023     Customer Receipt                                   670.58
                 2/21/2023     Customer Receipt                                   793.84
                 2/21/2023     Customer Receipt                                 1,141.59
                 2/21/2023     Customer Receipt                                 1,516.24
                 2/21/2023     Customer Receipt                                 3,046.11
                 2/21/2023     Customer Receipt                                 4,032.87
                 2/21/2023     Customer Receipt                                 4,756.36
                 2/21/2023     Customer Receipt                                 6,309.59
                 2/21/2023     Customer Receipt                              179,711.46
                 2/22/2023     Customer Receipt                                 1,098.90
                 2/22/2023     Customer Receipt                                 1,504.99
                 2/22/2023     Customer Receipt                                 2,502.51
                 2/22/2023     Customer Receipt                                 7,237.75
                 2/23/2023     Customer Receipt                                   439.99
                 2/23/2023     Customer Receipt                                 1,051.84
                 2/23/2023     Customer Receipt                                 1,555.84
                 2/23/2023     Customer Receipt                                 2,772.53
                 2/23/2023     Customer Receipt                                 3,365.50
                 2/23/2023     Customer Receipt                                 4,813.08
                 2/23/2023     Customer Receipt                                 6,054.72
                 2/23/2023     Customer Receipt                                21,309.39
                 2/23/2023     Customer Receipt                                35,511.40
                 2/24/2023     Customer Receipt                                    49.99
                 2/24/2023     Customer Receipt                                    74.86
                 2/24/2023     Customer Receipt                                   279.23
                 2/24/2023     Customer Receipt                                 1,837.94
                 2/24/2023     Customer Receipt                                 2,250.55


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GigaMonster Networks LLC                                                                    Case 23-10051-JKS
Monthly Operating Report, Jan. 17 - Nov 30, 2023
Statement of Cash Receipts - by Date

                 Date                              Transaction Description    Amount
                 2/24/2023     Customer Receipt                                  8,521.14
                 2/27/2023     Customer Receipt                                     71.95
                 2/27/2023     Customer Receipt                                    110.00
                 2/27/2023     Customer Receipt                                    235.00
                 2/27/2023     Customer Receipt                                    524.88
                 2/27/2023     Customer Receipt                                    524.89
                 2/27/2023     Customer Receipt                                    589.97
                 2/27/2023     Customer Receipt                                    722.11
                 2/27/2023     Customer Receipt                                  1,427.00
                 2/27/2023     Customer Receipt                                  1,831.21
                 2/27/2023     Customer Receipt                                  2,631.33
                 2/27/2023     Customer Receipt                                  4,952.28
                 2/27/2023     Customer Receipt                                  7,123.47
                 2/27/2023     Customer Receipt                                 11,056.75
                 2/27/2023     Customer Receipt                                105,257.55
                 2/27/2023     DIP Loan Funding                              2,300,000.00
                 2/28/2023     Customer Receipt                                     28.46
                 2/28/2023     Customer Receipt                                     67.87
                 2/28/2023     Customer Receipt                                    169.94
                 2/28/2023     Customer Receipt                                    374.49
                 2/28/2023     Customer Receipt                                    463.94
                 2/28/2023     Customer Receipt                                  3,570.69
                 2/28/2023     Customer Receipt                                  3,811.52
                 2/28/2023     Customer Receipt                                 10,195.20
                 3/1/2023      Customer Receipt                                    373.02
                 3/1/2023      Customer Receipt                                    867.52
                 3/1/2023      Customer Receipt                                  1,435.53
                 3/1/2023      Customer Receipt                                  1,463.30
                 3/1/2023      Customer Receipt                                  2,342.81
                 3/1/2023      Customer Receipt                                  4,261.73
                 3/1/2023      Customer Receipt                                  7,575.91
                 3/1/2023      Customer Receipt                                  9,585.91
                 3/2/2023      Customer Receipt                                     38.08
                 3/2/2023      Customer Receipt                                     61.98
                 3/2/2023      Customer Receipt                                    120.00
                 3/2/2023      Customer Receipt                                    381.80
                 3/2/2023      Customer Receipt                                  7,715.81
                 3/2/2023      Customer Receipt                                 31,592.50
                 3/2/2023      Customer Receipt                                 35,099.15
                 3/2/2023      Customer Receipt                                 62,292.38
                 3/3/2023      Customer Receipt                                    116.08
                 3/3/2023      Customer Receipt                                    171.95
                 3/3/2023      Customer Receipt                                    205.07
                 3/3/2023      Customer Receipt                                  2,457.03
                 3/3/2023      Customer Receipt                                 17,613.40
                 3/3/2023      Customer Receipt                                 17,985.02
                 3/3/2023      Customer Receipt                                 18,259.47
                 3/6/2023      Customer Receipt                                    100.00
                 3/6/2023      Customer Receipt                                    258.57
                 3/6/2023      Customer Receipt                                    316.32


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
Monthly Operating Report, Jan. 17 - Nov 30, 2023
Statement of Cash Receipts - by Date

                 Date                              Transaction Description   Amount
                 3/6/2023      Customer Receipt                                  546.82
                 3/6/2023      Customer Receipt                                1,567.25
                 3/6/2023      Customer Receipt                                1,606.56
                 3/6/2023      Customer Receipt                                1,910.00
                 3/6/2023      Customer Receipt                                2,204.38
                 3/6/2023      Customer Receipt                                3,038.53
                 3/6/2023      Customer Receipt                                3,393.59
                 3/6/2023      Customer Receipt                                5,259.87
                 3/6/2023      Customer Receipt                                8,093.28
                 3/6/2023      Customer Receipt                               10,265.06
                 3/7/2023      Customer Receipt                                   19.07
                 3/7/2023      Customer Receipt                                  141.24
                 3/7/2023      Customer Receipt                                  829.67
                 3/7/2023      Customer Receipt                                1,329.89
                 3/7/2023      Customer Receipt                                1,663.25
                 3/7/2023      Customer Receipt                                4,339.56
                 3/7/2023      Customer Receipt                                8,821.46
                 3/7/2023      Customer Receipt                               77,709.67
                 3/8/2023      Customer Receipt                                   72.00
                 3/8/2023      Customer Receipt                                  360.00
                 3/8/2023      Customer Receipt                                  462.83
                 3/8/2023      Customer Receipt                                  590.00
                 3/8/2023      Customer Receipt                                  733.99
                 3/8/2023      Customer Receipt                                1,116.98
                 3/8/2023      Customer Receipt                                1,624.91
                 3/8/2023      Customer Receipt                                3,714.38
                 3/9/2023      Customer Receipt                                  109.95
                 3/9/2023      Customer Receipt                                  270.53
                 3/9/2023      Customer Receipt                                  399.77
                 3/9/2023      Customer Receipt                                1,275.11
                 3/9/2023      Customer Receipt                                1,665.00
                 3/9/2023      Customer Receipt                                3,190.33
                 3/9/2023      Customer Receipt                               23,068.46
                 3/10/2023     Customer Receipt                                   73.89
                 3/10/2023     Customer Receipt                                   94.10
                 3/10/2023     Customer Receipt                                  109.79
                 3/10/2023     Customer Receipt                                  539.99
                 3/10/2023     Customer Receipt                                  619.17
                 3/10/2023     Customer Receipt                                1,504.04
                 3/10/2023     Customer Receipt                                4,296.55
                 3/10/2023     Customer Receipt                               21,863.76
                 3/13/2023     Customer Receipt                                   29.99
                 3/13/2023     Customer Receipt                                  140.00
                 3/13/2023     Customer Receipt                                  163.00
                 3/13/2023     Customer Receipt                                  180.42
                 3/13/2023     Customer Receipt                                  200.95
                 3/13/2023     Customer Receipt                                  204.42
                 3/13/2023     Customer Receipt                                  274.98
                 3/13/2023     Customer Receipt                                  301.89
                 3/13/2023     Customer Receipt                                  329.47


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GigaMonster Networks LLC                                                                     Case 23-10051-JKS
Monthly Operating Report, Jan. 17 - Nov 30, 2023
Statement of Cash Receipts - by Date

                 Date                              Transaction Description     Amount
                 3/13/2023     Customer Receipt                                   1,025.21
                 3/13/2023     Customer Receipt                                   1,294.40
                 3/13/2023     Customer Receipt                                   1,389.52
                 3/13/2023     Customer Receipt                                   3,247.31
                 3/13/2023     Customer Receipt                                   4,911.00
                 3/13/2023     Customer Receipt                                  13,990.25
                 3/14/2023     Customer Receipt                                      14.16
                 3/14/2023     Customer Receipt                                      40.00
                 3/14/2023     Customer Receipt                                     579.99
                 3/14/2023     Customer Receipt                                   2,088.54
                 3/14/2023     Customer Receipt                                   2,098.98
                 3/14/2023     Customer Receipt                                   3,129.20
                 3/14/2023     Customer Receipt                                   8,640.00
                 3/14/2023     Customer Receipt                                  78,709.73
                 3/14/2023     Sale Proceeds                                  1,518,000.00
                 3/14/2023     Sale Proceeds                                 25,082,000.00
                 3/15/2023     Customer Receipt                                      59.99
                 3/15/2023     Customer Receipt                                      86.52
                 3/15/2023     Customer Receipt                                     157.70
                 3/15/2023     Customer Receipt                                     774.98
                 3/15/2023     Customer Receipt                                     968.47
                 3/15/2023     Customer Receipt                                   1,300.48
                 3/15/2023     Customer Receipt                                   2,893.24
                 3/15/2023     Customer Receipt                                   3,587.47
                 3/15/2023     Customer Receipt                                   4,683.84
                 3/15/2023     Customer Receipt                                 128,711.66
                 3/16/2023     Customer Receipt                                      12.30
                 3/16/2023     Customer Receipt                                      29.95
                 3/16/2023     Customer Receipt                                     120.00
                 3/16/2023     Customer Receipt                                     189.98
                 3/16/2023     Customer Receipt                                     644.96
                 3/16/2023     Customer Receipt                                     664.14
                 3/16/2023     Customer Receipt                                   1,035.36
                 3/16/2023     Customer Receipt                                   3,380.00
                 3/16/2023     Customer Receipt                                   4,486.27
                 3/17/2023     Customer Receipt                                      44.85
                 3/17/2023     Customer Receipt                                     109.48
                 3/17/2023     Customer Receipt                                     243.09
                 3/17/2023     Customer Receipt                                     726.93
                 3/17/2023     Customer Receipt                                   1,198.86
                 3/17/2023     Customer Receipt                                   3,360.00
                 3/17/2023     Customer Receipt                                   4,304.45
                 3/17/2023     Customer Receipt                                  39,902.75
                 3/20/2023     Customer Receipt                                      73.16
                 3/20/2023     Customer Receipt                                     294.98
                 3/20/2023     Customer Receipt                                     319.98
                 3/20/2023     Customer Receipt                                     444.25
                 3/20/2023     Customer Receipt                                     498.71
                 3/20/2023     Customer Receipt                                     549.96
                 3/20/2023     Customer Receipt                                   1,258.49


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 3/20/2023     Customer Receipt                                1,349.89
                 3/20/2023     Customer Receipt                                3,414.35
                 3/20/2023     Customer Receipt                                4,506.53
                 3/20/2023     Customer Receipt                                5,062.68
                 3/20/2023     Customer Receipt                               11,863.05
                 3/21/2023     Customer Receipt                                   57.78
                 3/21/2023     Customer Receipt                                   98.71
                 3/21/2023     Customer Receipt                                  119.99
                 3/21/2023     Customer Receipt                                  143.95
                 3/21/2023     Customer Receipt                                  671.49
                 3/21/2023     Customer Receipt                                  824.30
                 3/21/2023     Customer Receipt                                  880.54
                 3/21/2023     Customer Receipt                                5,702.58
                 3/21/2023     Customer Receipt                               36,442.46
                 3/22/2023     Customer Receipt                                   95.82
                 3/22/2023     Customer Receipt                                1,145.76
                 3/22/2023     Customer Receipt                                1,785.82
                 3/22/2023     Customer Receipt                                2,431.06
                 3/22/2023     Customer Receipt                                8,609.08
                 3/22/2023     Customer Receipt                               20,044.33
                 3/22/2023     Customer Receipt                               47,063.91
                 3/23/2023     Customer Receipt                                   34.05
                 3/23/2023     Customer Receipt                                   56.95
                 3/23/2023     Customer Receipt                                  534.98
                 3/23/2023     Customer Receipt                                1,675.25
                 3/23/2023     Customer Receipt                                2,892.31
                 3/23/2023     Customer Receipt                                3,152.03
                 3/23/2023     Customer Receipt                               20,701.23
                 3/24/2023     Customer Receipt                                    3.64
                 3/24/2023     Customer Receipt                                   85.50
                 3/24/2023     Customer Receipt                                1,646.93
                 3/24/2023     Customer Receipt                                3,129.92
                 3/24/2023     Customer Receipt                                4,031.79
                 3/24/2023     Customer Receipt                                4,400.00
                 3/24/2023     Customer Receipt                                6,701.85
                 3/27/2023     Customer Receipt                                   62.19
                 3/27/2023     Customer Receipt                                   73.32
                 3/27/2023     Customer Receipt                                  120.46
                 3/27/2023     Customer Receipt                                  149.95
                 3/27/2023     Customer Receipt                                  365.89
                 3/27/2023     Customer Receipt                                  755.44
                 3/27/2023     Customer Receipt                                  973.89
                 3/27/2023     Customer Receipt                                1,389.27
                 3/27/2023     Customer Receipt                                3,104.83
                 3/27/2023     Customer Receipt                                3,159.46
                 3/27/2023     Customer Receipt                                4,744.94
                 3/27/2023     Customer Receipt                                9,288.45
                 3/27/2023     Customer Receipt                               60,968.33
                 3/28/2023     Customer Receipt                                    3.53
                 3/28/2023     Customer Receipt                                  230.18


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GigaMonster Networks LLC                                                                              Case 23-10051-JKS
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                 Date                           Transaction Description                  Amount
                 3/28/2023     Customer Receipt                                              414.98
                 3/28/2023     Customer Receipt                                              690.99
                 3/28/2023     Customer Receipt                                            1,074.99
                 3/28/2023     Customer Receipt                                            4,861.62
                 3/28/2023     Customer Receipt                                            7,849.80
                 3/28/2023     Customer Receipt                                            8,040.82
                 3/28/2023     Customer Receipt                                           32,481.00
                 3/29/2023     Customer Receipt                                                3.53
                 3/29/2023     Customer Receipt                                              100.00
                 3/29/2023     Customer Receipt                                              110.00
                 3/29/2023     Customer Receipt                                              533.85
                 3/29/2023     Customer Receipt                                              658.29
                 3/29/2023     Customer Receipt                                              904.98
                 3/29/2023     Customer Receipt                                            1,881.88
                 3/29/2023     Customer Receipt                                            2,356.15
                 3/29/2023     Customer Receipt                                            4,470.95
                 3/29/2023     Customer Receipt                                           45,365.32
                 3/30/2023     Customer Receipt                                               44.00
                 3/30/2023     Customer Receipt                                              219.99
                 3/30/2023     Customer Receipt                                              317.27
                 3/30/2023     Customer Receipt                                            1,289.99
                 3/30/2023     Customer Receipt                                            1,912.52
                 3/30/2023     Customer Receipt                                            4,798.08
                 3/30/2023     Customer Receipt                                            6,054.72
                 3/30/2023     Customer Receipt                                           14,685.00
                 3/30/2023     Buyer Reimbursements per Transactions Service Agreement    29,965.00
                 3/31/2023     Customer Receipt                                              246.70
                 3/31/2023     Customer Receipt                                              298.10
                 3/31/2023     Customer Receipt                                              423.29
                 3/31/2023     Customer Receipt                                              747.05
                 3/31/2023     Customer Receipt                                            2,516.46
                 3/31/2023     Customer Receipt                                            4,135.71
                 3/31/2023     Customer Receipt                                            4,138.81
                 3/31/2023     Customer Receipt                                           12,371.25
                 4/3/2023      Customer Receipt                                                0.01
                 4/3/2023      Customer Receipt                                               55.00
                 4/3/2023      Customer Receipt                                              100.00
                 4/3/2023      Customer Receipt                                            1,171.83
                 4/3/2023      Customer Receipt                                            1,244.70
                 4/3/2023      Customer Receipt                                            1,910.00
                 4/3/2023      Customer Receipt                                            3,593.29
                 4/3/2023      Customer Receipt                                            9,158.30
                 4/3/2023      Customer Receipt                                           14,306.15
                 4/3/2023      Customer Receipt                                           33,087.87
                 4/3/2023      Customer Receipt                                           48,124.36
                 4/3/2023      Customer Receipt                                           55,382.48
                 4/4/2023      Customer Receipt                                               48.51
                 4/4/2023      Customer Receipt                                              210.81
                 4/4/2023      Customer Receipt                                              930.28
                 4/4/2023      Customer Receipt                                            1,082.99


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 4/4/2023      Customer Receipt                                8,943.59
                 4/4/2023      Customer Receipt                               67,130.16
                 4/5/2023      Customer Receipt                                   54.80
                 4/5/2023      Customer Receipt                                  120.00
                 4/5/2023      Customer Receipt                                  539.99
                 4/5/2023      Customer Receipt                                  764.50
                 4/5/2023      Customer Receipt                                7,602.30
                 4/5/2023      Customer Receipt                               23,929.32
                 4/6/2023      Customer Receipt                                   54.40
                 4/6/2023      Customer Receipt                                  209.98
                 4/6/2023      Customer Receipt                                  779.96
                 4/6/2023      Customer Receipt                                  906.30
                 4/6/2023      Customer Receipt                                9,902.06
                 4/7/2023      Customer Receipt                                   16.08
                 4/7/2023      Customer Receipt                                  739.96
                 4/7/2023      Customer Receipt                                  894.11
                 4/7/2023      Customer Receipt                                1,221.30
                 4/7/2023      Customer Receipt                                4,106.40
                 4/7/2023      Customer Receipt                                6,689.76
                 4/7/2023      Customer Receipt                               11,681.95
                 4/10/2023     Customer Receipt                                   59.99
                 4/10/2023     Customer Receipt                                  169.39
                 4/10/2023     Customer Receipt                                  400.00
                 4/10/2023     Customer Receipt                                  440.74
                 4/10/2023     Customer Receipt                                  521.09
                 4/10/2023     Customer Receipt                                  554.57
                 4/10/2023     Customer Receipt                                  720.00
                 4/10/2023     Customer Receipt                                  923.22
                 4/10/2023     Customer Receipt                                1,376.57
                 4/10/2023     Customer Receipt                                2,250.44
                 4/10/2023     Customer Receipt                                2,305.91
                 4/10/2023     Customer Receipt                                3,827.13
                 4/10/2023     Customer Receipt                               28,363.40
                 4/11/2023     Customer Receipt                                  119.99
                 4/11/2023     Customer Receipt                                  220.00
                 4/11/2023     Customer Receipt                                  439.98
                 4/11/2023     Customer Receipt                                  712.67
                 4/11/2023     Customer Receipt                                  713.96
                 4/11/2023     Customer Receipt                                1,011.88
                 4/11/2023     Customer Receipt                                2,298.12
                 4/11/2023     Customer Receipt                                3,384.44
                 4/11/2023     Customer Receipt                              110,944.32
                 4/12/2023     Customer Receipt                                   28.89
                 4/12/2023     Customer Receipt                                   70.50
                 4/12/2023     Customer Receipt                                  131.18
                 4/12/2023     Customer Receipt                                  501.25
                 4/12/2023     Customer Receipt                                  645.20
                 4/12/2023     Customer Receipt                                  745.89
                 4/12/2023     Customer Receipt                                  800.14
                 4/12/2023     Customer Receipt                                2,434.88


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 4/12/2023     Customer Receipt                                2,893.24
                 4/12/2023     Customer Receipt                                4,285.37
                 4/12/2023     Customer Receipt                                4,934.59
                 4/12/2023     Customer Receipt                               37,180.99
                 4/13/2023     Customer Receipt                                  100.00
                 4/13/2023     Customer Receipt                                  114.39
                 4/13/2023     Customer Receipt                                1,598.05
                 4/13/2023     Customer Receipt                               49,447.02
                 4/14/2023     Customer Receipt                                    3.47
                 4/14/2023     Customer Receipt                                   49.70
                 4/14/2023     Customer Receipt                                   60.00
                 4/14/2023     Customer Receipt                                  782.24
                 4/14/2023     Customer Receipt                                1,188.94
                 4/14/2023     Customer Receipt                                2,712.58
                 4/14/2023     Customer Receipt                                4,960.20
                 4/14/2023     Customer Receipt                               11,763.88
                 4/14/2023     Customer Receipt                               18,688.63
                 4/17/2023     Customer Receipt                                  219.37
                 4/17/2023     Customer Receipt                                  464.99
                 4/17/2023     Customer Receipt                                  506.97
                 4/17/2023     Customer Receipt                                  803.96
                 4/17/2023     Customer Receipt                                1,142.51
                 4/17/2023     Customer Receipt                                1,249.35
                 4/17/2023     Customer Receipt                                2,702.46
                 4/17/2023     Customer Receipt                                3,380.00
                 4/17/2023     Customer Receipt                                3,516.82
                 4/17/2023     Customer Receipt                                4,400.00
                 4/17/2023     Customer Receipt                                4,822.01
                 4/17/2023     Customer Receipt                               36,072.54
                 4/18/2023     Customer Receipt                                  139.58
                 4/18/2023     Customer Receipt                                  616.56
                 4/18/2023     Customer Receipt                                  710.00
                 4/18/2023     Customer Receipt                                1,012.55
                 4/18/2023     Customer Receipt                                4,320.00
                 4/18/2023     Customer Receipt                                4,587.00
                 4/18/2023     Customer Receipt                               60,335.57
                 4/19/2023     Customer Receipt                                   59.99
                 4/19/2023     Customer Receipt                                  668.73
                 4/19/2023     Customer Receipt                                  727.00
                 4/19/2023     Customer Receipt                                3,177.94
                 4/19/2023     Customer Receipt                                3,811.43
                 4/19/2023     Customer Receipt                                4,683.84
                 4/19/2023     Customer Receipt                                4,798.08
                 4/19/2023     Customer Receipt                                6,054.72
                 4/19/2023     Customer Receipt                               78,412.59
                 4/20/2023     Customer Receipt                                   32.74
                 4/20/2023     Customer Receipt                                   49.81
                 4/20/2023     Customer Receipt                                  412.11
                 4/20/2023     Customer Receipt                                  769.01
                 4/20/2023     Customer Receipt                                  891.25


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GigaMonster Networks LLC                                                               Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 4/20/2023     Customer Receipt                                2,427.15
                 4/20/2023     Customer Receipt                                3,590.84
                 4/20/2023     Customer Receipt                                4,452.48
                 4/21/2023     Customer Receipt                                   28.76
                 4/21/2023     Customer Receipt                                  140.00
                 4/21/2023     Customer Receipt                                  329.98
                 4/21/2023     Customer Receipt                                  791.62
                 4/21/2023     Customer Receipt                                2,190.94
                 4/21/2023     Customer Receipt                                5,572.75
                 4/21/2023     Customer Receipt                               36,948.21
                 4/24/2023     Customer Receipt                                   67.95
                 4/24/2023     Customer Receipt                                  322.55
                 4/24/2023     Customer Receipt                                  558.90
                 4/24/2023     Customer Receipt                                1,446.86
                 4/24/2023     Customer Receipt                                1,871.96
                 4/24/2023     Customer Receipt                                1,914.42
                 4/24/2023     Customer Receipt                                2,175.89
                 4/24/2023     Customer Receipt                                3,649.93
                 4/24/2023     Customer Receipt                                4,815.78
                 4/24/2023     Customer Receipt                                7,971.80
                 4/24/2023     Customer Receipt                               19,154.93
                 4/24/2023     Customer Receipt                               53,392.35
                 4/25/2023     Customer Receipt                                   99.45
                 4/25/2023     Customer Receipt                                  335.17
                 4/25/2023     Customer Receipt                                  448.53
                 4/25/2023     Customer Receipt                                  563.35
                 4/25/2023     Customer Receipt                                1,060.08
                 4/25/2023     Customer Receipt                                1,354.00
                 4/25/2023     Customer Receipt                               10,376.19
                 4/26/2023     Customer Receipt                                   36.98
                 4/26/2023     Customer Receipt                                  546.53
                 4/26/2023     Customer Receipt                                1,408.97
                 4/26/2023     Customer Receipt                                3,725.85
                 4/26/2023     Customer Receipt                                5,788.52
                 4/26/2023     Customer Receipt                              112,349.66
                 4/27/2023     Returned Deposit                               (3,815.28)
                 4/27/2023     Returned Deposit                                 (280.00)
                 4/27/2023     Customer Receipt                                   47.63
                 4/27/2023     Customer Receipt                                  110.00
                 4/27/2023     Customer Receipt                                  110.77
                 4/27/2023     Customer Receipt                                  123.56
                 4/27/2023     Customer Receipt                                  459.97
                 4/27/2023     Customer Receipt                                  545.56
                 4/27/2023     Customer Receipt                                  753.62
                 4/27/2023     Customer Receipt                                2,112.83
                 4/27/2023     Customer Receipt                                4,779.00
                 4/27/2023     Returned Deposit                               (9,257.00)
                 4/28/2023     Customer Receipt                                   65.10
                 4/28/2023     Customer Receipt                                  140.00
                 4/28/2023     Customer Receipt                                  140.53


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 4/28/2023     Customer Receipt                                  176.75
                 4/28/2023     Customer Receipt                                  676.50
                 4/28/2023     Customer Receipt                                1,333.91
                 4/28/2023     Customer Receipt                                5,886.84
                 5/1/2023      Customer Receipt                                  150.00
                 5/1/2023      Customer Receipt                                  239.55
                 5/1/2023      Customer Receipt                                  275.00
                 5/1/2023      Customer Receipt                                  385.74
                 5/1/2023      Customer Receipt                                  526.99
                 5/1/2023      Customer Receipt                                  679.69
                 5/1/2023      Customer Receipt                                  880.22
                 5/1/2023      Customer Receipt                                  884.97
                 5/1/2023      Customer Receipt                                1,402.31
                 5/1/2023      Customer Receipt                                2,610.51
                 5/1/2023      Customer Receipt                                4,388.87
                 5/1/2023      Customer Receipt                               28,704.70
                 5/2/2023      Customer Receipt                                   11.31
                 5/2/2023      Customer Receipt                                   24.45
                 5/2/2023      Customer Receipt                                  180.00
                 5/2/2023      Customer Receipt                                  219.80
                 5/2/2023      Customer Receipt                                1,910.00
                 5/2/2023      Customer Receipt                                4,332.15
                 5/2/2023      Customer Receipt                                7,588.51
                 5/2/2023      Customer Receipt                               56,864.03
                 5/2/2023      Customer Receipt                               80,468.04
                 5/3/2023      Customer Receipt                                  120.00
                 5/3/2023      Customer Receipt                                1,018.59
                 5/3/2023      Customer Receipt                                1,140.56
                 5/3/2023      Customer Receipt                               10,081.00
                 5/3/2023      Customer Receipt                               13,196.99
                 5/3/2023      Customer Receipt                               15,877.76
                 5/4/2023      Customer Receipt                                   39.00
                 5/4/2023      Customer Receipt                                  716.97
                 5/4/2023      Customer Receipt                                1,043.19
                 5/4/2023      Customer Receipt                                3,855.14
                 5/4/2023      Customer Receipt                                5,785.17
                 5/5/2023      Customer Receipt                                   13.35
                 5/5/2023      Customer Receipt                                   82.34
                 5/5/2023      Customer Receipt                                  973.72
                 5/5/2023      Customer Receipt                                1,069.98
                 5/5/2023      Customer Receipt                                1,850.94
                 5/5/2023      Customer Receipt                                9,857.58
                 5/5/2023      Customer Receipt                               11,788.37
                 5/8/2023      Customer Receipt                                    2.45
                 5/8/2023      Customer Receipt                                   40.43
                 5/8/2023      Customer Receipt                                  186.99
                 5/8/2023      Customer Receipt                                  230.00
                 5/8/2023      Customer Receipt                                  300.00
                 5/8/2023      Customer Receipt                                  415.29
                 5/8/2023      Customer Receipt                                  524.66


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GigaMonster Networks LLC                                                               Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 5/8/2023      Customer Receipt                                  637.26
                 5/8/2023      Customer Receipt                                  644.65
                 5/8/2023      Customer Receipt                                1,819.97
                 5/8/2023      Customer Receipt                                3,129.98
                 5/8/2023      Customer Receipt                                3,749.67
                 5/8/2023      Customer Receipt                                3,884.83
                 5/8/2023      Customer Receipt                               27,050.19
                 5/9/2023      Customer Receipt                                  335.00
                 5/9/2023      Customer Receipt                                  424.99
                 5/9/2023      Customer Receipt                                  471.73
                 5/9/2023      Customer Receipt                                  834.99
                 5/9/2023      Customer Receipt                                1,591.76
                 5/9/2023      Customer Receipt                                3,466.13
                 5/9/2023      Customer Receipt                               70,359.42
                 5/10/2023     Customer Receipt                                  120.00
                 5/10/2023     Customer Receipt                                  233.98
                 5/10/2023     Customer Receipt                                  296.64
                 5/10/2023     Customer Receipt                                  343.09
                 5/10/2023     Customer Receipt                                  554.99
                 5/10/2023     Customer Receipt                                1,618.20
                 5/10/2023     Customer Receipt                                1,851.24
                 5/10/2023     Customer Receipt                                3,380.00
                 5/10/2023     Customer Receipt                               18,864.44
                 5/11/2023     Customer Receipt                                   51.50
                 5/11/2023     Customer Receipt                                   60.00
                 5/11/2023     Customer Receipt                                  154.14
                 5/11/2023     Customer Receipt                                  161.60
                 5/11/2023     Customer Receipt                                  179.77
                 5/11/2023     Customer Receipt                                3,819.45
                 5/11/2023     Customer Receipt                                3,834.10
                 5/11/2023     Customer Receipt                                9,603.35
                 5/12/2023     Customer Receipt                                   25.00
                 5/12/2023     Customer Receipt                                  116.54
                 5/12/2023     Customer Receipt                                  274.99
                 5/12/2023     Customer Receipt                                  322.97
                 5/12/2023     Customer Receipt                                1,311.45
                 5/12/2023     Customer Receipt                                3,662.25
                 5/12/2023     Customer Receipt                                4,558.58
                 5/12/2023     Customer Receipt                                5,480.82
                 5/12/2023     Asset Sale                                    120,000.00
                 5/12/2023     Asset Sale                                    220,000.00
                 5/12/2023     Returned Deposit                               (5,840.26)
                 5/15/2023     Customer Receipt                                   62.00
                 5/15/2023     Customer Receipt                                  164.80
                 5/15/2023     Customer Receipt                                  192.54
                 5/15/2023     Customer Receipt                                  399.99
                 5/15/2023     Customer Receipt                                  439.93
                 5/15/2023     Customer Receipt                                  861.33
                 5/15/2023     Customer Receipt                                1,020.00
                 5/15/2023     Customer Receipt                                1,506.92


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GigaMonster Networks LLC                                                               Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 5/15/2023     Customer Receipt                                2,096.41
                 5/15/2023     Customer Receipt                                2,841.49
                 5/15/2023     Customer Receipt                                2,860.71
                 5/15/2023     Customer Receipt                              102,840.64
                 5/16/2023     Customer Receipt                                   88.88
                 5/16/2023     Customer Receipt                                  119.99
                 5/16/2023     Customer Receipt                                  153.50
                 5/16/2023     Customer Receipt                                  225.69
                 5/16/2023     Customer Receipt                                  466.05
                 5/16/2023     Customer Receipt                                1,036.98
                 5/16/2023     Customer Receipt                                1,986.16
                 5/16/2023     Customer Receipt                               20,000.00
                 5/16/2023     Asset Sale                                     29,592.00
                 5/16/2023     Customer Receipt                              119,463.93
                 5/17/2023     Customer Receipt                                   61.22
                 5/17/2023     Customer Receipt                                  466.81
                 5/17/2023     Customer Receipt                                  587.88
                 5/17/2023     Customer Receipt                                  635.83
                 5/17/2023     Customer Receipt                                2,893.24
                 5/17/2023     Customer Receipt                                4,400.00
                 5/17/2023     Customer Receipt                                4,683.84
                 5/17/2023     Customer Receipt                                7,897.42
                 5/18/2023     Customer Receipt                                    2.41
                 5/18/2023     Customer Receipt                                  350.00
                 5/18/2023     Customer Receipt                                  373.05
                 5/18/2023     Customer Receipt                                1,104.00
                 5/18/2023     Customer Receipt                                2,982.68
                 5/18/2023     Customer Receipt                               62,834.90
                 5/18/2023     Returned Deposit                                 (666.07)
                 5/19/2023     Customer Receipt                                    2.96
                 5/19/2023     Customer Receipt                                  100.00
                 5/19/2023     Customer Receipt                                  140.00
                 5/19/2023     Customer Receipt                                  643.98
                 5/19/2023     Customer Receipt                                1,022.65
                 5/19/2023     Customer Receipt                                3,360.74
                 5/19/2023     Customer Receipt                                8,942.27
                 5/22/2023     Customer Receipt                                   59.12
                 5/22/2023     Customer Receipt                                  200.55
                 5/22/2023     Customer Receipt                                  695.40
                 5/22/2023     Customer Receipt                                  761.47
                 5/22/2023     Customer Receipt                                1,167.16
                 5/22/2023     Customer Receipt                                1,422.98
                 5/22/2023     Customer Receipt                                1,548.94
                 5/22/2023     Customer Receipt                                4,762.49
                 5/22/2023     Customer Receipt                                4,796.81
                 5/22/2023     Customer Receipt                                4,996.65
                 5/22/2023     Customer Receipt                               87,371.30
                 5/23/2023     Customer Receipt                                  105.75
                 5/23/2023     Customer Receipt                                  144.10
                 5/23/2023     Customer Receipt                                  461.30


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GigaMonster Networks LLC                                                                Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 5/23/2023     Customer Receipt                                 1,649.84
                 5/23/2023     Customer Receipt                                 2,210.34
                 5/23/2023     Customer Receipt                                24,165.13
                 5/23/2023     Customer Receipt                                67,026.53
                 5/24/2023     Customer Receipt                                    58.89
                 5/24/2023     Customer Receipt                                    82.44
                 5/24/2023     Customer Receipt                                   734.67
                 5/24/2023     Customer Receipt                                   751.47
                 5/24/2023     Customer Receipt                                 1,949.99
                 5/24/2023     Customer Receipt                                 4,432.19
                 5/24/2023     Customer Receipt                                24,535.55
                 5/25/2023     Customer Receipt                                     8.57
                 5/25/2023     Customer Receipt                                    22.84
                 5/25/2023     Customer Receipt                                   110.00
                 5/25/2023     Customer Receipt                                   455.00
                 5/25/2023     Customer Receipt                                   995.14
                 5/25/2023     Customer Receipt                                 1,864.07
                 5/25/2023     Customer Receipt                                 8,704.77
                 5/25/2023     Customer Receipt                                45,761.02
                 5/25/2023     Returned Deposit                               (16,840.74)
                 5/26/2023     Customer Receipt                                   118.16
                 5/26/2023     Customer Receipt                                   620.17
                 5/26/2023     Customer Receipt                                   674.93
                 5/26/2023     Customer Receipt                                 1,306.64
                 5/26/2023     Customer Receipt                                 3,990.69
                 5/26/2023     Customer Receipt                                22,546.32
                 5/30/2023     Returned Deposit                                   (40.00)
                 5/30/2023     Customer Receipt                                    29.99
                 5/30/2023     Customer Receipt                                    50.56
                 5/30/2023     Customer Receipt                                   200.86
                 5/30/2023     Customer Receipt                                   275.00
                 5/30/2023     Customer Receipt                                   472.45
                 5/30/2023     Customer Receipt                                   485.85
                 5/30/2023     Customer Receipt                                   529.57
                 5/30/2023     Customer Receipt                                   714.98
                 5/30/2023     Customer Receipt                                   764.95
                 5/30/2023     Customer Receipt                                   853.41
                 5/30/2023     Customer Receipt                                 1,086.17
                 5/30/2023     Customer Receipt                                 2,369.01
                 5/30/2023     Customer Receipt                                 2,532.40
                 5/30/2023     Customer Receipt                                 3,232.30
                 5/30/2023     Customer Receipt                                 4,048.12
                 5/30/2023     Customer Receipt                                 4,436.82
                 5/30/2023     Customer Receipt                                 5,285.91
                 5/31/2023     Customer Receipt                                    29.21
                 5/31/2023     Customer Receipt                                    59.99
                 5/31/2023     Customer Receipt                                   100.94
                 5/31/2023     Customer Receipt                                   379.20
                 5/31/2023     Customer Receipt                                   688.32
                 5/31/2023     Customer Receipt                                 1,129.93


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 5/31/2023     Customer Receipt                                3,269.25
                 5/31/2023     Customer Receipt                               46,865.99
                 6/1/2023      Customer Receipt                                1,910.00
                 6/1/2023      Customer Receipt                                4,597.31
                 6/1/2023      Customer Receipt                                1,110.55
                 6/1/2023      Customer Receipt                                  656.15
                 6/1/2023      Customer Receipt                                  240.00
                 6/1/2023      Customer Receipt                                    4.90
                 6/2/2023      Customer Receipt                                  640.00
                 6/2/2023      Customer Receipt                                5,855.00
                 6/2/2023      Customer Receipt                               58,214.66
                 6/2/2023      Customer Receipt                                7,359.73
                 6/2/2023      Customer Receipt                                5,429.84
                 6/2/2023      Customer Receipt                                  378.19
                 6/2/2023      Customer Receipt                                  360.00
                 6/2/2023      Customer Receipt                                  152.87
                 6/2/2023      Customer Receipt                                   56.49
                 6/5/2023      Customer Receipt                                  120.00
                 6/5/2023      Customer Receipt                               16,411.45
                 6/5/2023      Customer Receipt                               14,233.41
                 6/5/2023      Customer Receipt                                5,448.43
                 6/5/2023      Customer Receipt                                4,329.94
                 6/5/2023      Customer Receipt                                3,029.69
                 6/5/2023      Customer Receipt                                1,975.90
                 6/5/2023      Customer Receipt                                  772.87
                 6/5/2023      Customer Receipt                                  551.97
                 6/5/2023      Customer Receipt                                  541.16
                 6/5/2023      Customer Receipt                                  169.90
                 6/5/2023      Customer Receipt                                5,451.60
                 6/6/2023      Customer Receipt                                6,298.34
                 6/6/2023      Customer Receipt                                4,057.86
                 6/6/2023      Customer Receipt                                3,579.89
                 6/6/2023      Customer Receipt                                1,049.43
                 6/6/2023      Customer Receipt                                  554.98
                 6/6/2023      Customer Receipt                                  105.17
                 6/6/2023      Customer Receipt                                   74.30
                 6/7/2023      Customer Receipt                                  590.00
                 6/7/2023      Customer Receipt                               38,434.43
                 6/7/2023      Customer Receipt                                8,883.71
                 6/7/2023      Customer Receipt                                1,444.98
                 6/7/2023      Customer Receipt                                  982.70
                 6/7/2023      Customer Receipt                                   56.90
                 6/7/2023      Customer Receipt                                   20.00
                 6/8/2023      Customer Receipt                               28,185.00
                 6/8/2023      Customer Receipt                                3,042.29
                 6/8/2023      Customer Receipt                                2,108.49
                 6/8/2023      Customer Receipt                                  829.97
                 6/8/2023      Customer Receipt                                  325.43
                 6/8/2023      Customer Receipt                                  203.41
                 6/8/2023      Customer Receipt                                    5.67


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GigaMonster Networks LLC                                                               Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 6/9/2023      Customer Receipt                               15,113.11
                 6/9/2023      Customer Receipt                                2,600.63
                 6/9/2023      Customer Receipt                                1,694.13
                 6/9/2023      Customer Receipt                                  295.00
                 6/9/2023      Customer Receipt                                  280.00
                 6/9/2023      Customer Receipt                                  280.00
                 6/9/2023      Customer Receipt                                  186.79
                 6/9/2023      Customer Receipt                                  139.90
                 6/12/2023     Customer Receipt                                4,196.56
                 6/12/2023     Customer Receipt                                3,380.00
                 6/12/2023     Customer Receipt                                2,518.08
                 6/12/2023     Customer Receipt                                1,836.96
                 6/12/2023     Customer Receipt                                1,700.83
                 6/12/2023     Customer Receipt                                1,282.28
                 6/12/2023     Customer Receipt                                  494.48
                 6/12/2023     Customer Receipt                                  409.88
                 6/12/2023     Customer Receipt                                  331.99
                 6/12/2023     Customer Receipt                                  309.91
                 6/12/2023     Customer Receipt                                  288.50
                 6/12/2023     Customer Receipt                                  255.77
                 6/12/2023     Customer Receipt                                  243.98
                 6/12/2023     Customer Receipt                                  110.65
                 6/12/2023     Customer Receipt                                   66.00
                 6/12/2023     Customer Receipt                                   20.00
                 6/13/2023     Customer Receipt                               45,396.63
                 6/13/2023     Customer Receipt                                2,531.00
                 6/13/2023     Customer Receipt                                  745.04
                 6/13/2023     Customer Receipt                                  160.04
                 6/13/2023     Customer Receipt                                  113.27
                 6/13/2023     Customer Receipt                                   90.00
                 6/13/2023     Customer Receipt                                   19.21
                 6/14/2023     Customer Receipt                              136,640.03
                 6/14/2023     Customer Receipt                                1,929.92
                 6/14/2023     Customer Receipt                                  495.00
                 6/14/2023     Customer Receipt                                  440.01
                 6/14/2023     Customer Receipt                                  354.01
                 6/14/2023     Customer Receipt                                  156.25
                 6/14/2023     Customer Receipt                                    2.85
                 6/15/2023     Customer Receipt                                    4.28
                 6/15/2023     Customer Receipt                                   40.00
                 6/15/2023     Customer Receipt                                  136.50
                 6/15/2023     Customer Receipt                                  300.00
                 6/15/2023     Customer Receipt                                1,575.85
                 6/15/2023     Customer Receipt                                2,269.20
                 6/15/2023     Customer Receipt                                4,400.00
                 6/15/2023     Customer Receipt                                9,074.00
                 6/15/2023     Customer Receipt                               35,667.12
                 6/15/2023     Returned Deposit                               (6,491.33)
                 6/16/2023     Customer Receipt                               14,747.30
                 6/16/2023     Customer Receipt                                6,709.45


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 6/16/2023     Customer Receipt                                3,396.15
                 6/16/2023     Customer Receipt                                2,168.21
                 6/16/2023     Customer Receipt                                  415.90
                 6/16/2023     Customer Receipt                                  180.01
                 6/16/2023     Customer Receipt                                   89.00
                 6/16/2023     Customer Receipt                                   79.95
                 6/16/2023     Customer Receipt                                    9.20
                 6/16/2023     Customer Receipt                                    2.31
                 6/16/2023     Customer Receipt                                6,372.00
                 6/20/2023     Customer Receipt                               95,372.61
                 6/20/2023     Customer Receipt                               10,214.54
                 6/20/2023     Customer Receipt                                3,404.15
                 6/20/2023     Customer Receipt                                2,767.69
                 6/20/2023     Customer Receipt                                2,541.83
                 6/20/2023     Customer Receipt                                1,381.53
                 6/20/2023     Customer Receipt                                1,162.17
                 6/20/2023     Customer Receipt                                  620.29
                 6/20/2023     Customer Receipt                                  509.62
                 6/20/2023     Customer Receipt                                  385.00
                 6/20/2023     Customer Receipt                                  371.99
                 6/20/2023     Customer Receipt                                  283.50
                 6/20/2023     Customer Receipt                                  251.99
                 6/20/2023     Customer Receipt                                  140.68
                 6/20/2023     Customer Receipt                                   54.00
                 6/20/2023     Customer Receipt                                    6.17
                 6/21/2023     Customer Receipt                                   49.99
                 6/21/2023     Customer Receipt                               47,711.06
                 6/21/2023     Customer Receipt                                4,049.39
                 6/21/2023     Customer Receipt                                1,083.95
                 6/21/2023     Customer Receipt                                  545.22
                 6/21/2023     Customer Receipt                                  379.06
                 6/21/2023     Customer Receipt                                  140.00
                 6/21/2023     Customer Receipt                                    7.40
                 6/22/2023     Customer Receipt                                5,911.93
                 6/22/2023     Customer Receipt                                  939.66
                 6/22/2023     Customer Receipt                                  534.17
                 6/22/2023     Customer Receipt                                  382.32
                 6/22/2023     Customer Receipt                                   65.92
                 6/23/2023     Customer Receipt                              114,225.46
                 6/23/2023     Customer Receipt                               16,330.02
                 6/23/2023     Customer Receipt                                  917.76
                 6/23/2023     Customer Receipt                                  320.00
                 6/23/2023     Customer Receipt                                   58.76
                 6/26/2023     Customer Receipt                                4,826.95
                 6/26/2023     Customer Receipt                                3,665.18
                 6/26/2023     Customer Receipt                                1,938.68
                 6/26/2023     Customer Receipt                                1,568.27
                 6/26/2023     Customer Receipt                                1,290.48
                 6/26/2023     Customer Receipt                                1,029.64
                 6/26/2023     Customer Receipt                                  991.96


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GigaMonster Networks LLC                                                               Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 6/26/2023     Customer Receipt                                  819.90
                 6/26/2023     Customer Receipt                                  422.95
                 6/26/2023     Customer Receipt                                  171.60
                 6/26/2023     Customer Receipt                                  122.21
                 6/26/2023     Customer Receipt                                  110.00
                 6/26/2023     Customer Receipt                                   87.19
                 6/26/2023     Customer Receipt                                   80.58
                 6/27/2023     Customer Receipt                              172,014.08
                 6/27/2023     Customer Receipt                                5,449.00
                 6/27/2023     Customer Receipt                                2,597.40
                 6/27/2023     Customer Receipt                                  490.00
                 6/27/2023     Customer Receipt                                  388.13
                 6/27/2023     Customer Receipt                                   24.67
                 6/28/2023     Customer Receipt                              261,778.34
                 6/28/2023     Customer Receipt                                3,222.48
                 6/28/2023     Customer Receipt                                2,723.69
                 6/28/2023     Customer Receipt                                  490.00
                 6/28/2023     Customer Receipt                                  241.54
                 6/28/2023     Customer Receipt                                   33.11
                 6/29/2023     Customer Receipt                                    2.29
                 6/29/2023     Customer Receipt                                   48.96
                 6/29/2023     Customer Receipt                                  179.93
                 6/29/2023     Customer Receipt                                  200.00
                 6/29/2023     Customer Receipt                                  687.09
                 6/29/2023     Customer Receipt                                  751.10
                 6/29/2023     Customer Receipt                                1,957.50
                 6/29/2023     Customer Receipt                                3,994.49
                 6/29/2023     Returned Deposit                               (1,631.32)
                 6/30/2023     Customer Receipt                                    7.42
                 6/30/2023     Customer Receipt                                    8.88
                 6/30/2023     Customer Receipt                                   55.50
                 6/30/2023     Customer Receipt                                   58.89
                 6/30/2023     Customer Receipt                                  110.66
                 6/30/2023     Customer Receipt                                2,394.99
                 6/30/2023     Customer Receipt                                2,893.24
                 6/30/2023     Customer Receipt                                3,373.06
                 6/30/2023     Customer Receipt                                4,813.08
                 6/30/2023     Customer Receipt                               80,011.42
                 7/3/2023      Customer Receipt                                  100.00
                 7/3/2023      Customer Receipt                                  150.65
                 7/3/2023      Customer Receipt                                  341.48
                 7/3/2023      Customer Receipt                                  769.57
                 7/3/2023      Customer Receipt                                  951.85
                 7/3/2023      Customer Receipt                                3,164.26
                 7/3/2023      Customer Receipt                                3,235.01
                 7/3/2023      Customer Receipt                                3,764.73
                 7/3/2023      Customer Receipt                               10,162.64
                 7/3/2023      Customer Receipt                               46,346.27
                 7/3/2023      Customer Receipt                                2,010.00
                 7/5/2023      Customer Receipt                                  120.00


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GigaMonster Networks LLC                                                                Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 7/5/2023      Customer Receipt                                53,815.70
                 7/5/2023      Customer Receipt                                 5,851.35
                 7/5/2023      Customer Receipt                                 2,529.25
                 7/5/2023      Customer Receipt                                   990.00
                 7/5/2023      Customer Receipt                                   834.22
                 7/5/2023      Customer Receipt                                   543.06
                 7/5/2023      Customer Receipt                                   239.58
                 7/5/2023      Customer Receipt                                   202.77
                 7/5/2023      Customer Receipt                                   117.05
                 7/5/2023      Customer Receipt                                    23.00
                 7/6/2023      Customer Receipt                                   120.00
                 7/6/2023      Customer Receipt                                56,365.83
                 7/6/2023      Customer Receipt                                16,019.90
                 7/6/2023      Customer Receipt                                 2,095.90
                 7/6/2023      Customer Receipt                                 1,497.03
                 7/6/2023      Customer Receipt                                   305.93
                 7/6/2023      Customer Receipt                                   119.22
                 7/6/2023      Returned Deposit                               (15,280.74)
                 7/7/2023      Customer Receipt                                 6,072.78
                 7/7/2023      Customer Receipt                                 2,704.12
                 7/7/2023      Customer Receipt                                   536.90
                 7/7/2023      Customer Receipt                                   489.90
                 7/7/2023      Customer Receipt                                   360.00
                 7/7/2023      Customer Receipt                                   235.99
                 7/7/2023      Customer Receipt                                   152.90
                 7/10/2023     Customer Receipt                                 8,582.15
                 7/10/2023     Customer Receipt                                 3,401.84
                 7/10/2023     Customer Receipt                                 3,380.00
                 7/10/2023     Customer Receipt                                 2,846.92
                 7/10/2023     Customer Receipt                                 1,576.50
                 7/10/2023     Customer Receipt                                 1,377.46
                 7/10/2023     Customer Receipt                                   481.69
                 7/10/2023     Customer Receipt                                   423.97
                 7/10/2023     Customer Receipt                                   410.33
                 7/10/2023     Customer Receipt                                   191.59
                 7/10/2023     Customer Receipt                                   165.01
                 7/10/2023     Customer Receipt                                   160.00
                 7/10/2023     Customer Receipt                                   113.14
                 7/11/2023     Customer Receipt                                     9.75
                 7/11/2023     Customer Receipt                                 7,921.99
                 7/11/2023     Customer Receipt                                 2,075.02
                 7/11/2023     Customer Receipt                                 1,569.14
                 7/11/2023     Customer Receipt                                   355.00
                 7/11/2023     Customer Receipt                                    88.31
                 7/11/2023     Customer Receipt                                    56.90
                 7/11/2023     Customer Receipt                                    54.95
                 7/12/2023     Customer Receipt                                 4,133.40
                 7/12/2023     Customer Receipt                                 2,016.64
                 7/12/2023     Customer Receipt                                   711.05
                 7/12/2023     Customer Receipt                                   455.00


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GigaMonster Networks LLC                                                                              Case 23-10051-JKS
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                 Date                           Transaction Description                  Amount
                 7/12/2023     Customer Receipt                                               90.72
                 7/12/2023     Customer Receipt                                                2.95
                 7/13/2023     Customer Receipt                                           25,436.00
                 7/13/2023     Customer Receipt                                            8,809.53
                 7/13/2023     Customer Receipt                                            2,241.89
                 7/13/2023     Customer Receipt                                               60.01
                 7/13/2023     Customer Receipt                                               40.50
                 7/14/2023     Customer Receipt                                              270.00
                 7/14/2023     Customer Receipt                                            7,644.67
                 7/14/2023     Customer Receipt                                              195.01
                 7/17/2023     Customer Receipt                                          135,068.92
                 7/17/2023     Buyer Reimbursements per Transactions Service Agreement    73,779.41
                 7/17/2023     Customer Receipt                                            2,919.48
                 7/17/2023     Customer Receipt                                            2,624.37
                 7/17/2023     Customer Receipt                                            1,739.88
                 7/17/2023     Customer Receipt                                            1,607.47
                 7/17/2023     Customer Receipt                                              240.04
                 7/17/2023     Customer Receipt                                               81.92
                 7/17/2023     Customer Receipt                                               79.97
                 7/17/2023     Customer Receipt                                               70.00
                 7/17/2023     Customer Receipt                                               41.39
                 7/18/2023     Customer Receipt                                            2,671.10
                 7/18/2023     Customer Receipt                                            1,215.53
                 7/18/2023     Customer Receipt                                              295.52
                 7/18/2023     Customer Receipt                                               76.36
                 7/18/2023     Customer Receipt                                               49.10
                 7/18/2023     Customer Receipt                                               40.00
                 7/18/2023     Customer Receipt                                                3.53
                 7/19/2023     Customer Receipt                                          177,010.13
                 7/19/2023     Customer Receipt                                            9,596.16
                 7/19/2023     Customer Receipt                                            2,996.01
                 7/19/2023     Customer Receipt                                            2,893.24
                 7/19/2023     Customer Receipt                                              915.00
                 7/19/2023     Customer Receipt                                              214.59
                 7/19/2023     Customer Receipt                                               64.90
                 7/19/2023     Customer Receipt                                               38.34
                 7/19/2023     Customer Receipt                                                2.85
                 7/20/2023     Customer Receipt                                           58,437.03
                 7/20/2023     Customer Receipt                                            2,202.09
                 7/20/2023     Customer Receipt                                              560.00
                 7/20/2023     Customer Receipt                                              159.70
                 7/20/2023     Customer Receipt                                                4.27
                 7/20/2023     Customer Receipt                                                3.53
                 7/21/2023     Customer Receipt                                           24,373.14
                 7/21/2023     Customer Receipt                                            3,443.86
                 7/21/2023     Customer Receipt                                              270.00
                 7/21/2023     Customer Receipt                                              137.52
                 7/21/2023     Customer Receipt                                               79.94
                 7/21/2023     Customer Receipt                                               71.47
                 7/21/2023     Customer Receipt                                               31.84


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GigaMonster Networks LLC                                                                Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 7/21/2023     Returned Deposit                               (15,209.42)
                 7/24/2023     Customer Receipt                                11,320.31
                 7/24/2023     Customer Receipt                                12,949.52
                 7/24/2023     Customer Receipt                                 6,523.64
                 7/24/2023     Customer Receipt                                 3,982.55
                 7/24/2023     Customer Receipt                                 2,141.34
                 7/24/2023     Customer Receipt                                   415.00
                 7/24/2023     Customer Receipt                                   318.85
                 7/24/2023     Customer Receipt                                   299.98
                 7/24/2023     Customer Receipt                                   176.38
                 7/24/2023     Customer Receipt                                    69.33
                 7/24/2023     Customer Receipt                                    31.43
                 7/25/2023     Customer Receipt                                55,129.88
                 7/25/2023     Customer Receipt                                 5,723.55
                 7/25/2023     Customer Receipt                                   400.00
                 7/25/2023     Customer Receipt                                    86.27
                 7/25/2023     Customer Receipt                                    24.55
                 7/25/2023     Returned Deposit                                  (303.90)
                 7/26/2023     Customer Receipt                                33,050.80
                 7/26/2023     Customer Receipt                                 2,456.05
                 7/26/2023     Customer Receipt                                 2,125.00
                 7/26/2023     Customer Receipt                                   212.00
                 7/26/2023     Customer Receipt                                    53.27
                 7/27/2023     Customer Receipt                                11,472.00
                 7/27/2023     Customer Receipt                                 2,128.85
                 7/27/2023     Customer Receipt                                   300.00
                 7/27/2023     Customer Receipt                                   230.00
                 7/27/2023     Customer Receipt                                   111.49
                 7/27/2023     Customer Receipt                                   110.00
                 7/27/2023     Customer Receipt                                    54.42
                 7/27/2023     Customer Receipt                                     4.76
                 7/27/2023     Returned Deposit                                (5,931.98)
                 7/28/2023     Customer Receipt                                 7,882.72
                 7/28/2023     Customer Receipt                                 4,514.60
                 7/28/2023     Customer Receipt                                   360.00
                 7/28/2023     Customer Receipt                                   187.01
                 7/28/2023     Customer Receipt                                    92.93
                 7/31/2023     Customer Receipt                                18,179.16
                 7/31/2023     Customer Receipt                                 9,367.68
                 7/31/2023     Customer Receipt                                 3,421.93
                 7/31/2023     Customer Receipt                                 2,984.78
                 7/31/2023     Customer Receipt                                 1,105.10
                 7/31/2023     Customer Receipt                                   501.00
                 7/31/2023     Customer Receipt                                   493.93
                 7/31/2023     Customer Receipt                                   359.42
                 7/31/2023     Customer Receipt                                   213.90
                 7/31/2023     Customer Receipt                                   212.91
                 7/31/2023     Customer Receipt                                   145.64
                 7/31/2023     Customer Receipt                                    58.65
                 7/31/2023     Customer Receipt                                    45.70


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 7/31/2023     Asset Sale                                     10,000.00
                 8/1/2023      Customer Receipt                                  130.00
                 8/1/2023      Customer Receipt                                2,194.38
                 8/1/2023      Customer Receipt                                  444.98
                 8/1/2023      Customer Receipt                                  427.52
                 8/1/2023      Customer Receipt                                  148.06
                 8/1/2023      Customer Receipt                                   83.86
                 8/1/2023      Customer Receipt                                   44.51
                 8/1/2023      Customer Receipt                                7,115.00
                 8/2/2023      Customer Receipt                                  340.00
                 8/2/2023      Customer Receipt                              110,899.86
                 8/2/2023      Customer Receipt                               46,280.94
                 8/2/2023      Customer Receipt                                2,862.48
                 8/2/2023      Customer Receipt                                2,169.61
                 8/2/2023      Customer Receipt                                  465.07
                 8/2/2023      Customer Receipt                                   42.69
                 8/3/2023      Customer Receipt                               57,783.06
                 8/3/2023      Customer Receipt                               11,034.95
                 8/3/2023      Customer Receipt                                9,706.78
                 8/3/2023      Customer Receipt                                  455.34
                 8/3/2023      Customer Receipt                                  403.96
                 8/3/2023      Customer Receipt                                   14.72
                 8/3/2023      Customer Receipt                                    9.80
                 8/4/2023      Customer Receipt                               12,332.73
                 8/4/2023      Customer Receipt                                4,617.17
                 8/4/2023      Customer Receipt                                2,989.95
                 8/4/2023      Customer Receipt                                2,044.98
                 8/4/2023      Customer Receipt                                  159.42
                 8/7/2023      Customer Receipt                               98,665.05
                 8/7/2023      Customer Receipt                                2,812.68
                 8/7/2023      Customer Receipt                                1,848.39
                 8/7/2023      Customer Receipt                                1,529.32
                 8/7/2023      Customer Receipt                                1,006.00
                 8/7/2023      Customer Receipt                                  609.98
                 8/7/2023      Customer Receipt                                  600.00
                 8/7/2023      Customer Receipt                                  194.26
                 8/7/2023      Customer Receipt                                   65.09
                 8/7/2023      Customer Receipt                                   29.99
                 8/7/2023      Customer Receipt                                   29.95
                 8/8/2023      Customer Receipt                                1,695.34
                 8/8/2023      Customer Receipt                                  775.00
                 8/8/2023      Customer Receipt                                  376.19
                 8/8/2023      Customer Receipt                                  319.17
                 8/8/2023      Customer Receipt                                  121.97
                 8/8/2023      Customer Receipt                                    1.87
                 8/9/2023      Customer Receipt                                1,445.95
                 8/9/2023      Customer Receipt                                1,616.05
                 8/9/2023      Customer Receipt                                  380.00
                 8/9/2023      Customer Receipt                                  205.00
                 8/9/2023      Customer Receipt                                  127.00


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GigaMonster Networks LLC                                                                Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 8/10/2023     Customer Receipt                                   173.99
                 8/10/2023     Customer Receipt                                 2,040.23
                 8/10/2023     Customer Receipt                                   325.29
                 8/10/2023     Customer Receipt                                   282.09
                 8/10/2023     Customer Receipt                                    68.19
                 8/10/2023     Customer Receipt                                    64.40
                 8/10/2023     Customer Receipt                                    60.00
                 8/11/2023     Customer Receipt                                 8,899.39
                 8/11/2023     Customer Receipt                                 2,059.40
                 8/11/2023     Customer Receipt                                   600.00
                 8/11/2023     Customer Receipt                                    60.04
                 8/11/2023     Customer Receipt                                    50.09
                 8/14/2023     Customer Receipt                                 7,785.59
                 8/14/2023     Customer Receipt                                13,409.22
                 8/14/2023     Customer Receipt                                 3,754.95
                 8/14/2023     Customer Receipt                                 2,056.17
                 8/14/2023     Customer Receipt                                 1,830.03
                 8/14/2023     Customer Receipt                                   922.92
                 8/14/2023     Customer Receipt                                   330.00
                 8/14/2023     Customer Receipt                                   252.02
                 8/14/2023     Customer Receipt                                    60.00
                 8/14/2023     Customer Receipt                                    27.49
                 8/15/2023     Customer Receipt                                24,535.55
                 8/15/2023     Customer Receipt                                 2,613.50
                 8/15/2023     Customer Receipt                                   180.00
                 8/15/2023     Customer Receipt                                   109.86
                 8/15/2023     Customer Receipt                                     9.56
                 8/16/2023     Customer Receipt                                   122.11
                 8/16/2023     Customer Receipt                                   183.45
                 8/16/2023     Customer Receipt                                   193.08
                 8/16/2023     Customer Receipt                                   580.00
                 8/16/2023     Customer Receipt                                 1,793.26
                 8/16/2023     Customer Receipt                                 2,893.24
                 8/16/2023     Customer Receipt                                22,308.75
                 8/17/2023     Customer Receipt                                   190.00
                 8/17/2023     Customer Receipt                                   221.99
                 8/17/2023     Customer Receipt                                   255.00
                 8/17/2023     Customer Receipt                                 1,956.44
                 8/17/2023     Returned Deposit                               (13,989.79)
                 8/18/2023     Customer Receipt                                    16.36
                 8/18/2023     Customer Receipt                                    74.00
                 8/18/2023     Customer Receipt                                   295.00
                 8/18/2023     Customer Receipt                                 2,020.00
                 8/18/2023     Customer Receipt                                 3,949.40
                 8/18/2023     Customer Receipt                                 6,963.83
                 8/21/2023     Customer Receipt                                 2,844.79
                 8/21/2023     Customer Receipt                                 2,560.84
                 8/21/2023     Customer Receipt                                 2,168.04
                 8/21/2023     Customer Receipt                                   360.00
                 8/21/2023     Customer Receipt                                   300.00


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GigaMonster Networks LLC                                                                  Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 8/21/2023     Customer Receipt                                  194.98
                 8/21/2023     Customer Receipt                                  144.99
                 8/21/2023     Customer Receipt                                   58.89
                 8/21/2023     Customer Receipt                                   40.00
                 8/21/2023     Customer Receipt                                   29.95
                 8/21/2023     Customer Receipt                                   12.96
                 8/22/2023     Customer Receipt                               26,485.96
                 8/22/2023     Customer Receipt                                3,793.55
                 8/22/2023     Customer Receipt                                   80.00
                 8/22/2023     Customer Receipt                                   60.00
                 8/22/2023     Customer Receipt                                    7.90
                 8/22/2023     Customer Receipt                                    6.48
                 8/23/2023     Customer Receipt                                  151.94
                 8/23/2023     Customer Receipt                               10,226.06
                 8/23/2023     Customer Receipt                                  475.00
                 8/23/2023     Customer Receipt                                  300.00
                 8/23/2023     Customer Receipt                                   96.58
                 8/24/2023     Customer Receipt                               24,266.34
                 8/24/2023     Customer Receipt                                2,734.97
                 8/24/2023     Customer Receipt                                  110.00
                 8/24/2023     Customer Receipt                                   80.00
                 8/24/2023     Customer Receipt                                   50.00
                 8/24/2023     Customer Receipt                                    7.55
                 8/25/2023     Customer Receipt                                3,221.27
                 8/25/2023     Customer Receipt                                3,501.13
                 8/25/2023     Customer Receipt                                  120.00
                 8/25/2023     Customer Receipt                                   33.86
                 8/25/2023     Customer Receipt                                   28.66
                 8/28/2023     Customer Receipt                                3,092.94
                 8/28/2023     Customer Receipt                                1,296.65
                 8/28/2023     Customer Receipt                                  796.14
                 8/28/2023     Customer Receipt                                  375.00
                 8/28/2023     Customer Receipt                                   40.00
                 8/28/2023     Customer Receipt                                    5.99
                 8/28/2023     Customer Receipt                                    5.99
                 8/28/2023     Customer Receipt                                    5.99
                 8/29/2023     Customer Receipt                                4,451.75
                 8/29/2023     Customer Receipt                                2,813.24
                 8/29/2023     Customer Receipt                                  308.80
                 8/29/2023     Customer Receipt                                  280.00
                 8/29/2023     Customer Receipt                                2,500.00
                 8/30/2023     Customer Receipt                               10,275.11
                 8/30/2023     Customer Receipt                               12,118.68
                 8/30/2023     Customer Receipt                                9,237.90
                 8/30/2023     Customer Receipt                                7,146.30
                 8/30/2023     Customer Receipt                                2,111.29
                 8/30/2023     Customer Receipt                                  280.00
                 8/30/2023     Customer Receipt                                  175.00
                 8/30/2023     Customer Receipt                                   42.69
                 8/31/2023     Customer Receipt                                4,654.09


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GigaMonster Networks LLC                                                               Case 23-10051-JKS
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                 Date                              Transaction Description   Amount
                 8/31/2023     Customer Receipt                                1,765.63
                 8/31/2023     Customer Receipt                                   40.00
                 8/31/2023     Customer Receipt                                   14.80
                 8/31/2023     Customer Receipt                                    7.00
                 9/1/2023      Customer Receipt                                   38.51
                 9/1/2023      Customer Receipt                                1,910.00
                 9/1/2023      Customer Receipt                               14,629.85
                 9/1/2023      Customer Receipt                                2,133.83
                 9/1/2023      Customer Receipt                                   82.72
                 9/1/2023      Customer Receipt                                   14.43
                 9/1/2023      Customer Receipt                                   13.25
                 9/5/2023      Customer Receipt                                  120.00
                 9/5/2023      Customer Receipt                               19,621.28
                 9/5/2023      Customer Receipt                               23,173.58
                 9/5/2023      Customer Receipt                                3,239.45
                 9/5/2023      Customer Receipt                                1,377.54
                 9/5/2023      Customer Receipt                                1,163.97
                 9/5/2023      Customer Receipt                                   56.53
                 9/5/2023      Customer Receipt                                   40.00
                 9/5/2023      Customer Receipt                                   29.99
                 9/5/2023      Customer Receipt                                   29.73
                 9/5/2023      Customer Receipt                                   28.13
                 9/5/2023      Customer Receipt                                   20.95
                 9/5/2023      Customer Receipt                                    4.50
                 9/6/2023      Customer Receipt                                  500.00
                 9/6/2023      Customer Receipt                                9,967.17
                 9/6/2023      Customer Receipt                                1,465.83
                 9/6/2023      Customer Receipt                                  360.00
                 9/6/2023      Customer Receipt                                   70.00
                 9/6/2023      Customer Receipt                                    6.40
                 9/7/2023      Customer Receipt                                1,023.60
                 9/8/2023      Customer Receipt                                2,565.82
                 9/8/2023      Customer Receipt                                1,805.00
                 9/8/2023      Customer Receipt                                  295.00
                 9/8/2023      Customer Receipt                                  122.00
                 9/11/2023     Customer Receipt                                  791.74
                 9/11/2023     Customer Receipt                                  778.00
                 9/11/2023     Customer Receipt                                  499.00
                 9/11/2023     Customer Receipt                                    5.99
                 9/12/2023     Customer Receipt                                  130.00
                 9/12/2023     Customer Receipt                               29,360.91
                 9/12/2023     Customer Receipt                                4,695.66
                 9/12/2023     Customer Receipt                                  995.28
                 9/12/2023     Customer Receipt                                   21.70
                 9/13/2023     Customer Receipt                                   49.00
                 9/13/2023     Customer Receipt                                4,683.84
                 9/13/2023     Customer Receipt                                  447.00
                 9/13/2023     Customer Receipt                                    1.99
                 9/14/2023     Customer Receipt                                  567.20
                 9/14/2023     Returned Deposit                               (1,524.60)


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GigaMonster Networks LLC                                                                                 Case 23-10051-JKS
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                 Date                            Transaction Description                   Amount
                 9/15/2023     Customer Receipt                                                 77.32
                 9/15/2023     Customer Receipt                                                538.98
                 9/15/2023     Customer Receipt                                                  4.28
                 9/18/2023     Customer Receipt                                                695.43
                 9/19/2023     Customer Receipt                                              7,390.90
                 9/20/2023     Customer Receipt                                                 40.00
                 9/21/2023     Customer Receipt                                             15,540.18
                 9/22/2023     Customer Receipt                                                 50.44
                 9/25/2023     Customer Receipt                                                328.88
                 9/26/2023     Customer Receipt                                             12,194.72
                 9/27/2023     Customer Receipt                                              1,741.14
                 9/27/2023     Customer Receipt                                                184.27
                 9/28/2023     Customer Receipt                                                110.00
                 9/29/2023     Customer Receipt                                                199.00
                 9/29/2023     Customer Receipt                                              3,640.54
                 10/2/2023     Customer Receipt                                                  0.01
                 10/3/2023     Customer Receipt                                              1,105.00
                 10/6/2023     Buyer Reimbursements per Transactions Service Agreement     148,768.93
                 10/11/2023    Asset Sale                                                    3,060.00
                 10/12/2023    Customer Receipt                                                160.00
                 10/12/2023    Customer Receipt                                              3,124.16
                 10/12/2023    Buyer Reimbursements per Transactions Service Agreement      70,444.57
                 10/13/2023    Customer Receipt                                                968.90
                 10/17/2023    Customer Receipt                                                390.68
                 10/17/2023    Customer Receipt                                                 65.35
                 10/17/2023    Customer Receipt                                              3,906.00
                 10/18/2023    Customer Receipt                                                360.00
                 10/23/2023    Customer Receipt                                             11,404.90
                 10/24/2023    Customer Receipt                                                505.82
                 10/24/2023    Customer Receipt                                              2,871.54
                 10/24/2023    Customer Receipt                                              8,708.40
                 10/27/2023    Buyer Reimbursements per Transactions Service Agreement     117,935.66
                 10/27/2023    Customer Receipt                                              1,827.75
                 10/31/2023    Returned Deposits                                            (1,735.80)
                 11/2/2023     Customer Receipt                                              3,698.69
                 11/2/2023     Customer Receipt                                              1,735.80
                 11/7/2023     Customer Receipt                                                 42.71
                 11/13/2023    Customer Receipt                                                308.26
                 11/16/2023    Customer Receipt                                                300.00
                 11/21/2023    Customer Receipt                                              1,241.90
                 11/28/2023    Customer Receipt                                              2,663.64
                 Total                                                                   42,031,807.92




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GigaMonster Networks LLC                                                                                  Case 23-10051-JKS
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               Date                         Vendor Name                 Amount              Category
               1/17/2023    Portland General                                  46.85 Operating Expense
               1/17/2023    So Cal Edison                                     82.19 Operating Expense
               1/17/2023    The Bancorp                                      109.00 Payroll and Related
               1/17/2023    Georgia Tech Foundation, INC                     115.00 Operating Expense
               1/17/2023    Comcast                                          126.52 Operating Expense
               1/17/2023    DirecTV                                          170.27 Operating Expense
               1/17/2023    Admin America                                    340.38 Payroll and Related
               1/17/2023    DirecTV                                          451.50 Operating Expense
               1/17/2023    DirecTV                                          543.90 Operating Expense
               1/17/2023    DirecTV                                          706.65 Operating Expense
               1/17/2023    DirecTV                                          960.75 Operating Expense
               1/17/2023    Shentel                                        1,593.00 Operating Expense
               1/17/2023    DirecTV                                        2,504.25 Operating Expense
               1/17/2023    DirecTV                                        4,497.57 Operating Expense
               1/17/2023    DirecTV                                        5,426.40 Operating Expense
               1/17/2023    DirecTV                                        5,841.00 Operating Expense
               1/17/2023    DirecTV                                        7,641.00 Operating Expense
               1/17/2023    DirecTV                                       11,847.19 Operating Expense
               1/17/2023    Regions Credit Card                           51,603.12 Operating Expense
               1/18/2023    Portland General                                  48.69 Operating Expense
               1/18/2023    Portland General                                  51.45 Operating Expense
               1/18/2023    Portland General                                  53.93 Operating Expense
               1/18/2023    The Bancorp                                       59.20 Payroll and Related
               1/18/2023    WST 1077 Water Street LLC                        171.77 Operating Expense
               1/18/2023    The Bancorp                                      185.53 Payroll and Related
               1/18/2023    DirecTV                                          548.10 Operating Expense
               1/18/2023    The Preserve ASA MT, LLC                       1,000.00 Operating Expense
               1/18/2023    DirecTV                                        5,364.16 Operating Expense
               1/18/2023    Jones Day                                    397,893.75 Professional Fees
               1/19/2023    Portland General                                  20.60 Operating Expense
               1/19/2023    Portland General                                  51.38 Operating Expense
               1/19/2023    American Assets Trust                             58.27 Operating Expense
               1/19/2023    Portland General                                  58.40 Operating Expense
               1/19/2023    Portland General                                  62.32 Operating Expense
               1/19/2023    American Assets Trust                             64.00 Operating Expense
               1/19/2023    The Bancorp                                       68.90 Payroll and Related
               1/19/2023    Portland General                                  95.73 Operating Expense
               1/19/2023    Berkshire Income Realty OP, LP                   104.00 Operating Expense
               1/19/2023    American Assets Trust                            130.42 Operating Expense
               1/19/2023    City of Orange                                   174.00 Operating Expense
               1/19/2023    City of Lincoln                                  205.25 Operating Expense
               1/19/2023    American Broadband Services                    3,165.00 Operating Expense
               1/19/2023    DirecTV                                        3,968.44 Operating Expense
               1/19/2023    Hogan Lovells US LLP                          40,681.88 Professional Fees
               1/19/2023    Hogan Lovells US LLP                         121,079.10 Professional Fees
               1/19/2023    Paychex                                      183,911.75 Payroll and Related
               1/20/2023    Paychex                                          104.96 Payroll and Related
               1/20/2023    Spectrum                                         119.97 Operating Expense
               1/20/2023    Rise Broadbrand                                  151.94 Operating Expense
               1/20/2023    Portland General                                 316.99 Operating Expense


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GigaMonster Networks LLC                                                                               Case 23-10051-JKS
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               Date                        Vendor Name              Amount               Category
               1/20/2023    Paychex                                      400.00 Payroll and Related
               1/20/2023    Paychex                                      426.92 Payroll and Related
               1/20/2023    Belletera Realty Corporation                 482.87 Operating Expense
               1/20/2023    The Bancorp                                  632.69 Payroll and Related
               1/20/2023    WG Apartments                              1,734.85 Operating Expense
               1/20/2023    DirecTV                                    1,768.20 Operating Expense
               1/20/2023    Paychex                                    2,263.52 Payroll and Related
               1/20/2023    Cigna                                     58,448.40 Payroll and Related
               1/23/2023    DirecTV                                   (1,768.20) Operating Expense
               1/23/2023    Portland General                            (316.99) Operating Expense
               1/23/2023    Rise Broadbrand                             (151.94) Operating Expense
               1/23/2023    Spectrum                                    (119.97) Operating Expense
               1/23/2023    Portland General                              27.18 Operating Expense
               1/23/2023    Portland General                              27.18 Operating Expense
               1/23/2023    Portland General                              27.18 Operating Expense
               1/23/2023    The Bancorp                                   60.00 Payroll and Related
               1/23/2023    Spectrum                                      79.98 Operating Expense
               1/23/2023    Spectrum                                     119.97 Operating Expense
               1/23/2023    Ken and Peg Lamar                            321.85 Operating Expense
               1/23/2023    Northwest Natural                            686.48 Operating Expense
               1/23/2023    AL Department of Revenue                   2,265.94 Operating Expense
               1/23/2023    Helio Broadband LLC                        2,700.88 Operating Expense
               1/23/2023    Great-West Trust                          13,929.68 Payroll and Related
               1/23/2023    CA DEPT TAX FEE                           14,649.00 Operating Expense
               1/23/2023    Webfile Tax Payment                       43,423.96 Operating Expense
               1/24/2023    Webfile Tax Payment                      (43,423.96) Operating Expense
               1/24/2023    CA DEPT TAX FEE                          (14,649.00) Operating Expense
               1/24/2023    Great-West Trust                         (13,929.68) Payroll and Related
               1/24/2023    AL Department of Revenue                  (2,265.94) Operating Expense
               1/24/2023    Northwest Natural                           (686.48) Operating Expense
               1/24/2023    Spectrum                                    (119.97) Operating Expense
               1/24/2023    Spectrum                                     (79.98) Operating Expense
               1/24/2023    The Bancorp                                  (60.00) Payroll and Related
               1/24/2023    Portland General                             (27.18) Operating Expense
               1/24/2023    Portland General                             (27.18) Operating Expense
               1/24/2023    Portland General                             (27.18) Operating Expense
               1/24/2023    CO Department of Revenue                       1.16 Operating Expense
               1/24/2023    Sales Tax - STTAMM                            16.00 Operating Expense
               1/24/2023    Minnesota Department of Revenue               29.00 Operating Expense
               1/24/2023    The Bancorp                                   50.00 Payroll and Related
               1/24/2023    Portland General                              69.80 Operating Expense
               1/24/2023    400 West Peachtree Residential               150.00 Operating Expense
               1/24/2023    PGANDE                                       195.14 Operating Expense
               1/24/2023    Marietta Power                               353.95 Operating Expense
               1/24/2023    OPTUM BANK                                   610.00 Operating Expense
               1/24/2023    Healthpeak Properties, Inc.                  841.28 Operating Expense
               1/24/2023    Nextra                                     1,547.35 Operating Expense
               1/24/2023    South Carolina Department of Revenue       4,518.08 Operating Expense
               1/24/2023    VA Department of Taxation                 11,840.84 Operating Expense
               1/24/2023    Georgia ITS Tax                           25,435.41 Operating Expense


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GigaMonster Networks LLC                                                                                Case 23-10051-JKS
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               Date                        Vendor Name                Amount              Category
               1/24/2023    Florida Department of Revenue               28,261.29 Operating Expense
               1/25/2023    Nextra                                      (1,547.35) Operating Expense
               1/25/2023    Marietta Power                                (353.95) Operating Expense
               1/25/2023    PGANDE                                        (195.14) Operating Expense
               1/25/2023    Portland General                               (69.80) Operating Expense
               1/25/2023    Tennessee State Revenue                          1.00 Operating Expense
               1/25/2023    NYS DTF SALES                                   50.00 Operating Expense
               1/25/2023    NYS DTF SALES                                   50.00 Operating Expense
               1/25/2023    Arbors at Cahaba River, LLC                    121.91 Operating Expense
               1/25/2023    Comp of Maryland                               334.16 Operating Expense
               1/25/2023    Georgia Natural Gas                          1,368.30 Operating Expense
               1/26/2023    Georgia Natural Gas                         (1,368.30) Operating Expense
               1/26/2023    GigaMonster Networks Costa Rica, SRL        80,000.00 Operating Expense
               1/27/2023    New Day Network Solutions                       75.00 Operating Expense
               1/27/2023    Comcast                                        215.14 Operating Expense
               1/27/2023    Allen Wayne Jones                              375.00 Operating Expense
               1/27/2023    Tek Group                                      480.00 Operating Expense
               1/27/2023    American Broadband Services                    515.00 Operating Expense
               1/27/2023    RM Communications                            2,095.00 Operating Expense
               1/27/2023    John Lee                                     3,345.00 Operating Expense
               1/27/2023    Chargify                                    11,854.84 Operating Expense
               1/27/2023    Great-West Trust                            13,929.68 Payroll and Related
               1/30/2023    The Bancorp                                     60.00 Payroll and Related
               1/30/2023    Cox Communications                             123.34 Operating Expense
               1/30/2023    AT&T                                           144.99 Operating Expense
               1/30/2023    Integra Telecome                               198.99 Operating Expense
               1/30/2023    So Cal Edison                                  287.78 Operating Expense
               1/30/2023    AT&T                                           359.98 Operating Expense
               1/30/2023    US Signal                                      948.45 Operating Expense
               1/30/2023    Shaheen Development CO, LLLP                 1,699.65 Operating Expense
               1/30/2023    Comm of Mass EFT                             1,734.93 Operating Expense
               1/30/2023    AL Department of Revenue                     2,492.53 Operating Expense
               1/30/2023    CA DEPT TAX FEE                             14,649.00 Operating Expense
               1/30/2023    Webfile Tax Payment                         45,824.28 Operating Expense
               1/31/2023    So Cal Edison                                 (287.78) Operating Expense
               1/31/2023    California Public Utilities Commission           0.21 Operating Expense
               1/31/2023    California Public Utilities Commission           0.23 Operating Expense
               1/31/2023    California Public Utilities Commission           0.31 Operating Expense
               1/31/2023    California Public Utilities Commission           0.33 Operating Expense
               1/31/2023    California Public Utilities Commission           1.42 Operating Expense
               1/31/2023    The Bancorp                                     48.30 Payroll and Related
               1/31/2023    Delmarva Power                                  87.36 Operating Expense
               1/31/2023    The Bancorp                                     92.25 Payroll and Related
               1/31/2023    California Public Utilities Commission          98.75 Operating Expense
               1/31/2023    The Bancorp                                    542.73 Payroll and Related
               1/31/2023    Shockoe Old Stone Row Owner                  1,800.00 Operating Expense
               1/31/2023    Admin America                                2,358.16 Payroll and Related
               1/31/2023    Metlife                                      5,935.76 Payroll and Related
               1/31/2023    Field Nation LLC                             8,000.00 Operating Expense
               1/31/2023    Paychex                                    162,550.60 Payroll and Related


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               Date                         Vendor Name              Amount              Category
               2/1/2023     Authorize.Net                                 119.00 Operating Expense
               2/1/2023     The Bancorp                                   136.55 Payroll and Related
               2/1/2023     Authorize.Net                               1,243.91 Operating Expense
               2/1/2023     Timron Enterprises                          1,591.22 Operating Expense
               2/1/2023     AT&T                                        1,644.52 Operating Expense
               2/1/2023     AT&T                                        2,637.45 Operating Expense
               2/1/2023     AT&T                                        5,314.35 Operating Expense
               2/1/2023     Authorize.Net                               5,577.21 Operating Expense
               2/2/2023     Timron Enterprises                         (1,591.22) Operating Expense
               2/2/2023     Authorize.Net                                  20.00 Operating Expense
               2/2/2023     Authorize.Net                                  49.16 Operating Expense
               2/2/2023     Authorize.Net                                 123.20 Operating Expense
               2/2/2023     Authorize.Net                                 328.44 Operating Expense
               2/2/2023     Paychex                                       426.92 Payroll and Related
               2/2/2023     Sea Watch Condominiums                        500.00 Operating Expense
               2/2/2023     Authorize.Net                                 554.90 Operating Expense
               2/2/2023     Authorize.Net                               1,882.36 Operating Expense
               2/2/2023     DirecTV                                     2,127.30 Operating Expense
               2/2/2023     Paychex                                     2,213.30 Payroll and Related
               2/2/2023     MTS Advisory                              20,000.00 Professional Fees
               2/3/2023     TerryBerry Company LLC                         39.99 Operating Expense
               2/3/2023     New Day Network Solutions                      75.00 Operating Expense
               2/3/2023     Engagedly Inc                                 153.55 Operating Expense
               2/3/2023     Clifton Larson Allen                          262.50 Operating Expense
               2/3/2023     So Cal Edison                                 287.78 Operating Expense
               2/3/2023     OPTUM BANK                                    515.00 Operating Expense
               2/3/2023     Wright Way Services                           580.65 Operating Expense
               2/3/2023     Tierpoint                                   1,361.43 Operating Expense
               2/3/2023     Allen Wayne Jones                           1,475.00 Operating Expense
               2/3/2023     Tek Group                                   2,060.00 Operating Expense
               2/3/2023     RM Communications                           2,095.00 Operating Expense
               2/3/2023     Flexential                                  2,308.03 Operating Expense
               2/3/2023     Alianza                                     3,127.04 Operating Expense
               2/3/2023     APX Net, Inc                                3,561.64 Operating Expense
               2/3/2023     365 Operating Company                       4,014.23 Operating Expense
               2/3/2023     Portland NAP                                4,112.90 Operating Expense
               2/3/2023     Cologix Inc                                 4,527.75 Operating Expense
               2/3/2023     Data Foundry Inc                            4,674.19 Operating Expense
               2/3/2023     ACE Micro LLC                               5,000.00 Operating Expense
               2/3/2023     John Lee                                    7,070.00 Operating Expense
               2/3/2023     Broadriver Communications                   7,591.94 Operating Expense
               2/3/2023     FiberLight, LLC                             7,684.00 Operating Expense
               2/3/2023     CoreSite L.P.                               9,394.57 Operating Expense
               2/3/2023     Engle Dental Systems                      10,104.00 Operating Expense
               2/3/2023     Great-West Trust                          14,096.59 Payroll and Related
               2/3/2023     Cobb Commerce                             21,241.38 Operating Expense
               2/3/2023     Equinix, INC                              23,415.90 Operating Expense
               2/3/2023     Cogent Communications                     33,666.02 Operating Expense
               2/3/2023     Marsh USA                                 40,321.84 Operating Expense
               2/3/2023     Zayo Group, LLC                           75,303.33 Operating Expense


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               2/6/2023     The Bancorp                                     30.75 Payroll and Related
               2/6/2023     Verizon                                        161.99 Operating Expense
               2/6/2023     TRS                                            335.22 Operating Expense
               2/6/2023     Braintree                                      369.69 Operating Expense
               2/6/2023     DirecTV                                        495.50 Operating Expense
               2/6/2023     NiTel Inc                                      530.28 Operating Expense
               2/6/2023     Braintree                                      741.57 Operating Expense
               2/6/2023     Shentel                                        770.81 Operating Expense
               2/6/2023     Spirit Communications (Segra)                  887.04 Operating Expense
               2/6/2023     DirecTV                                      1,087.80 Operating Expense
               2/6/2023     Pitney Purchase                              1,204.32 Operating Expense
               2/6/2023     Pitney Bowes                                 1,346.45 Operating Expense
               2/6/2023     DirecTV                                      2,175.60 Operating Expense
               2/6/2023     DirecTV                                      4,327.98 Operating Expense
               2/6/2023     DirecTV                                      8,916.58 Operating Expense
               2/6/2023     Time Warner Cable                           21,883.09 Operating Expense
               2/6/2023     AT&T                                        25,140.88 Operating Expense
               2/6/2023     Crown Castle Fiber                          28,315.72 Operating Expense
               2/7/2023     Twin City Voip Inc                               4.84 Operating Expense
               2/7/2023     Dynamark Monitoring, Inc                         7.00 Operating Expense
               2/7/2023     Frontier                                        58.45 Operating Expense
               2/7/2023     Frontier                                        97.27 Operating Expense
               2/7/2023     T-Mobile                                       107.17 Operating Expense
               2/7/2023     DirecTV                                        140.81 Operating Expense
               2/7/2023     CenturyLink                                    243.05 Operating Expense
               2/7/2023     CenturyLink                                    332.65 Operating Expense
               2/7/2023     CenturyLink                                    338.71 Operating Expense
               2/7/2023     CenturyLink                                    338.71 Operating Expense
               2/7/2023     CenturyLink                                    369.76 Operating Expense
               2/7/2023     CenturyLink                                    372.58 Operating Expense
               2/7/2023     CenturyLink                                    379.35 Operating Expense
               2/7/2023     CenturyLink                                    379.35 Operating Expense
               2/7/2023     CenturyLink                                    382.74 Operating Expense
               2/7/2023     AT&T                                           384.11 Operating Expense
               2/7/2023     CenturyLink                                    389.52 Operating Expense
               2/7/2023     CenturyLink                                    396.60 Operating Expense
               2/7/2023     Frontier                                       437.65 Operating Expense
               2/7/2023     Vexus Fiber                                    487.76 Operating Expense
               2/7/2023     City of Sherwood                               558.87 Operating Expense
               2/7/2023     Consolidated First Tech                        700.02 Operating Expense
               2/7/2023     Summit Broadband                               731.40 Operating Expense
               2/7/2023     NWAX                                           750.00 Operating Expense
               2/7/2023     Uniti Fiber                                    926.10 Operating Expense
               2/7/2023     Verizon                                        955.80 Operating Expense
               2/7/2023     Frontier                                     1,447.74 Operating Expense
               2/7/2023     Concur Technologies, Inc.                    1,555.95 Operating Expense
               2/7/2023     Nashville Electric Service                   1,865.01 Operating Expense
               2/7/2023     Frontier                                     1,873.49 Operating Expense
               2/7/2023     Level3                                       2,099.13 Operating Expense
               2/7/2023     Cox Communications                           2,228.23 Operating Expense


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               2/7/2023     American Broadband Services                2,245.00 Operating Expense
               2/7/2023     Comcast                                    2,345.81 Operating Expense
               2/7/2023     Wholesale Carrier Svcs., Inc               2,682.04 Operating Expense
               2/7/2023     DirecTV                                    4,727.10 Operating Expense
               2/7/2023     Shaheen Development CO, LLLP               5,106.66 Operating Expense
               2/7/2023     Charter Communications                     8,002.61 Operating Expense
               2/7/2023     Level3                                    20,330.88 Operating Expense
               2/8/2023     Comcast                                       33.20 Operating Expense
               2/8/2023     Comcast                                       53.36 Operating Expense
               2/8/2023     The Bancorp                                   86.15 Payroll and Related
               2/8/2023     Comcast                                       88.91 Operating Expense
               2/8/2023     Comcast                                      177.85 Operating Expense
               2/8/2023     Comcast                                      195.63 Operating Expense
               2/8/2023     Comcast                                      276.45 Operating Expense
               2/9/2023     Cigna                                        211.93 Payroll and Related
               2/9/2023     Corporation Service Company                  246.69 Operating Expense
               2/9/2023     Regions Banking Fees                         425.24 Operating Expense
               2/9/2023     Ace Satelite                                 520.00 Operating Expense
               2/9/2023     Regions Banking Fees                         696.26 Operating Expense
               2/9/2023     DirecTV                                    1,233.65 Operating Expense
               2/9/2023     Tek Group                                  1,330.00 Operating Expense
               2/9/2023     Allen Wayne Jones                          1,375.00 Operating Expense
               2/9/2023     Logix Communications                       1,498.18 Operating Expense
               2/9/2023     Regions Banking Fees                       1,710.12 Operating Expense
               2/9/2023     Alabaster Consulting                       1,924.10 Operating Expense
               2/9/2023     Wirestar, Inc.                             2,554.84 Operating Expense
               2/9/2023     Tierpoint                                  2,813.62 Operating Expense
               2/9/2023     Collin McManus                             2,880.00 Operating Expense
               2/9/2023     John Lee                                   3,070.00 Operating Expense
               2/9/2023     RM Communications                          3,700.00 Operating Expense
               2/9/2023     Genesys Cloud Services                     3,879.56 Operating Expense
               2/9/2023     Wave Internet                              6,053.73 Operating Expense
               2/9/2023     Ronald K Rueve                             7,914.36 Operating Expense
               2/10/2023    So Cal Edison                                 37.88 Operating Expense
               2/10/2023    Portland General                              44.84 Operating Expense
               2/10/2023    Authorize.Net                                 49.70 Operating Expense
               2/10/2023    CLA                                          262.50 Operating Expense
               2/10/2023    DirecTV                                    1,515.15 Operating Expense
               2/10/2023    GigaMonster Networks Costa Rica, SRL      75,000.00 Operating Expense
               2/13/2023    MarketSpark Inc.                              27.77 Operating Expense
               2/13/2023    Arrow Exterminators Inc                      100.00 Operating Expense
               2/13/2023    DirecTV                                      170.10 Operating Expense
               2/13/2023    DirecTV                                      185.85 Operating Expense
               2/13/2023    DirecTV                                      272.16 Operating Expense
               2/13/2023    DirecTV                                      278.57 Operating Expense
               2/13/2023    Comcast                                      301.63 Operating Expense
               2/13/2023    DirecTV                                      306.18 Operating Expense
               2/13/2023    DirecTV                                      326.55 Operating Expense
               2/13/2023    DirecTV                                      371.70 Operating Expense
               2/13/2023    DirecTV                                      377.48 Operating Expense


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               2/13/2023    DirecTV                                          437.75 Operating Expense
               2/13/2023    DirecTV                                          484.05 Operating Expense
               2/13/2023    DirecTV                                          515.55 Operating Expense
               2/13/2023    Admin America                                    526.91 Payroll and Related
               2/13/2023    UPS                                              573.43 Operating Expense
               2/13/2023    DirecTV                                          646.38 Operating Expense
               2/13/2023    DirecTV                                          653.10 Operating Expense
               2/13/2023    DirecTV                                          706.65 Operating Expense
               2/13/2023    DirecTV                                          743.40 Operating Expense
               2/13/2023    DirecTV                                          815.85 Operating Expense
               2/13/2023    Admin America                                    825.75 Payroll and Related
               2/13/2023    DirecTV                                          897.75 Operating Expense
               2/13/2023    US Signal                                        948.45 Operating Expense
               2/13/2023    DirecTV                                          955.08 Operating Expense
               2/13/2023    DirecTV                                        1,005.90 Operating Expense
               2/13/2023    DirecTV                                        1,033.20 Operating Expense
               2/13/2023    Verizon Connect Fleet USA LLC                  1,070.60 Operating Expense
               2/13/2023    DirecTV                                        1,074.47 Operating Expense
               2/13/2023    DirecTV                                        1,114.26 Operating Expense
               2/13/2023    DirecTV                                        1,169.70 Operating Expense
               2/13/2023    DirecTV                                        1,216.95 Operating Expense
               2/13/2023    DirecTV                                        1,239.00 Operating Expense
               2/13/2023    DirecTV                                        1,394.82 Operating Expense
               2/13/2023    DirecTV                                        1,432.62 Operating Expense
               2/13/2023    Broadband Enterprise LLC                       1,492.88 Operating Expense
               2/13/2023    DirecTV                                        1,766.10 Operating Expense
               2/13/2023    DirecTV                                        1,768.20 Operating Expense
               2/13/2023    DirecTV                                        1,790.78 Operating Expense
               2/13/2023    DirecTV                                        2,012.85 Operating Expense
               2/13/2023    UPS                                            2,036.06 Operating Expense
               2/13/2023    DirecTV                                        2,973.60 Operating Expense
               2/13/2023    Canon Financial Services                       3,606.87 Operating Expense
               2/13/2023    DirecTV                                        4,614.75 Operating Expense
               2/13/2023    DirecTV                                        5,966.10 Operating Expense
               2/13/2023    DirecTV                                        6,279.00 Operating Expense
               2/14/2023    Gables Vinings                                     4.92 Operating Expense
               2/14/2023    The Bancorp                                       25.41 Payroll and Related
               2/14/2023    Paychex                                       45,612.90 Payroll and Related
               2/14/2023    Paychex                                      121,102.50 Payroll and Related
               2/15/2023    Portland General                                  14.59 Operating Expense
               2/15/2023    USF Payment                                    3,434.01 Operating Expense
               2/15/2023    Regions Credit Card                           41,860.98 Capital Expenditures
               2/16/2023    Georgia Telecom Relay Services                    20.13 Operating Expense
               2/16/2023    City of Rock Hill                                 86.00 Operating Expense
               2/16/2023    Quench USA Inc                                   117.28 Operating Expense
               2/16/2023    Admin America                                    120.00 Payroll and Related
               2/16/2023    First Response Systems                           168.00 Operating Expense
               2/16/2023    American Disposal Services                       217.67 Operating Expense
               2/16/2023    John Lee                                         235.00 Operating Expense
               2/16/2023    Digital Linx                                     270.00 Operating Expense


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               2/16/2023    Stratus Building Solutions                     279.00 Operating Expense
               2/16/2023    Ace Satelite                                   300.00 Operating Expense
               2/16/2023    Allen Wayne Jones                              375.00 Operating Expense
               2/16/2023    New Day Network Solutions                      475.00 Operating Expense
               2/16/2023    Eclipse Master Condo                           600.00 Operating Expense
               2/16/2023    Florida Public Service Commission              636.00 Operating Expense
               2/16/2023    Shentel                                        822.19 Operating Expense
               2/16/2023    City of Sherwood                             1,155.00 Operating Expense
               2/16/2023    TrustPort LLC                                1,330.00 Operating Expense
               2/16/2023    GPSC UAF                                     1,591.98 Operating Expense
               2/16/2023    Corporation Service Company                  2,059.20 Operating Expense
               2/16/2023    Tek Group                                    2,260.00 Operating Expense
               2/16/2023    FiberLight, LLC                              2,560.62 Operating Expense
               2/16/2023    Sync MED Center LP                           3,167.94 Operating Expense
               2/16/2023    Concur Technologies, Inc.                    3,215.62 Operating Expense
               2/16/2023    Precision One Services                       3,783.00 Capital Expenditures
               2/16/2023    CallTEk Inc                                  4,087.22 Operating Expense
               2/16/2023    Telx, LLC                                    4,951.25 Operating Expense
               2/16/2023    Metlife                                      6,906.78 Payroll and Related
               2/16/2023    Ademco                                       8,459.75 Capital Expenditures
               2/16/2023    CoreSite L.P.                                9,511.15 Operating Expense
               2/16/2023    Net TSA Activity                            13,981.03 Net TSA Activity
               2/16/2023    Marsh USA                                   19,423.07 Operating Expense
               2/16/2023    Telx, LLC                                   37,657.35 Operating Expense
               2/16/2023    AT&T                                        45,139.11 Operating Expense
               2/17/2023    The Bancorp                                     27.55 Payroll and Related
               2/17/2023    Paychex                                        426.92 Payroll and Related
               2/17/2023    OPTUM BANK                                     515.00 Operating Expense
               2/17/2023    Paychex                                      2,377.00 Payroll and Related
               2/17/2023    Collin McManus                               3,310.00 Operating Expense
               2/17/2023    Great-West Trust                            12,441.22 Payroll and Related
               2/21/2023    Gables Vinings                                  40.40 Operating Expense
               2/21/2023    The Bancorp                                     48.00 Payroll and Related
               2/21/2023    Portland General                               327.84 Operating Expense
               2/21/2023    Paychex                                        400.00 Payroll and Related
               2/22/2023    The Bancorp                                     57.16 Payroll and Related
               2/22/2023    Admin America                                  102.71 Payroll and Related
               2/22/2023    Cigna                                       58,613.85 Payroll and Related
               2/23/2023    Cigna                                      (58,613.85) Payroll and Related
               2/23/2023    Admin America                                 (102.71) Payroll and Related
               2/23/2023    The Bancorp                                    (57.16) Payroll and Related
               2/23/2023    Twin City Voip Inc                              10.00 Operating Expense
               2/23/2023    American Assets Trust                           23.47 Capital Expenditures
               2/23/2023    American Assets Trust                           26.16 Capital Expenditures
               2/23/2023    Georgia ITS Tax                                 30.00 Operating Expense
               2/23/2023    Berkshire Income Realty OP, LP                  45.48 Operating Expense
               2/23/2023    Portland General                                51.54 Operating Expense
               2/23/2023    D Street Village                                61.94 Operating Expense
               2/23/2023    American Assets Trust                           66.49 Operating Expense
               2/23/2023    The Bancorp                                     70.00 Payroll and Related


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               2/23/2023    Georgia Tech Foundation, INC                 115.00 Operating Expense
               2/23/2023    Ken and Peg Lamar                            154.42 Operating Expense
               2/23/2023    Ace Satelite                                 390.00 Operating Expense
               2/23/2023    WG Apartments                                461.46 Operating Expense
               2/23/2023    The Pitney Bowes Bank                        500.00 Operating Expense
               2/23/2023    Healthpeak Properties, Inc.                  515.24 Operating Expense
               2/23/2023    New Day Network Solutions                    550.00 Operating Expense
               2/23/2023    Allen Wayne Jones                            575.00 Operating Expense
               2/23/2023    Georgia Natural Gas                          653.56 Operating Expense
               2/23/2023    American Broadband Services                  735.00 Operating Expense
               2/23/2023    The Preserve ASA MT, LLC                   1,000.00 Operating Expense
               2/23/2023    US Signal                                  1,040.95 Operating Expense
               2/23/2023    Universal Media Group                      1,440.89 Operating Expense
               2/23/2023    Monoprice, Inc.                            1,752.43 Capital Expenditures
               2/23/2023    RM Communications                          1,820.00 Operating Expense
               2/23/2023    Tek Group                                  1,845.00 Operating Expense
               2/23/2023    Uniti Fiber                                1,913.95 Operating Expense
               2/23/2023    Kromer Investments                         2,059.00 Operating Expense
               2/23/2023    Provantage, LLC                            2,240.00 Capital Expenditures
               2/23/2023    Logix Communications                       2,570.37 Operating Expense
               2/23/2023    Wholesale Carrier Svcs., Inc               2,678.36 Operating Expense
               2/23/2023    Tierpoint                                  2,813.62 Operating Expense
               2/23/2023    Verizon                                    2,815.76 Operating Expense
               2/23/2023    Alabaster Consulting                       3,098.45 Operating Expense
               2/23/2023    Southern Dock Products                     3,167.94 Operating Expense
               2/23/2023    Nevada Communications                      4,290.00 Operating Expense
               2/23/2023    Enterprise                                 4,421.81 Operating Expense
               2/23/2023    Time Warner Cable                         11,659.00 Operating Expense
               2/23/2023    CoreSite L.P.                             12,373.75 Operating Expense
               2/23/2023    Broadriver Communications                 16,071.72 Operating Expense
               2/23/2023    Time Warner Cable                         33,138.68 Operating Expense
               2/23/2023    Merchtel                                  39,025.00 Capital Expenditures
               2/23/2023    Zayo Group, LLC                           51,383.46 Operating Expense
               2/23/2023    GigaMonster Networks Costa Rica, SRL      72,516.53 Operating Expense
               2/24/2023    New Orleans Sales Tax                          6.00 Operating Expense
               2/24/2023    Comp of Maryland                              12.19 Operating Expense
               2/24/2023    Spectrum                                      79.98 Operating Expense
               2/24/2023    Spectrum                                     119.97 Operating Expense
               2/24/2023    Verizon                                      146.31 Operating Expense
               2/24/2023    Spectrum                                     148.84 Operating Expense
               2/24/2023    Spectrum                                     206.89 Operating Expense
               2/24/2023    Cox Communications                           264.28 Operating Expense
               2/24/2023    Spectrum                                     319.92 Operating Expense
               2/24/2023    CA DEPT TAX FEE                              563.36 Operating Expense
               2/24/2023    CenturyLink                                  659.84 Operating Expense
               2/24/2023    CenturyLink                                  961.54 Operating Expense
               2/24/2023    CenturyLink                                  961.54 Operating Expense
               2/24/2023    Vexus Fiber                                1,008.03 Operating Expense
               2/24/2023    CenturyLink                                1,049.69 Operating Expense
               2/24/2023    Georgia ITS Tax                            1,052.54 Operating Expense


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               2/24/2023    CenturyLink                                 1,057.70 Operating Expense
               2/24/2023    CenturyLink                                 1,076.94 Operating Expense
               2/24/2023    CenturyLink                                 1,077.06 Operating Expense
               2/24/2023    CenturyLink                                 1,086.55 Operating Expense
               2/24/2023    CenturyLink                                 1,105.77 Operating Expense
               2/24/2023    CenturyLink                                 1,132.22 Operating Expense
               2/24/2023    CenturyLink                                 1,171.18 Operating Expense
               2/24/2023    Comcast                                     1,265.78 Operating Expense
               2/24/2023    Frontier                                    1,952.26 Operating Expense
               2/24/2023    Frontier                                    2,147.69 Operating Expense
               2/24/2023    CenturyLink                                 3,172.36 Operating Expense
               2/24/2023    Frontier                                    3,312.60 Operating Expense
               2/24/2023    Level3                                      4,263.58 Operating Expense
               2/24/2023    AT&T                                        6,013.32 Operating Expense
               2/24/2023    Webfile Tax Payment                        14,722.21 Operating Expense
               2/24/2023    Comcast                                    41,285.11 Operating Expense
               2/27/2023    The Bancorp                                   129.58 Payroll and Related
               2/27/2023    So Cal Edison                                 279.75 Operating Expense
               2/27/2023    Consolidated First Tech                       326.99 Operating Expense
               2/27/2023    Rise Broadbrand                               328.88 Operating Expense
               2/27/2023    Comcast                                       338.07 Operating Expense
               2/27/2023    Comcast                                       556.27 Operating Expense
               2/27/2023    Comcast                                       556.32 Operating Expense
               2/27/2023    Comcast                                       556.32 Operating Expense
               2/27/2023    Comcast                                       556.35 Operating Expense
               2/27/2023    Consolidated First Tech                     1,005.02 Operating Expense
               2/27/2023    Summit Broadband                            1,557.61 Operating Expense
               2/27/2023    Wave Internet                              12,510.04 Operating Expense
               2/27/2023    Ziply Fiber                                17,277.20 Operating Expense
               2/27/2023    DirecTV                                   103,088.35 Operating Expense
               2/27/2023    Paychex                                   150,696.71 Payroll and Related
               2/28/2023    California Public Utilities Commission          0.21 Operating Expense
               2/28/2023    California Public Utilities Commission          0.23 Operating Expense
               2/28/2023    California Public Utilities Commission          0.31 Operating Expense
               2/28/2023    California Public Utilities Commission          0.33 Operating Expense
               2/28/2023    California Public Utilities Commission          1.42 Operating Expense
               2/28/2023    The Bancorp                                    57.16 Payroll and Related
               2/28/2023    Admin America                                 161.32 Payroll and Related
               2/28/2023    Authorize.Net                                 238.00 Operating Expense
               2/28/2023    Spirit Communications (Segra)               1,833.22 Operating Expense
               2/28/2023    Cigna                                      58,613.85 Payroll and Related
               3/1/2023     Authorize.Net                                  64.00 Operating Expense
               3/1/2023     Timron Enterprises                            821.27 Operating Expense
               3/1/2023     Authorize.Net                               1,286.79 Operating Expense
               3/1/2023     AT&T                                        1,644.52 Operating Expense
               3/1/2023     Authorize.Net                               5,656.63 Operating Expense
               3/2/2023     St. Claire County Revenue Commissioner          6.56 Operating Expense
               3/2/2023     City of Kennesaw                                8.24 Operating Expense
               3/2/2023     Dynamark Monitoring, Inc                       14.46 Operating Expense
               3/2/2023     Authorize.Net                                  20.00 Operating Expense


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               3/2/2023     Authorize.Net                                           46.55 Operating Expense
               3/2/2023     Baldwin County Revenue Commission                       51.48 Operating Expense
               3/2/2023     City of Bartlett                                        73.18 Operating Expense
               3/2/2023     City of Murfreesboro                                    82.00 Operating Expense
               3/2/2023     Fulton County Tax Commissioner                          94.44 Operating Expense
               3/2/2023     West Harris County Municipal Utility District #2        99.66 Operating Expense
               3/2/2023     Shelby County Alabama                                  109.92 Operating Expense
               3/2/2023     Authorize.Net                                          131.40 Operating Expense
               3/2/2023     Rutherford County Trustee                              139.00 Operating Expense
               3/2/2023     Aldine I.S.D.                                          146.92 Operating Expense
               3/2/2023     400 West Peachtree Residential                         150.00 Operating Expense
               3/2/2023     St. Lucie County Tax Collector                         178.01 Operating Expense
               3/2/2023     Clear Creek I.S.D Tax Office                           179.71 Operating Expense
               3/2/2023     Denton County Tax Assessor                             180.69 Operating Expense
               3/2/2023     Ace Satelite                                           190.00 Operating Expense
               3/2/2023     Digital Linx                                           195.00 Operating Expense
               3/2/2023     Shockoe Old Stone Row Owner                            200.00 Operating Expense
               3/2/2023     City of Clarksville                                    218.00 Operating Expense
               3/2/2023     Travis County Tax Office                               222.74 Operating Expense
               3/2/2023     Desoto County, Tax Collector                           234.39 Operating Expense
               3/2/2023     Authorize.Net                                          248.34 Operating Expense
               3/2/2023     AAA Cooper Transportation                              335.24 Operating Expense
               3/2/2023     Optum Bank                                             365.00 Operating Expense
               3/2/2023     American Broadband Services                            380.00 Operating Expense
               3/2/2023     Rockwall CAD                                           384.04 Operating Expense
               3/2/2023     York County Tax Collector                              388.61 Operating Expense
               3/2/2023     Charles W. Thomas                                      419.18 Operating Expense
               3/2/2023     Paychex                                                426.92 Payroll and Related
               3/2/2023     Sea Watch Condominiums                                 500.00 Operating Expense
               3/2/2023     Spring Branch ISD Tax Office                           517.17 Operating Expense
               3/2/2023     Michelle Terry, PCAC                                   517.64 Operating Expense
               3/2/2023     Allen Wayne Jones                                      525.00 Operating Expense
               3/2/2023     Montgomery County Trustee                              531.00 Operating Expense
               3/2/2023     Authorize.Net                                          554.00 Operating Expense
               3/2/2023     Hockley County Tax Office                              670.19 Operating Expense
               3/2/2023     Jefferson County, J.T. Smallwood                       812.41 Operating Expense
               3/2/2023     Fort Bend County Tax Assessor                          862.14 Operating Expense
               3/2/2023     Kristeen Roe Tax Assessor                              963.25 Operating Expense
               3/2/2023     Hays County Tax Assessor                             1,103.26 Operating Expense
               3/2/2023     NiTel Inc                                            1,157.75 Operating Expense
               3/2/2023     Wright Way Services                                  1,200.00 Operating Expense
               3/2/2023     Metropolitan Trustee                                 1,223.05 Operating Expense
               3/2/2023     Collin County Tax Office                             1,566.75 Operating Expense
               3/2/2023     Tax Collector, Palm Beach County                     1,568.33 Operating Expense
               3/2/2023     RM Communications                                    1,590.00 Operating Expense
               3/2/2023     Authorize.Net                                        1,794.27 Operating Expense
               3/2/2023     St. Tammany Parish                                   1,937.27 Operating Expense
               3/2/2023     Tek Group                                            2,125.00 Operating Expense
               3/2/2023     Mecklenburg County Tax Collection                    2,128.74 Operating Expense
               3/2/2023     Corporation Service Company                          2,228.00 Operating Expense


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               3/2/2023     Nashville Electric Service                    2,249.89 Operating Expense
               3/2/2023     DirecTV                                       2,284.10 Operating Expense
               3/2/2023     APX Net, Inc                                  2,300.09 Operating Expense
               3/2/2023     Paychex                                       2,362.40 Payroll and Related
               3/2/2023     Scott Randolph, Tax Collector                 2,687.11 Operating Expense
               3/2/2023     365 Operating Company                         2,705.24 Operating Expense
               3/2/2023     Dallas County Tax Office                      2,943.81 Operating Expense
               3/2/2023     Richardson ISD Tax Office                     3,182.50 Operating Expense
               3/2/2023     Collin McManus                                3,280.00 Operating Expense
               3/2/2023     Clackamas County Tax Collector                3,373.53 Operating Expense
               3/2/2023     Lumen Technologies                            3,972.00 Operating Expense
               3/2/2023     SmartCity Telecom                             4,104.28 Operating Expense
               3/2/2023     John Lee                                      4,385.00 Operating Expense
               3/2/2023     Cox Communications                            4,605.00 Operating Expense
               3/2/2023     H5 Fund VIII LLC                              4,628.43 Operating Expense
               3/2/2023     Shaheen Development                           5,182.73 Operating Expense
               3/2/2023     Alianza                                       5,685.28 Operating Expense
               3/2/2023     Miami - Dade Tax Collector                    6,082.66 Operating Expense
               3/2/2023     Wendy Burgess, Tax Assessor                   6,661.25 Operating Expense
               3/2/2023     Ronald K Rueve                                7,600.00 Operating Expense
               3/2/2023     Multicom Inc                                  7,600.40 Capital Expenditures
               3/2/2023     Nancy Millan, Tax Collector                  10,234.23 Operating Expense
               3/2/2023     Engle Dental Systems                         10,253.41 Operating Expense
               3/2/2023     Ann Harris Bennett                           12,031.24 Operating Expense
               3/2/2023     Cologix Inc                                  14,133.49 Operating Expense
               3/2/2023     Charter Communications                       16,538.72 Operating Expense
               3/2/2023     Cobb Commerce                                21,241.38 Operating Expense
               3/2/2023     TelecomResults LLC                           27,788.48 Operating Expense
               3/2/2023     Crown Castle Fiber                           32,844.91 Operating Expense
               3/2/2023     Jones Day                                    38,089.40 Professional Fees
               3/2/2023     Equinix, INC                                 48,392.86 Operating Expense
               3/2/2023     Cogent Communications                        71,700.78 Operating Expense
               3/3/2023     Authorize.Net                                    80.70 Operating Expense
               3/3/2023     Great-West Trust                             11,864.18 Payroll and Related
               3/3/2023     Bennett Thrasher                             57,750.00 Operating Expense
               3/6/2023     Spectrum                                         39.99 Operating Expense
               3/6/2023     Shred-It USA                                    126.31 Operating Expense
               3/6/2023     Northwest Natural                               308.10 Operating Expense
               3/6/2023     TRS                                             335.22 Operating Expense
               3/6/2023     Braintree                                       368.27 Operating Expense
               3/6/2023     DirecTV                                         517.34 Operating Expense
               3/6/2023     UPS                                             674.31 Operating Expense
               3/6/2023     Braintree                                       762.12 Operating Expense
               3/6/2023     Frontier                                        990.11 Operating Expense
               3/6/2023     DirecTV                                       1,155.00 Operating Expense
               3/6/2023     UPS                                           1,699.82 Operating Expense
               3/6/2023     DirecTV                                       2,310.00 Operating Expense
               3/6/2023     DirecTV                                       4,647.40 Operating Expense
               3/6/2023     Comcast                                       4,995.62 Operating Expense
               3/6/2023     DirecTV                                       9,308.58 Operating Expense


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               3/6/2023     Level3                                     41,230.52 Operating Expense
               3/7/2023     Cobb Commerce                             (21,241.38) Operating Expense
               3/7/2023     The Bancorp                                    60.00 Payroll and Related
               3/7/2023     DirecTV                                       140.82 Operating Expense
               3/7/2023     DirecTV                                     4,829.44 Operating Expense
               3/7/2023     Accu-Tech Corporation                       7,160.00 Operating Expense
               3/7/2023     MTS Advisory                               20,000.00 Professional Fees
               3/8/2023     The Bancorp                                    30.00 Payroll and Related
               3/8/2023     Portland General                               41.30 Operating Expense
               3/8/2023     Cobb Commerce                              21,241.38 Operating Expense
               3/9/2023     MarketSpark Inc.                               27.77 Operating Expense
               3/9/2023     The Bancorp                                    60.00 Payroll and Related
               3/9/2023     Georgia Tech Foundation, INC                  115.00 Operating Expense
               3/9/2023     Regions - Banking Fees                        423.33 Operating Expense
               3/9/2023     ACE Micro LLC                                 483.75 Operating Expense
               3/9/2023     NWAX                                          750.00 Operating Expense
               3/9/2023     Regions - Banking Fees                        784.72 Operating Expense
               3/9/2023     The Preserve ASA MT, LLC                    1,000.00 Operating Expense
               3/9/2023     DirecTV                                     1,233.65 Operating Expense
               3/9/2023     Healthpeak Properties, Inc.                 1,254.04 Operating Expense
               3/9/2023     FiberLight, LLC                             1,786.05 Operating Expense
               3/9/2023     Regions - Banking Fees                      2,003.38 Operating Expense
               3/9/2023     Engagedly Inc                               2,040.00 Operating Expense
               3/9/2023     Logix Communications                        2,111.99 Operating Expense
               3/9/2023     Wirestar, Inc.                              2,200.00 Operating Expense
               3/9/2023     FiberLight, LLC                             2,560.62 Operating Expense
               3/9/2023     Quext Connect                               2,583.00 Operating Expense
               3/9/2023     Flexential                                  4,769.93 Operating Expense
               3/9/2023     Helio Broadband LLC                        12,156.18 Operating Expense
               3/9/2023     Green Living Technology, LLC               72,560.00 Capital Expenditures
               3/9/2023     GigaMonster Networks Costa Rica, SRL       73,235.01 Operating Expense
               3/10/2023    Integra Telecome                              616.80 Operating Expense
               3/10/2023    Nextra                                      1,547.35 Operating Expense
               3/10/2023    DirecTV                                     1,643.95 Operating Expense
               3/10/2023    CenturyLink                                 6,005.33 Operating Expense
               3/13/2023    Cobb Commerce                             (21,241.38) Operating Expense
               3/13/2023    Spectrum                                       48.94 Operating Expense
               3/13/2023    Authorize.Net                                  49.00 Operating Expense
               3/13/2023    Portland General                               74.80 Operating Expense
               3/13/2023    Spectrum                                       79.98 Operating Expense
               3/13/2023    DirecTV                                       170.10 Operating Expense
               3/13/2023    DirecTV                                       197.61 Operating Expense
               3/13/2023    DirecTV                                       272.16 Operating Expense
               3/13/2023    DirecTV                                       278.57 Operating Expense
               3/13/2023    Comcast                                       301.63 Operating Expense
               3/13/2023    DirecTV                                       306.18 Operating Expense
               3/13/2023    Spectrum                                      328.87 Operating Expense
               3/13/2023    DirecTV                                       350.07 Operating Expense
               3/13/2023    DirecTV                                       385.88 Operating Expense
               3/13/2023    DirecTV                                       395.22 Operating Expense


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               3/13/2023    DirecTV                                        437.75 Operating Expense
               3/13/2023    DirecTV                                        526.05 Operating Expense
               3/13/2023    Comcast                                        556.27 Operating Expense
               3/13/2023    Comcast                                        556.35 Operating Expense
               3/13/2023    DirecTV                                        560.91 Operating Expense
               3/13/2023    Comcast                                        576.58 Operating Expense
               3/13/2023    DirecTV                                        646.38 Operating Expense
               3/13/2023    DirecTV                                        700.14 Operating Expense
               3/13/2023    DirecTV                                        760.41 Operating Expense
               3/13/2023    DirecTV                                        792.12 Operating Expense
               3/13/2023    DirecTV                                        876.33 Operating Expense
               3/13/2023    DirecTV                                        955.08 Operating Expense
               3/13/2023    DirecTV                                        963.27 Operating Expense
               3/13/2023    DirecTV                                      1,074.47 Operating Expense
               3/13/2023    DirecTV                                      1,081.50 Operating Expense
               3/13/2023    DirecTV                                      1,110.48 Operating Expense
               3/13/2023    DirecTV                                      1,114.26 Operating Expense
               3/13/2023    DirecTV                                      1,255.38 Operating Expense
               3/13/2023    Comcast                                      1,284.77 Operating Expense
               3/13/2023    DirecTV                                      1,299.27 Operating Expense
               3/13/2023    DirecTV                                      1,319.64 Operating Expense
               3/13/2023    DirecTV                                      1,394.82 Operating Expense
               3/13/2023    DirecTV                                      1,432.62 Operating Expense
               3/13/2023    Frontier                                     1,703.33 Operating Expense
               3/13/2023    Frontier                                     1,727.82 Operating Expense
               3/13/2023    DirecTV                                      1,790.78 Operating Expense
               3/13/2023    DirecTV                                      1,880.34 Operating Expense
               3/13/2023    DirecTV                                      1,899.24 Operating Expense
               3/13/2023    DirecTV                                      2,160.69 Operating Expense
               3/13/2023    DirecTV                                      3,166.80 Operating Expense
               3/13/2023    Canon Financial Services                     3,606.87 Operating Expense
               3/13/2023    DirecTV                                      4,725.63 Operating Expense
               3/13/2023    DirecTV                                      6,104.28 Operating Expense
               3/13/2023    DirecTV                                      6,794.20 Operating Expense
               3/13/2023    Ziply Fiber                                 15,465.00 Operating Expense
               3/13/2023    Comcast                                     41,832.10 Operating Expense
               3/14/2023    MC Partners                             (7,050,254.00) DIP Payoff
               3/14/2023    Authorize.Net                                  108.00 Operating Expense
               3/14/2023    The Bancorp                                    153.56 Payroll and Related
               3/14/2023    Cobb Commerce                                  746.26 Operating Expense
               3/14/2023    The Bancorp                                    900.00 Payroll and Related
               3/14/2023    Field Nation LLC -AR                         8,000.00 Operating Expense
               3/14/2023    Jones Day                                   16,500.00 Professional Fees
               3/14/2023    Cobb Commerce                               21,241.38 Operating Expense
               3/14/2023    Choate, Hall & Stewart LLP                  24,817.71 Professional Fees
               3/14/2023    Rubin Brown                                 58,000.00 Professional Fees
               3/14/2023    Richards, Layton & Finger                   62,416.19 Professional Fees
               3/14/2023    Paychex                                    147,224.97 Payroll and Related
               3/14/2023    MC Partners                              7,050,279.00 DIP Payoff
               3/15/2023    USF Payment                                  3,434.01 Operating Expense


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               3/15/2023    Paychex                                   70,648.40 Payroll and Related
               3/15/2023    AT&T                                     141,160.94 Operating Expense
               3/15/2023    MC Partners                            7,050,279.00 DIP Payoff
               3/16/2023    Carson City Treasurer                         20.79 Operating Expense
               3/16/2023    New York State Filing Fee                     25.00 Operating Expense
               3/16/2023    Portland General                              46.01 Operating Expense
               3/16/2023    Oregon State Treasury                        150.00 Operating Expense
               3/16/2023    Oregon State Treasury                        150.00 Operating Expense
               3/16/2023    Oregon State Treasury                        150.00 Operating Expense
               3/16/2023    Alabama Department of Revenue                200.00 Operating Expense
               3/16/2023    Vermont Department of Taxes                  250.00 Operating Expense
               3/16/2023    Digital Linx                                 270.00 Operating Expense
               3/16/2023    Optum Bank                                   365.00 Operating Expense
               3/16/2023    Underground Service Alert                    379.76 Operating Expense
               3/16/2023    Alabama Department of Revenue                400.00 Operating Expense
               3/16/2023    Paychex                                      426.92 Payroll and Related
               3/16/2023    Ace Satelite                                 710.00 Operating Expense
               3/16/2023    Verizon Connect Fleet USA LLC              1,070.60 Operating Expense
               3/16/2023    New Day Network Solutions                  1,100.00 Operating Expense
               3/16/2023    American Broadband Services                1,330.00 Operating Expense
               3/16/2023    PGE                                        1,369.35 Capital Expenditures
               3/16/2023    Shentel                                    1,593.00 Operating Expense
               3/16/2023    Allen Wayne Jones                          1,965.00 Operating Expense
               3/16/2023    US Signal                                  2,021.08 Operating Expense
               3/16/2023    Alabaster Consulting                       2,074.15 Operating Expense
               3/16/2023    Paychex                                    2,294.20 Payroll and Related
               3/16/2023    Data Foundry Inc                           3,150.00 Operating Expense
               3/16/2023    RM Communications                          3,210.00 Operating Expense
               3/16/2023    Collin McManus                             3,390.00 Operating Expense
               3/16/2023    SmartCity Telecom                          4,104.28 Operating Expense
               3/16/2023    Tek Group                                  4,630.00 Operating Expense
               3/16/2023    Helio Broadband LLC                        5,111.90 Operating Expense
               3/16/2023    Broadband Enterprise LLC                   5,269.00 Operating Expense
               3/16/2023    Metlife                                    6,133.87 Payroll and Related
               3/16/2023    Ronald K Rueve                             6,500.00 Operating Expense
               3/16/2023    Broadriver Communications                 15,319.58 Operating Expense
               3/16/2023    DirecTV                                   56,815.13 Operating Expense
               3/16/2023    Regions Credit Card                       63,643.07 Operating Expense
               3/17/2023    Cobb Commerce                            (21,987.64) Operating Expense
               3/17/2023    Portland General                              25.38 Operating Expense
               3/17/2023    Portland General                              28.03 Operating Expense
               3/17/2023    Portland General                              43.52 Operating Expense
               3/17/2023    The Bancorp                                   46.12 Payroll and Related
               3/17/2023    Paychex                                      371.25 Payroll and Related
               3/17/2023    CenturyLink                                  721.45 Operating Expense
               3/17/2023    CenturyLink                                1,050.00 Operating Expense
               3/17/2023    CenturyLink                                1,050.00 Operating Expense
               3/17/2023    CenturyLink                                1,146.25 Operating Expense
               3/17/2023    CenturyLink                                1,155.00 Operating Expense
               3/17/2023    CenturyLink                                1,176.00 Operating Expense


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               3/17/2023    CenturyLink                                1,176.00 Operating Expense
               3/17/2023    CenturyLink                                1,186.50 Operating Expense
               3/17/2023    CenturyLink                                1,207.50 Operating Expense
               3/17/2023    CenturyLink                                1,229.47 Operating Expense
               3/17/2023    CenturyLink                                1,289.00 Operating Expense
               3/17/2023    Great-West Trust                          10,907.25 Payroll and Related
               3/20/2023    Portland General                              31.49 Operating Expense
               3/20/2023    Portland General                              36.11 Operating Expense
               3/20/2023    Portland General                              42.60 Operating Expense
               3/20/2023    Portland General                              53.27 Operating Expense
               3/20/2023    Spectrum                                      58.05 Operating Expense
               3/20/2023    Paychex                                       60.00 Payroll and Related
               3/20/2023    Frontier                                      62.35 Operating Expense
               3/20/2023    Spectrum                                      79.98 Operating Expense
               3/20/2023    Spectrum                                     119.97 Operating Expense
               3/20/2023    Rise Broadbrand                              151.94 Operating Expense
               3/20/2023    UPS                                          192.75 Operating Expense
               3/20/2023    Pitney Bowes                                 250.00 Operating Expense
               3/20/2023    UPS                                          390.96 Operating Expense
               3/20/2023    Paychex                                      400.00 Payroll and Related
               3/20/2023    Comcast                                      556.27 Operating Expense
               3/20/2023    Comcast                                      556.32 Operating Expense
               3/20/2023    Comcast                                      576.58 Operating Expense
               3/20/2023    Consolidated First Tech                      656.79 Operating Expense
               3/20/2023    Cobb Commerce                                746.26 Operating Expense
               3/20/2023    Frontier                                   1,005.20 Operating Expense
               3/20/2023    Nextra                                     1,560.29 Operating Expense
               3/20/2023    Spirit Communications (Segra)              1,888.19 Operating Expense
               3/20/2023    Ademco                                     7,942.81 Capital Expenditures
               3/20/2023    Maxio                                     10,500.00 Operating Expense
               3/20/2023    Cobb Commerce                             21,241.38 Operating Expense
               3/21/2023    Helio Broadband LLC                      (12,156.18) Operating Expense
               3/21/2023    Webfile Tax Payment                           51.00 Operating Expense
               3/21/2023    The Bancorp                                   70.00 Payroll and Related
               3/21/2023    South Carolina Department of Revenue         179.43 Operating Expense
               3/21/2023    Authorize.Net                                230.56 Operating Expense
               3/21/2023    Portland General                             354.77 Operating Expense
               3/21/2023    NYS DTF SALES                                605.08 Operating Expense
               3/21/2023    Webfile Tax Payment                        1,462.34 Operating Expense
               3/21/2023    Summit Broadband                           1,546.64 Operating Expense
               3/21/2023    Georgia ITS Tax                            1,895.98 Operating Expense
               3/21/2023    Cigna                                     48,411.41 Payroll and Related
               3/22/2023    Comp of Maryland                               3.00 Operating Expense
               3/22/2023    Ohio Taxes                                     4.20 Operating Expense
               3/22/2023    Colorado Department of Revenue                 5.96 Operating Expense
               3/22/2023    New Jersey - Tax Payment                      15.90 Operating Expense
               3/22/2023    New Jersey - Tax Payment                      15.90 Operating Expense
               3/22/2023    Portland General                              28.48 Operating Expense
               3/22/2023    Portland General                              28.48 Operating Expense
               3/22/2023    Portland General                              28.48 Operating Expense


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               Date                          Vendor Name            Amount             Category
               3/22/2023    Tennessee State Department of Revenue        82.00 Operating Expense
               3/22/2023    Marietta Power                              215.95 Operating Expense
               3/22/2023    Marietta Power                              283.60 Operating Expense
               3/22/2023    Comp of Maryland                            300.00 Operating Expense
               3/22/2023    California Department of Taxes              325.10 Operating Expense
               3/22/2023    Marietta Power                              439.53 Operating Expense
               3/22/2023    Marietta Power                              659.79 Operating Expense
               3/22/2023    State of California                       3,000.00 Operating Expense
               3/22/2023    AT&T                                      5,914.73 Operating Expense
               3/22/2023    State of California                       6,000.00 Operating Expense
               3/23/2023    Ohio Taxes                                    2.00 Operating Expense
               3/23/2023    City of Bartlett                              4.67 Operating Expense
               3/23/2023    Twin City Voip Inc                           10.00 Operating Expense
               3/23/2023    Richards, Layton & Finger                    45.00 Professional Fees
               3/23/2023    Spring Branch ISD Tax Office                 45.82 Operating Expense
               3/23/2023    American Assets Trust                        57.00 Capital Expenditures
               3/23/2023    American Assets Trust                        59.00 Capital Expenditures
               3/23/2023    Portland General                             70.27 Operating Expense
               3/23/2023    Public Utility Commission                   100.00 Operating Expense
               3/23/2023    Pierce County Finance                       104.36 Operating Expense
               3/23/2023    Berkshire Income Realty OP, LP              107.50 Operating Expense
               3/23/2023    D Street Village                            116.00 Operating Expense
               3/23/2023    American Assets Trust                       136.75 Operating Expense
               3/23/2023    Washington County Treasurers                143.00 Operating Expense
               3/23/2023    Delmarva Power                              147.41 Operating Expense
               3/23/2023    400 West Peachtree Residential              150.00 Operating Expense
               3/23/2023    City of Hagerstown                          153.58 Operating Expense
               3/23/2023    Shockoe Old Stone Row Owner                 200.00 Operating Expense
               3/23/2023    St. Marys County Maryland                   201.24 Operating Expense
               3/23/2023    Comp of Maryland                            208.48 Operating Expense
               3/23/2023    American Disposal Services                  217.67 Operating Expense
               3/23/2023    Midwest Internet Cooperative Exchange       250.00 Operating Expense
               3/23/2023    Ken and Peg Lamar                           321.85 Operating Expense
               3/23/2023    New Day Network Solutions                   325.00 Operating Expense
               3/23/2023    City of Chelsea                             384.89 Operating Expense
               3/23/2023    TrustPort LLC                               485.00 Operating Expense
               3/23/2023    Pitney Bowes                                500.00 Operating Expense
               3/23/2023    T-Mobile                                    553.72 Operating Expense
               3/23/2023    SAIA Motor Freight Line, LLC                608.47 Capital Expenditures
               3/23/2023    Allen Wayne Jones                           750.00 Operating Expense
               3/23/2023    Universal Media Group                       756.00 Operating Expense
               3/23/2023    American Broadband Services                 850.00 Operating Expense
               3/23/2023    WG Apartments                               939.95 Operating Expense
               3/23/2023    City of Sherwood                          1,155.00 Operating Expense
               3/23/2023    King County Treasury                      1,264.53 Operating Expense
               3/23/2023    Town Of Ocean City, MD                    1,290.37 Operating Expense
               3/23/2023    Tek Group                                 1,300.00 Operating Expense
               3/23/2023    RM Communications                         1,540.00 Operating Expense
               3/23/2023    Nevada Communications                     1,665.00 Operating Expense
               3/23/2023    Uniti Fiber                               1,913.95 Operating Expense


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               3/23/2023    Universal Media Group                     2,221.84 Operating Expense
               3/23/2023    Nashville Electric Service                2,249.89 Operating Expense
               3/23/2023    Worcester County                          2,391.13 Operating Expense
               3/23/2023    Washoe County Treasurer                   2,505.01 Operating Expense
               3/23/2023    City and County of Denver                 2,704.16 Operating Expense
               3/23/2023    City of Baltimore                         2,848.22 Operating Expense
               3/23/2023    Concur Technologies, Inc.                 3,215.62 Operating Expense
               3/23/2023    Utilities Protection Center               3,410.91 Operating Expense
               3/23/2023    Howard County Maryland                    3,454.50 Operating Expense
               3/23/2023    Alabaster Consulting                      3,598.33 Operating Expense
               3/23/2023    Cox Communications                        4,605.00 Operating Expense
               3/23/2023    Shaheen Development                       5,189.59 Operating Expense
               3/23/2023    John Lee                                  6,060.00 Operating Expense
               3/23/2023    Above and Beyond Data                     9,996.00 Capital Expenditures
               3/23/2023    Helio Broadband LLC                      12,156.18 Operating Expense
               3/23/2023    Crown Castle Fiber                       32,500.00 Operating Expense
               3/23/2023    Equinix, INC                             47,500.00 Operating Expense
               3/23/2023    CRP Republic Collins                     48,000.00 Capital Expenditures
               3/23/2023    Salesforce                               48,619.52 Operating Expense
               3/23/2023    Binion Road Multifamily                  50,000.00 Capital Expenditures
               3/23/2023    DirecTV                                  60,836.61 Operating Expense
               3/23/2023    Cogent Communications                    71,157.94 Operating Expense
               3/23/2023    Salesforce                               80,470.95 Operating Expense
               3/24/2023    UPS                                         260.74 Operating Expense
               3/24/2023    PGANDE                                      313.31 Operating Expense
               3/24/2023    UPS                                         499.39 Operating Expense
               3/24/2023    Northwest Natural                           642.94 Operating Expense
               3/24/2023    Vexus Fiber                               1,008.03 Operating Expense
               3/24/2023    Frontier                                  2,085.89 Operating Expense
               3/24/2023    Equinix, INC                             48,392.86 Operating Expense
               3/27/2023    The Bancorp                                  15.00 Payroll and Related
               3/27/2023    Georgia Natural Gas                         178.74 Operating Expense
               3/27/2023    Summit Broadband                          1,546.64 Operating Expense
               3/27/2023    Wave Internet                            12,511.04 Operating Expense
               3/28/2023    The Bancorp                                  35.16 Payroll and Related
               3/28/2023    Pitney Bowes                                500.00 Operating Expense
               3/28/2023    Paychex                                 246,538.06 Payroll and Related
               3/29/2023    Florida Department of Revenue                47.11 Operating Expense
               3/29/2023    Florida Department of Revenue                47.11 Operating Expense
               3/29/2023    Florida Department of Revenue                47.11 Operating Expense
               3/29/2023    Florida Department of Revenue                47.11 Operating Expense
               3/29/2023    Florida Department of Revenue                50.00 Operating Expense
               3/29/2023    Florida Department of Revenue                50.00 Operating Expense
               3/29/2023    Alabama Department of Revenue                50.00 Operating Expense
               3/29/2023    Alabama Department of Revenue                50.00 Operating Expense
               3/29/2023    Alabama Department of Revenue                50.54 Operating Expense
               3/29/2023    Alabama Department of Revenue                50.54 Operating Expense
               3/29/2023    Florida Department of Revenue                60.63 Operating Expense
               3/29/2023    Minnesota Department of Revenue             100.16 Operating Expense
               3/29/2023    Minnesota Department of Revenue             100.70 Operating Expense


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               3/29/2023    Minnesota Department of Revenue                  101.08 Operating Expense
               3/29/2023    Minnesota Department of Revenue                  101.32 Operating Expense
               3/29/2023    So Cal Edison                                    123.60 Operating Expense
               3/29/2023    Florida Department of Revenue                    186.77 Operating Expense
               3/30/2023    Ace Satelite                                     150.00 Operating Expense
               3/30/2023    ACE Micro LLC                                    205.00 Operating Expense
               3/30/2023    Paychex                                          426.92 Payroll and Related
               3/30/2023    American Broadband Services                      545.00 Operating Expense
               3/30/2023    New Day Network Solutions                        550.00 Operating Expense
               3/30/2023    Eclipse Master Condo                             600.00 Operating Expense
               3/30/2023    Alianza                                          860.06 Operating Expense
               3/30/2023    Allen Wayne Jones                                900.00 Operating Expense
               3/30/2023    NiTel Inc                                      1,095.91 Operating Expense
               3/30/2023    RM Communications                              1,190.00 Operating Expense
               3/30/2023    Tek Group                                      1,570.00 Operating Expense
               3/30/2023    Tek Group                                      1,570.00 Operating Expense
               3/30/2023    Marsh USA                                      1,591.00 Operating Expense
               3/30/2023    Wirestar, Inc.                                 2,243.65 Operating Expense
               3/30/2023    Paychex                                        2,266.60 Payroll and Related
               3/30/2023    APX Net, Inc                                   2,631.02 Operating Expense
               3/30/2023    365 Operating Company                          2,705.24 Operating Expense
               3/30/2023    BCM One                                        2,720.31 Operating Expense
               3/30/2023    Tierpoint                                      2,813.62 Operating Expense
               3/30/2023    Verizon                                        2,857.54 Operating Expense
               3/30/2023    Collin McManus                                 2,920.00 Operating Expense
               3/30/2023    Telx, LLC                                      3,336.71 Operating Expense
               3/30/2023    H5 Fund VIII LLC                               4,559.00 Operating Expense
               3/30/2023    John Lee                                       5,155.00 Operating Expense
               3/30/2023    Enterprise                                     5,312.99 Operating Expense
               3/30/2023    Alianza                                        5,866.28 Operating Expense
               3/30/2023    CoreSite L.P.                                  6,292.65 Operating Expense
               3/30/2023    CoreSite L.P.                                  7,263.24 Operating Expense
               3/30/2023    Genesys Cloud Services                         8,035.86 Operating Expense
               3/30/2023    CallTEk Inc                                    8,446.92 Operating Expense
               3/30/2023    Ronald K Rueve                                 8,875.00 Operating Expense
               3/30/2023    Cologix Inc                                    9,414.96 Operating Expense
               3/30/2023    Engle Dental Systems                         10,334.00 Operating Expense
               3/30/2023    Time Warner Cable                            11,659.00 Operating Expense
               3/30/2023    FiberLight, LLC                              15,790.95 Operating Expense
               3/30/2023    Charter Communications                       16,504.72 Operating Expense
               3/30/2023    Marsh USA                                    17,832.07 Operating Expense
               3/30/2023    Cobb Commerce                                21,241.38 Operating Expense
               3/30/2023    TelecomResults LLC                           21,286.47 Operating Expense
               3/30/2023    Telx, LLC                                    25,395.08 Operating Expense
               3/30/2023    Time Warner Cable                            33,138.68 Operating Expense
               3/30/2023    Crown Castle Fiber                           36,479.05 Operating Expense
               3/31/2023    Tek Group                                     (1,570.00) Operating Expense
               3/31/2023    California Public Utilities Commission             0.21 Operating Expense
               3/31/2023    California Public Utilities Commission             0.23 Operating Expense
               3/31/2023    California Public Utilities Commission             0.31 Operating Expense


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               3/31/2023    California Public Utilities Commission           0.33 Operating Expense
               3/31/2023    California Public Utilities Commission           1.42 Operating Expense
               3/31/2023    So Cal Edison                                   49.18 Operating Expense
               3/31/2023    Frontier                                        92.71 Operating Expense
               3/31/2023    UPS                                            164.12 Operating Expense
               3/31/2023    Clifton Larson Allen                           262.50 Operating Expense
               3/31/2023    Cox Communications                             264.28 Operating Expense
               3/31/2023    Optum Bank                                     365.00 Operating Expense
               3/31/2023    UPS                                          1,212.96 Operating Expense
               3/31/2023    CenturyLink                                  1,574.38 Operating Expense
               3/31/2023    Frontier                                     2,040.00 Operating Expense
               3/31/2023    CenturyLink                                  2,982.31 Operating Expense
               3/31/2023    Frontier                                     3,226.56 Operating Expense
               3/31/2023    Level3                                       4,338.21 Operating Expense
               3/31/2023    Comcast                                      4,850.35 Operating Expense
               3/31/2023    Great-West Trust                            23,685.56 Payroll and Related
               3/31/2023    Level3                                      42,559.73 Operating Expense
               3/31/2023    GigaMonster Networks Costa Rica, SRL       150,277.67 Operating Expense
               4/3/2023     Regions Credit Card                              8.03 Operating Expense
               4/3/2023     Regions Credit Card                             46.51 Operating Expense
               4/3/2023     The Bancorp                                     77.49 Payroll and Related
               4/3/2023     Comcast                                        215.14 Operating Expense
               4/3/2023     Authorize.Net                                  257.53 Operating Expense
               4/3/2023     Sea Watch Condominiums                         500.00 Operating Expense
               4/3/2023     Comcast                                        556.32 Operating Expense
               4/3/2023     Pitney Bowes                                   750.00 Operating Expense
               4/3/2023     Consolidated First Tech                        805.38 Operating Expense
               4/3/2023     Authorize.Net                                1,522.36 Operating Expense
               4/3/2023     Timron Enterprises                           1,591.22 Operating Expense
               4/3/2023     AT&T                                         1,644.52 Operating Expense
               4/3/2023     DirecTV                                      2,244.90 Operating Expense
               4/3/2023     Authorize.Net                                2,555.03 Operating Expense
               4/3/2023     Authorize.Net                                7,176.44 Operating Expense
               4/3/2023     Zayo Group, LLC                            295,983.60 Operating Expense
               4/4/2023     Authorize.Net                                   20.00 Operating Expense
               4/4/2023     Authorize.Net                                   55.71 Operating Expense
               4/4/2023     Authorize.Net                                  127.20 Operating Expense
               4/4/2023     The Bancorp                                    166.00 Payroll and Related
               4/4/2023     TRS                                            335.22 Operating Expense
               4/4/2023     The Bancorp                                    458.00 Payroll and Related
               4/4/2023     Authorize.Net                                  590.60 Operating Expense
               4/4/2023     DirecTV                                      2,276.40 Operating Expense
               4/5/2023     Portland General                                41.29 Operating Expense
               4/5/2023     DirecTV                                      1,138.20 Operating Expense
               4/5/2023     DirecTV                                      4,567.54 Operating Expense
               4/5/2023     DirecTV                                      9,210.58 Operating Expense
               4/6/2023     St. Lucie County Tax Collector                   5.51 Operating Expense
               4/6/2023     Greenwood County Tax Collector                   7.61 Operating Expense
               4/6/2023     Dynamark Monitoring, Inc                        14.46 Operating Expense
               4/6/2023     The Bancorp                                     15.00 Payroll and Related


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               4/6/2023     Georgia Tech Foundation, INC                20.99 Operating Expense
               4/6/2023     MarketSpark Inc.                            27.77 Operating Expense
               4/6/2023     Michelle Terry, PCAC                        47.51 Operating Expense
               4/6/2023     Hockley County Tax Office                   60.30 Operating Expense
               4/6/2023     Kristeen Roe Tax Assessor                   86.71 Operating Expense
               4/6/2023     Collin County Tax Office                   141.00 Operating Expense
               4/6/2023     400 West Peachtree Residential             150.00 Operating Expense
               4/6/2023     Kentucky Department of Revenue             175.00 Operating Expense
               4/6/2023     Kentucky Department of Revenue             175.00 Operating Expense
               4/6/2023     Kentucky Department of Revenue             175.00 Operating Expense
               4/6/2023     Braintree                                  372.36 Operating Expense
               4/6/2023     Digital Linx                               410.00 Operating Expense
               4/6/2023     SAIA Motor Freight Line, LLC               497.90 Capital Expenditures
               4/6/2023     DirecTV                                    517.34 Operating Expense
               4/6/2023     Allen Wayne Jones                          675.00 Operating Expense
               4/6/2023     Braintree                                  717.70 Operating Expense
               4/6/2023     NWAX                                       750.00 Operating Expense
               4/6/2023     Franchise Tax Board                        800.00 Operating Expense
               4/6/2023     Franchise Tax Board                        800.00 Operating Expense
               4/6/2023     Franchise Tax Board                        800.00 Operating Expense
               4/6/2023     Franchise Tax Board                        800.00 Operating Expense
               4/6/2023     Franchise Tax Board                        800.00 Operating Expense
               4/6/2023     Franchise Tax Board                        800.00 Operating Expense
               4/6/2023     The Preserve ASA MT, LLC                 1,000.00 Operating Expense
               4/6/2023     Verizon Connect Fleet USA LLC            1,070.60 Operating Expense
               4/6/2023     Wright Way Services                      1,200.00 Operating Expense
               4/6/2023     Tek Group                                1,290.00 Operating Expense
               4/6/2023     RM Communications                        1,302.50 Operating Expense
               4/6/2023     Guignard Company                         1,400.00 Operating Expense
               4/6/2023     FiberLight, LLC                          1,786.05 Operating Expense
               4/6/2023     Logix Communications                     2,121.20 Operating Expense
               4/6/2023     Tennessee Department of Revenue          2,223.00 Operating Expense
               4/6/2023     Tennessee Department of Revenue          2,223.00 Operating Expense
               4/6/2023     Alabaster Consulting                     2,998.50 Operating Expense
               4/6/2023     Western Data LLC                         4,575.00 Operating Expense
               4/6/2023     Flexential                               4,769.93 Operating Expense
               4/6/2023     Genesys Cloud Services                   8,110.36 Operating Expense
               4/6/2023     MTS Advisory                            20,000.00 Professional Fees
               4/7/2023     DirecTV                                    140.82 Operating Expense
               4/7/2023     DirecTV                                  4,798.50 Operating Expense
               4/10/2023    Regions - Banking Fees                     422.59 Operating Expense
               4/10/2023    Regions - Banking Fees                     850.36 Operating Expense
               4/10/2023    DirecTV                                  1,233.65 Operating Expense
               4/10/2023    DirecTV                                  1,599.15 Operating Expense
               4/10/2023    Frontier                                 1,645.79 Operating Expense
               4/10/2023    Regions - Banking Fees                   1,687.25 Operating Expense
               4/11/2023    Portland General                            75.52 Operating Expense
               4/11/2023    Authorize.Net                              119.00 Operating Expense
               4/11/2023    Field Nation LLC -AR                     4,000.00 Operating Expense
               4/11/2023    DirecTV                                  6,054.30 Operating Expense


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               4/11/2023    Paychex                                 152,351.67 Payroll and Related
               4/12/2023    The Bancorp                                 167.96 Payroll and Related
               4/12/2023    DirecTV                                     170.10 Operating Expense
               4/12/2023    Marietta Power                              185.49 Operating Expense
               4/12/2023    DirecTV                                     193.20 Operating Expense
               4/12/2023    Marietta Power                              258.20 Operating Expense
               4/12/2023    DirecTV                                     272.16 Operating Expense
               4/12/2023    DirecTV                                     278.57 Operating Expense
               4/12/2023    Comcast                                     301.63 Operating Expense
               4/12/2023    DirecTV                                     306.18 Operating Expense
               4/12/2023    DirecTV                                     341.25 Operating Expense
               4/12/2023    DirecTV                                     382.73 Operating Expense
               4/12/2023    DirecTV                                     386.40 Operating Expense
               4/12/2023    DirecTV                                     437.75 Operating Expense
               4/12/2023    DirecTV                                     510.30 Operating Expense
               4/12/2023    DirecTV                                     543.90 Operating Expense
               4/12/2023    DirecTV                                     646.38 Operating Expense
               4/12/2023    DirecTV                                     682.50 Operating Expense
               4/12/2023    DirecTV                                     740.25 Operating Expense
               4/12/2023    Marietta Power                              742.16 Operating Expense
               4/12/2023    DirecTV                                     773.85 Operating Expense
               4/12/2023    DirecTV                                     853.65 Operating Expense
               4/12/2023    DirecTV                                     938.70 Operating Expense
               4/12/2023    DirecTV                                     955.08 Operating Expense
               4/12/2023    DirecTV                                   1,053.15 Operating Expense
               4/12/2023    DirecTV                                   1,074.47 Operating Expense
               4/12/2023    DirecTV                                   1,081.50 Operating Expense
               4/12/2023    DirecTV                                   1,114.26 Operating Expense
               4/12/2023    DirecTV                                   1,223.25 Operating Expense
               4/12/2023    DirecTV                                   1,268.40 Operating Expense
               4/12/2023    DirecTV                                   1,289.40 Operating Expense
               4/12/2023    DirecTV                                   1,394.82 Operating Expense
               4/12/2023    DirecTV                                   1,432.62 Operating Expense
               4/12/2023    DirecTV                                   1,790.78 Operating Expense
               4/12/2023    DirecTV                                   1,837.50 Operating Expense
               4/12/2023    DirecTV                                   1,850.10 Operating Expense
               4/12/2023    DirecTV                                   2,105.25 Operating Expense
               4/12/2023    DirecTV                                   3,094.35 Operating Expense
               4/12/2023    Canon Financial Services                  3,606.87 Operating Expense
               4/12/2023    DirecTV                                   4,684.05 Operating Expense
               4/12/2023    DirecTV                                   6,601.00 Operating Expense
               4/13/2023    Tierpoint                                    23.55 Operating Expense
               4/13/2023    The Bancorp                                  41.93 Payroll and Related
               4/13/2023    Aldine I.S.D.                               174.10 Operating Expense
               4/13/2023    Ace Satelite                                270.00 Operating Expense
               4/13/2023    Employee Travel/Reimbursement               486.31 Operating Expense
               4/13/2023    American Broadband Services                 755.00 Operating Expense
               4/13/2023    Allen Wayne Jones                           840.00 Operating Expense
               4/13/2023    Paychex                                     998.78 Payroll and Related
               4/13/2023    Tek Group                                 1,140.00 Operating Expense


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               4/13/2023    Tax Collector, Palm Beach County             1,615.19 Operating Expense
               4/13/2023    Paychex                                      1,978.00 Payroll and Related
               4/13/2023    St. Tammany Parish                           2,014.77 Operating Expense
               4/13/2023    FiberLight, LLC                              2,560.63 Operating Expense
               4/13/2023    Collin McManus                               3,000.00 Operating Expense
               4/13/2023    John Lee                                     5,675.00 Operating Expense
               4/13/2023    TelecomResults LLC                          22,461.72 Operating Expense
               4/13/2023    DirecTV                                     56,868.10 Operating Expense
               4/14/2023    Portland General                                42.41 Operating Expense
               4/14/2023    Optum Bank                                     240.00 Operating Expense
               4/14/2023    RM Communications                            1,550.00 Operating Expense
               4/14/2023    Ryan, LLC                                   10,000.00 Operating Expense
               4/17/2023    Portland General                                55.91 Operating Expense
               4/17/2023    Portland General                                56.86 Operating Expense
               4/17/2023    Portland General                                60.48 Operating Expense
               4/17/2023    Comcast                                        446.63 Operating Expense
               4/17/2023    Comcast                                        513.07 Operating Expense
               4/17/2023    UPS                                          1,258.69 Operating Expense
               4/17/2023    ACE Micro LLC                                1,458.31 Operating Expense
               4/17/2023    Shentel                                      1,593.00 Operating Expense
               4/17/2023    USF Payment                                  3,434.01 Operating Expense
               4/17/2023    UPS                                          3,636.90 Operating Expense
               4/17/2023    AT&T                                         5,954.81 Operating Expense
               4/17/2023    Great-West Trust                            10,639.23 Payroll and Related
               4/17/2023    Kroll                                       50,000.00 Escrow Payment
               4/17/2023    AT&T                                       141,630.86 Operating Expense
               4/17/2023    Novo Advisors                              454,242.83 Escrow Payment
               4/18/2023    Portland General                                14.61 Operating Expense
               4/18/2023    Authorize.Net                                   39.00 Operating Expense
               4/18/2023    Portland General                                51.94 Operating Expense
               4/18/2023    Portland General                                53.83 Operating Expense
               4/18/2023    Portland General                                70.88 Operating Expense
               4/18/2023    Portland General                                90.93 Operating Expense
               4/18/2023    Baltic Networks                              1,035.00 Capital Expenditures
               4/18/2023    Regions Credit Card                         69,838.41 Operating Expense
               4/19/2023    Portland General                               340.39 Operating Expense
               4/20/2023    MFREVF-Biltmore, LLC-5140                        1.26 Operating Expense
               4/20/2023    10th & Davis VQOF, LLC                           2.63 Operating Expense
               4/20/2023    St Paul LHA X                                    2.98 Operating Expense
               4/20/2023    Mill Creek Residential                           3.31 Operating Expense
               4/20/2023    The Preserve ASA MT, LLC                         3.69 Operating Expense
               4/20/2023    Skyhouse - Buckhead                              6.71 Operating Expense
               4/20/2023    Arris Market Square                              7.23 Operating Expense
               4/20/2023    Twin City Voip Inc                              10.00 Operating Expense
               4/20/2023    Blaine LHA III, LLLP                            12.67 Operating Expense
               4/20/2023    Trea Sycamore Lane LLC                          14.47 Operating Expense
               4/20/2023    Minneapolis Leased Housing                      14.53 Operating Expense
               4/20/2023    HM Southmore, LLC                               17.01 Operating Expense
               4/20/2023    The Reserve at Collegiate Acre                  22.83 Operating Expense
               4/20/2023    Portland General                                27.83 Operating Expense


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               4/20/2023    Portland General                             27.83 Operating Expense
               4/20/2023    Portland General                             27.83 Operating Expense
               4/20/2023    Woodbury Leased Housing                      29.22 Operating Expense
               4/20/2023    Cottage Grove LHA                            29.78 Operating Expense
               4/20/2023    Spring Lake Park LHA                         31.35 Operating Expense
               4/20/2023    SkyHouse - Dallas                            35.61 Operating Expense
               4/20/2023    Disregarded Entity CG Finings                39.53 Operating Expense
               4/20/2023    Sellwood Bridge Apartments LLC               43.80 Operating Expense
               4/20/2023    Arbors at Cahaba River, LLC                  45.25 Operating Expense
               4/20/2023    American Assets Trust                        46.75 Capital Expenditures
               4/20/2023    St Cloud LHA III, LLLP                       54.96 Operating Expense
               4/20/2023    SkyHouse Midtown Apartments - 22             55.02 Operating Expense
               4/20/2023    Wellington Grande, LLC                       56.85 Operating Expense
               4/20/2023    American Assets Trust                        66.25 Capital Expenditures
               4/20/2023    Crimson                                      67.39 Operating Expense
               4/20/2023    Kromer Investments                           71.65 Operating Expense
               4/20/2023    Minneapolis Leased Housing                   71.95 Operating Expense
               4/20/2023    Glisan Apartments LLC                        82.36 Operating Expense
               4/20/2023    Skyhouse - River Oaks                        87.51 Operating Expense
               4/20/2023    AVR Skyhouse Tampa LLC                       99.76 Operating Expense
               4/20/2023    Hays County Tax Assessor                    101.10 Operating Expense
               4/20/2023    1200 Acqua, LLC                             101.36 Operating Expense
               4/20/2023    Berkshire Income Realty OP, LP              102.00 Operating Expense
               4/20/2023    The Pergola Group                           102.38 Operating Expense
               4/20/2023    Tennessee Public Utility Commission         110.00 Operating Expense
               4/20/2023    D Street Village                            116.00 Operating Expense
               4/20/2023    BR Edgewater Leaseco, LLC                   120.96 Operating Expense
               4/20/2023    SCH-IH Glenwood Venture LLC                 123.23 Operating Expense
               4/20/2023    River West Condominiums                     125.29 Operating Expense
               4/20/2023    American Assets Trust                       130.45 Operating Expense
               4/20/2023    Falcon Creek Luxury Apartments              135.57 Operating Expense
               4/20/2023    Encompass PHX, LLC                          149.03 Operating Expense
               4/20/2023    1163 West Peachtree St. Apartments          168.60 Operating Expense
               4/20/2023    American Broadband Services                 245.00 Operating Expense
               4/20/2023    Elkhart Satellite Systems                   250.00 Operating Expense
               4/20/2023    100 6th St. Development- 1290               266.73 Operating Expense
               4/20/2023    Belmont Flats Venture LLC                   268.72 Operating Expense
               4/20/2023    Standard JSP Olin, LLC                      272.68 Operating Expense
               4/20/2023    Stonecreek Grand LLC                        279.18 Operating Expense
               4/20/2023    Belletera Realty Corporation                290.53 Operating Expense
               4/20/2023    Georgia ITS Tax                             306.65 Operating Expense
               4/20/2023    Alabama Department of Revenue               317.47 Operating Expense
               4/20/2023    WST 1010 Water Street LLC                   319.78 Operating Expense
               4/20/2023    CRP/Pollack 72 Milton Owner, LLC            339.07 Operating Expense
               4/20/2023    BREIT MF Arbour Square                      341.02 Operating Expense
               4/20/2023    Ken and Peg Lamar                           371.85 Operating Expense
               4/20/2023    Manor Grand LLC                             387.32 Operating Expense
               4/20/2023    Paychex                                     400.00 Payroll and Related
               4/20/2023    Artisan Village, LP                         458.90 Operating Expense
               4/20/2023    Landing at Mansfield Apartment              527.75 Operating Expense


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               4/20/2023    T-Mobile                                    539.72 Operating Expense
               4/20/2023    WST 1077 Water Street LLC                   559.49 Operating Expense
               4/20/2023    Ace Satelite                                589.00 Operating Expense
               4/20/2023    Fairfield Bear Creek LP                     593.25 Operating Expense
               4/20/2023    Steadfast Apartment REIT                    677.72 Operating Expense
               4/20/2023    California Department of Taxes              724.00 Operating Expense
               4/20/2023    Universal Media Group                       756.00 Operating Expense
               4/20/2023    Expo Line Owner TRS, LLC                    788.20 Operating Expense
               4/20/2023    WST 815 Water Street LLC                    842.04 Operating Expense
               4/20/2023    Jefferson County, J.T. Smallwood            846.47 Operating Expense
               4/20/2023    WG Apartments                               924.95 Operating Expense
               4/20/2023    Allen Wayne Jones                           975.00 Operating Expense
               4/20/2023    SAIA Motor Freight Line, LLC              1,094.00 Capital Expenditures
               4/20/2023    Healthpeak Properties, Inc.               1,239.98 Operating Expense
               4/20/2023    Pelican Pointe Slidell, LLC               1,331.29 Operating Expense
               4/20/2023    CC Sands, LLC                             1,494.03 Operating Expense
               4/20/2023    RM Communications                         1,630.00 Operating Expense
               4/20/2023    Alabaster Consulting                      1,824.15 Operating Expense
               4/20/2023    US Signal                                 1,870.90 Operating Expense
               4/20/2023    Uniti Fiber                               1,921.19 Operating Expense
               4/20/2023    Breit Steadfast MF Mansfield T            1,982.29 Operating Expense
               4/20/2023    Nicholas Place, LLC                       2,247.51 Operating Expense
               4/20/2023    BREIT MF The Greens LL                    2,689.64 Operating Expense
               4/20/2023    Verizon                                   2,813.05 Operating Expense
               4/20/2023    GAVS Technologies                         2,880.00 Operating Expense
               4/20/2023    MM NoHo Apartments, LLC                   3,930.96 Operating Expense
               4/20/2023    Enterprise                                4,148.84 Operating Expense
               4/20/2023    Cox Communications                        4,605.00 Operating Expense
               4/20/2023    Metlife                                   5,362.12 Payroll and Related
               4/20/2023    BCORE MF Notting Hills                    6,370.81 Operating Expense
               4/20/2023    Ronald K Rueve                            7,600.00 Operating Expense
               4/20/2023    DirecTV                                  12,348.44 Operating Expense
               4/20/2023    Charter Communications                   16,439.72 Operating Expense
               4/20/2023    Cigna                                    23,045.31 Payroll and Related
               4/20/2023    536 West Tremont Owner LP                52,204.42 Operating Expense
               4/20/2023    1246 Allene Owner, LP                    60,000.00 Operating Expense
               4/20/2023    CH Realty IX-Rangewater MF Cha           60,000.00 Operating Expense
               4/21/2023    Colorado Department of Revenue                2.62 Operating Expense
               4/21/2023    Minnesota Department of Revenue               3.00 Operating Expense
               4/21/2023    Ohio Taxes                                    4.20 Operating Expense
               4/21/2023    St Paul LHA IX                                7.20 Operating Expense
               4/21/2023    Minneapolis Leased Housing                   13.90 Operating Expense
               4/21/2023    Minnetonka LHA III                           24.09 Operating Expense
               4/21/2023    Champlin LHA IV, LLLP                        24.96 Operating Expense
               4/21/2023    Columbia Heights LHA                         34.97 Operating Expense
               4/21/2023    Lavista Associates, Inc                      39.85 Operating Expense
               4/21/2023    Webfile Tax Payment                          51.00 Operating Expense
               4/21/2023    Webfile Tax Payment                          51.00 Operating Expense
               4/21/2023    Webfile Tax Payment                          51.00 Operating Expense
               4/21/2023    South Carolina Department of Revenue         67.27 Operating Expense


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               4/21/2023    Portland General                               70.77 Operating Expense
               4/21/2023    New Jersey - Tax Payment                       88.91 Operating Expense
               4/21/2023    Webfile Tax Payment                           104.29 Operating Expense
               4/21/2023    Apple Valley                                  115.86 Operating Expense
               4/21/2023    Authorize.Net                                 147.00 Operating Expense
               4/21/2023    Cortland                                      148.03 Operating Expense
               4/21/2023    KF Orlando Development                        276.61 Operating Expense
               4/21/2023    Greystar                                      570.98 Operating Expense
               4/21/2023    BREIT MF Lake Vista LLC                     1,616.92 Operating Expense
               4/21/2023    Universal Media Group                       2,221.84 Operating Expense
               4/21/2023    Breckinridge LP                             3,427.06 Operating Expense
               4/21/2023    Universal Media Group                       7,256.25 Operating Expense
               4/21/2023    Chargify                                   10,500.00 Operating Expense
               4/21/2023    TelecomResults LLC                         21,119.43 Operating Expense
               4/24/2023    Comp of Maryland                               15.22 Operating Expense
               4/24/2023    Tennessee State Department of Revenue          40.00 Operating Expense
               4/24/2023    Spectrum                                       79.98 Operating Expense
               4/24/2023    So Cal Edison                                  81.49 Operating Expense
               4/24/2023    Spectrum                                      119.97 Operating Expense
               4/24/2023    Spectrum                                      119.97 Operating Expense
               4/24/2023    Shred-It USA                                  126.31 Operating Expense
               4/24/2023    Rise Broadbrand                               151.94 Operating Expense
               4/24/2023    PGANDE                                        223.59 Operating Expense
               4/24/2023    Georgia Natural Gas                           298.49 Operating Expense
               4/24/2023    Spectrum                                      319.92 Operating Expense
               4/24/2023    Comcast                                       429.80 Operating Expense
               4/24/2023    CenturyLink                                   721.45 Operating Expense
               4/24/2023    Frontier                                    1,005.73 Operating Expense
               4/24/2023    Georgia Natural Gas                         1,039.78 Operating Expense
               4/24/2023    CenturyLink                                 1,050.00 Operating Expense
               4/24/2023    CenturyLink                                 1,050.00 Operating Expense
               4/24/2023    CenturyLink                                 1,146.25 Operating Expense
               4/24/2023    CenturyLink                                 1,155.00 Operating Expense
               4/24/2023    CenturyLink                                 1,176.00 Operating Expense
               4/24/2023    CenturyLink                                 1,176.00 Operating Expense
               4/24/2023    CenturyLink                                 1,186.50 Operating Expense
               4/24/2023    CenturyLink                                 1,207.50 Operating Expense
               4/24/2023    CenturyLink                                 1,229.47 Operating Expense
               4/24/2023    CenturyLink                                 1,289.00 Operating Expense
               4/24/2023    Frontier                                    2,147.69 Operating Expense
               4/24/2023    Wave Internet                              12,342.86 Operating Expense
               4/24/2023    Ziply Fiber                                15,067.85 Operating Expense
               4/24/2023    Regions - Collateral                       75,000.00 Operating Expense
               4/24/2023    The Bank Street Group                   1,068,080.70 Professional Fees
               4/25/2023    Georgia Natural Gas                           107.57 Operating Expense
               4/25/2023    The Bancorp                                   611.36 Payroll and Related
               4/25/2023    Consolidated First Tech                       797.94 Operating Expense
               4/25/2023    The Bancorp                                   900.00 Payroll and Related
               4/25/2023    Summit Broadband                            1,523.44 Operating Expense
               4/25/2023    Field Nation LLC -AR                        5,000.00 Operating Expense


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               4/25/2023    Paychex                                      150,140.74 Payroll and Related
               4/26/2023    The Bancorp                                      139.84 Payroll and Related
               4/26/2023    So Cal Edison                                    267.71 Operating Expense
               4/27/2023    The Bancorp                                      120.85 Payroll and Related
               4/27/2023    American Broadband Services                      240.00 Operating Expense
               4/27/2023    Ace Satelite                                     260.00 Operating Expense
               4/27/2023    Marietta Power                                   269.51 Operating Expense
               4/27/2023    Corporation Service Company                      278.00 Operating Expense
               4/27/2023    Corporation Service Company                      381.87 Operating Expense
               4/27/2023    Eclipse Master Condo                             600.00 Operating Expense
               4/27/2023    Allen Wayne Jones                                750.00 Operating Expense
               4/27/2023    Paychex                                          839.40 Payroll and Related
               4/27/2023    Alianza                                          866.36 Operating Expense
               4/27/2023    NiTel Inc                                      1,167.31 Operating Expense
               4/27/2023    RM Communications                              1,405.00 Operating Expense
               4/27/2023    Marsh USA                                      1,591.00 Operating Expense
               4/27/2023    FiberLight, LLC                                1,786.05 Operating Expense
               4/27/2023    Paychex                                        1,825.00 Payroll and Related
               4/27/2023    GAVS Technologies                              2,160.00 Operating Expense
               4/27/2023    Wirestar, Inc.                                 2,243.65 Operating Expense
               4/27/2023    APX Net, Inc                                   2,382.36 Operating Expense
               4/27/2023    Crown Castle Fiber                             2,442.84 Operating Expense
               4/27/2023    Cogent Communications                          2,522.70 Operating Expense
               4/27/2023    365 Operating Company                          2,705.24 Operating Expense
               4/27/2023    BCM One - Wholesale Carrier Svcs               2,719.09 Operating Expense
               4/27/2023    Tierpoint                                      2,813.62 Operating Expense
               4/27/2023    Collin McManus                                 3,230.00 Operating Expense
               4/27/2023    Telx, LLC                                      3,336.71 Operating Expense
               4/27/2023    Tek Group                                      3,510.00 Operating Expense
               4/27/2023    H5 Fund VIII LLC                               4,559.00 Operating Expense
               4/27/2023    John Lee                                       4,750.00 Operating Expense
               4/27/2023    CoreSite L.P.                                  6,406.10 Operating Expense
               4/27/2023    Cologix Inc                                    9,468.96 Operating Expense
               4/27/2023    Time Warner Cable                             11,659.00 Operating Expense
               4/27/2023    Crown Castle Fiber                            14,301.93 Operating Expense
               4/27/2023    FiberLight, LLC                               15,790.95 Operating Expense
               4/27/2023    Broadriver Communications                     15,793.83 Operating Expense
               4/27/2023    Crown Castle Fiber                            16,213.56 Operating Expense
               4/27/2023    Marsh USA                                     17,832.07 Operating Expense
               4/27/2023    Equinix, INC                                  24,325.80 Operating Expense
               4/27/2023    Telx, LLC                                     25,395.08 Operating Expense
               4/27/2023    Time Warner Cable                             31,864.36 Operating Expense
               4/27/2023    Morris, Nichols, Arsht & Tunnell LLP          53,403.15 Professional Fees
               4/27/2023    Cogent Communications                         68,530.95 Operating Expense
               4/27/2023    Hogan                                         88,838.95 Professional Fees
               4/28/2023    California Public Utilities Commission             0.45 Operating Expense
               4/28/2023    Georgia Telecom Relay Services                    11.99 Operating Expense
               4/28/2023    Dynamark Monitoring, Inc                          14.46 Operating Expense
               4/28/2023    Greenwood County Tax Collector                    32.61 Operating Expense
               4/28/2023    Dorchester County                                 32.65 Operating Expense


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               4/28/2023    City of Richmond, Virginia Division          34.34 Operating Expense
               4/28/2023    Spectrum                                     39.99 Operating Expense
               4/28/2023    Spectrum                                     79.98 Operating Expense
               4/28/2023    City of Chelsea                             199.01 Operating Expense
               4/28/2023    Tennessee State Department of Revenue       202.00 Operating Expense
               4/28/2023    American Disposal Services                  217.67 Operating Expense
               4/28/2023    Clifton Larson Allen                        262.50 Operating Expense
               4/28/2023    Spectrum                                    328.87 Operating Expense
               4/28/2023    Helio Broadband LLC                         337.50 Operating Expense
               4/28/2023    DirecTV                                     370.89 Operating Expense
               4/28/2023    Northwest Natural                           487.76 Operating Expense
               4/28/2023    Integra Telecome                            616.78 Operating Expense
               4/28/2023    BREIT MF Park Ave LLC                       748.52 Operating Expense
               4/28/2023    GPSC UAF                                    896.13 Operating Expense
               4/28/2023    Vexus Fiber                               1,008.03 Operating Expense
               4/28/2023    City of Sherwood                          1,155.00 Operating Expense
               4/28/2023    Comcast                                   1,187.90 Operating Expense
               4/28/2023    Lithonia Acquisition I, LLC               1,381.25 Operating Expense
               4/28/2023    BREIT MF Sea Harbor LLC                   1,383.52 Operating Expense
               4/28/2023    Quext Connect                             2,220.00 Operating Expense
               4/28/2023    Concur Technologies, Inc.                 3,215.62 Operating Expense
               4/28/2023    DirecTV                                   4,076.63 Operating Expense
               4/28/2023    SmartCity Telecom                         4,104.28 Operating Expense
               4/28/2023    Level3                                    4,338.21 Operating Expense
               4/28/2023    Comcast                                   4,850.35 Operating Expense
               4/28/2023    DirecTV                                   7,863.21 Operating Expense
               4/28/2023    Great-West Trust                         10,709.56 Payroll and Related
               4/28/2023    DirecTV                                  12,968.13 Operating Expense
               4/28/2023    Comcast                                  41,863.84 Operating Expense
               4/28/2023    Level3                                   42,274.87 Operating Expense
               5/1/2023     Authorize.Net                                44.00 Operating Expense
               5/1/2023     Frontier                                     69.86 Operating Expense
               5/1/2023     Optum Bank                                  180.00 Operating Expense
               5/1/2023     Authorize.Net                             1,459.25 Operating Expense
               5/1/2023     Timron Enterprises                        1,591.22 Operating Expense
               5/1/2023     Frontier                                  3,073.91 Operating Expense
               5/1/2023     Authorize.Net                             7,010.78 Operating Expense
               5/2/2023     Authorize.Net                                20.00 Operating Expense
               5/2/2023     Authorize.Net                                63.48 Operating Expense
               5/2/2023     Authorize.Net                               119.70 Operating Expense
               5/2/2023     The Bancorp                                 163.66 Payroll and Related
               5/2/2023     Authorize.Net                               204.43 Operating Expense
               5/2/2023     The Bancorp                                 278.93 Payroll and Related
               5/2/2023     TRS                                         335.22 Operating Expense
               5/2/2023     Sea Watch Condominiums                      500.00 Operating Expense
               5/2/2023     Authorize.Net                               553.20 Operating Expense
               5/2/2023     Consolidated First Tech                     805.38 Operating Expense
               5/2/2023     DirecTV                                   2,244.90 Operating Expense
               5/2/2023     Authorize.Net                             2,672.08 Operating Expense
               5/3/2023     The Bancorp                                 477.90 Payroll and Related


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               5/3/2023     USF Payment                                 3,390.51 Operating Expense
               5/4/2023     MarketSpark Inc.                               30.06 Operating Expense
               5/4/2023     Portland General                               43.21 Operating Expense
               5/4/2023     PGE                                           194.25 Capital Expenditures
               5/4/2023     Joan Stobel                                   199.00 Operating Expense
               5/4/2023     Ace Satelite                                  220.00 Operating Expense
               5/4/2023     Braintree                                     344.77 Operating Expense
               5/4/2023     Eclipse Master Condo                          600.00 Operating Expense
               5/4/2023     Braintree                                     678.17 Operating Expense
               5/4/2023     Allen Wayne Jones                             825.00 Operating Expense
               5/4/2023     RM Communications                           1,045.00 Operating Expense
               5/4/2023     Wright Way Services                         1,200.00 Operating Expense
               5/4/2023     Tek Group                                   1,360.00 Operating Expense
               5/4/2023     Logix Communications                        2,089.52 Operating Expense
               5/4/2023     Nashville Electric Service                  2,249.89 Operating Expense
               5/4/2023     DirecTV                                     2,276.40 Operating Expense
               5/4/2023     Shaheen Development                         3,407.01 Operating Expense
               5/4/2023     Flexential                                  4,769.93 Operating Expense
               5/4/2023     Accu-Tech Corporation                       6,655.50 Operating Expense
               5/4/2023     Texas Department of Revenue                 8,000.00 Operating Expense
               5/4/2023     Accu-Tech Corporation                       8,287.50 Operating Expense
               5/4/2023     CallTEk Inc                                 8,446.92 Operating Expense
               5/4/2023     MTS Advisory                               20,000.00 Professional Fees
               5/4/2023     Hogan                                      23,652.52 Professional Fees
               5/4/2023     TLC Solutions                              51,642.00 Capital Expenditures
               5/4/2023     GigaMonster Networks Costa Rica, SRL       77,042.67 Operating Expense
               5/4/2023     Pachulski stang Ziehl                     675,000.00 Escrow Payment
               5/5/2023     UPS                                           114.30 Operating Expense
               5/5/2023     DirecTV                                     1,138.20 Operating Expense
               5/5/2023     DirecTV                                     4,567.54 Operating Expense
               5/5/2023     DirecTV                                     9,210.58 Operating Expense
               5/8/2023     DirecTV                                       140.82 Operating Expense
               5/8/2023     Verizon                                       166.99 Operating Expense
               5/8/2023     DirecTV                                       517.34 Operating Expense
               5/8/2023     Georgia Natural Gas                           935.35 Operating Expense
               5/8/2023     DirecTV                                     4,798.50 Operating Expense
               5/8/2023     Paychex                                   120,986.72 Payroll and Related
               5/9/2023     St. Tammany Parish                         (1,937.27) Operating Expense
               5/9/2023     Tax Collector, Palm Beach County           (1,568.33) Operating Expense
               5/9/2023     Jefferson County, J.T. Smallwood             (812.41) Operating Expense
               5/9/2023     Greenwood County Tax Collector                 (7.61) Operating Expense
               5/9/2023     Regions - Banking Fees                        421.85 Operating Expense
               5/9/2023     Cox Communications                            463.67 Operating Expense
               5/9/2023     Regions - Banking Fees                        608.53 Operating Expense
               5/9/2023     Admin America                                 636.39 Payroll and Related
               5/9/2023     DirecTV                                     1,233.65 Operating Expense
               5/9/2023     Regions - Banking Fees                      1,539.45 Operating Expense
               5/10/2023    Portland General                               77.94 Operating Expense
               5/10/2023    Authorize.Net                                  89.00 Operating Expense
               5/10/2023    DirecTV                                     1,599.15 Operating Expense


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               5/10/2023    Paychex                                     3,777.99 Payroll and Related
               5/10/2023    Field Nation LLC -AR                        5,000.00 Operating Expense
               5/11/2023    Optum Bank                                    160.00 Operating Expense
               5/11/2023    Marietta Power                                177.24 Operating Expense
               5/11/2023    ACE Micro LLC                                 256.25 Operating Expense
               5/11/2023    Digital Linx                                  260.00 Operating Expense
               5/11/2023    Marietta Power                                269.31 Operating Expense
               5/11/2023    Ace Satelite                                  310.00 Operating Expense
               5/11/2023    Paychex                                       426.92 Payroll and Related
               5/11/2023    Allen Wayne Jones                             675.00 Operating Expense
               5/11/2023    Marietta Power                                869.37 Operating Expense
               5/11/2023    ACE Micro LLC                               1,025.00 Operating Expense
               5/11/2023    American Broadband Services                 1,150.00 Operating Expense
               5/11/2023    Tek Group                                   1,200.00 Operating Expense
               5/11/2023    RM Communications                           1,200.00 Operating Expense
               5/11/2023    Paychex                                     1,714.60 Payroll and Related
               5/11/2023    TLC Solutions                               1,950.00 Capital Expenditures
               5/11/2023    Merchtel                                    2,950.00 Capital Expenditures
               5/11/2023    Collin McManus                              3,290.00 Operating Expense
               5/11/2023    DirecTV                                     6,054.30 Operating Expense
               5/11/2023    Ronald K Rueve                              7,075.00 Operating Expense
               5/11/2023    Genesys Cloud Services                      8,213.28 Operating Expense
               5/11/2023    Great-West Trust                            9,008.75 Payroll and Related
               5/11/2023    Enterprise                                 17,828.52 Operating Expense
               5/11/2023    MDU Telecom Partners, LLC                  20,000.00 Operating Expense
               5/11/2023    Zayo Group, LLC                           168,736.24 Operating Expense
               5/12/2023    DirecTV                                       170.10 Operating Expense
               5/12/2023    DirecTV                                       193.20 Operating Expense
               5/12/2023    DirecTV                                       272.16 Operating Expense
               5/12/2023    DirecTV                                       278.57 Operating Expense
               5/12/2023    Comcast                                       301.63 Operating Expense
               5/12/2023    DirecTV                                       306.18 Operating Expense
               5/12/2023    DirecTV                                       341.25 Operating Expense
               5/12/2023    DirecTV                                       382.73 Operating Expense
               5/12/2023    DirecTV                                       386.40 Operating Expense
               5/12/2023    DirecTV                                       437.75 Operating Expense
               5/12/2023    DirecTV                                       510.30 Operating Expense
               5/12/2023    DirecTV                                       543.90 Operating Expense
               5/12/2023    DirecTV                                       646.38 Operating Expense
               5/12/2023    DirecTV                                       682.50 Operating Expense
               5/12/2023    DirecTV                                       740.25 Operating Expense
               5/12/2023    DirecTV                                       773.85 Operating Expense
               5/12/2023    DirecTV                                       853.65 Operating Expense
               5/12/2023    DirecTV                                       938.70 Operating Expense
               5/12/2023    DirecTV                                       955.08 Operating Expense
               5/12/2023    DirecTV                                     1,053.15 Operating Expense
               5/12/2023    DirecTV                                     1,074.47 Operating Expense
               5/12/2023    DirecTV                                     1,081.50 Operating Expense
               5/12/2023    DirecTV                                     1,114.26 Operating Expense
               5/12/2023    DirecTV                                     1,223.25 Operating Expense


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               Date                        Vendor Name              Amount              Category
               5/12/2023    DirecTV                                    1,268.40 Operating Expense
               5/12/2023    DirecTV                                    1,289.40 Operating Expense
               5/12/2023    DirecTV                                    1,394.82 Operating Expense
               5/12/2023    DirecTV                                    1,432.62 Operating Expense
               5/12/2023    DirecTV                                    1,790.78 Operating Expense
               5/12/2023    DirecTV                                    1,837.50 Operating Expense
               5/12/2023    DirecTV                                    1,850.10 Operating Expense
               5/12/2023    UPS                                        1,931.87 Operating Expense
               5/12/2023    DirecTV                                    2,105.25 Operating Expense
               5/12/2023    DirecTV                                    3,094.35 Operating Expense
               5/12/2023    Canon Financial Services                   3,606.87 Operating Expense
               5/12/2023    AT&T                                       4,609.36 Operating Expense
               5/12/2023    DirecTV                                    4,684.05 Operating Expense
               5/12/2023    DirecTV                                    6,601.00 Operating Expense
               5/12/2023    TelecomResults LLC                       20,000.00 Operating Expense
               5/15/2023    Canon Financial Services                  (3,606.87) Operating Expense
               5/15/2023    Portland General                              38.17 Operating Expense
               5/15/2023    Alabama Department of Revenue                200.00 Operating Expense
               5/15/2023    Shred-It USA                                 328.76 Operating Expense
               5/15/2023    Comcast                                      546.27 Operating Expense
               5/15/2023    Comcast                                    1,246.95 Operating Expense
               5/15/2023    Comcast                                    6,444.21 Operating Expense
               5/15/2023    Webfile Tax Payment                        8,000.00 Operating Expense
               5/16/2023    Portland General                              56.70 Operating Expense
               5/16/2023    Portland General                              64.48 Operating Expense
               5/16/2023    Portland General                              69.27 Operating Expense
               5/16/2023    South Carolina Department of Revenue          74.42 Operating Expense
               5/16/2023    Verizon                                      166.99 Operating Expense
               5/16/2023    Ohio Taxes                                   234.46 Operating Expense
               5/16/2023    Georgia ITS Tax                              374.18 Operating Expense
               5/16/2023    Regions Credit Card                      43,735.91 Operating Expense
               5/17/2023    Ohio Taxes                                     4.20 Operating Expense
               5/17/2023    Portland General                              20.60 Operating Expense
               5/17/2023    Portland General                              49.39 Operating Expense
               5/17/2023    Portland General                              52.89 Operating Expense
               5/17/2023    Portland General                              81.64 Operating Expense
               5/17/2023    Portland General                             112.05 Operating Expense
               5/17/2023    Webfile Tax Payment                          220.67 Operating Expense
               5/17/2023    Oregon State Treasury                        387.65 Operating Expense
               5/17/2023    Washington Department of Revenue           2,979.31 Operating Expense
               5/18/2023    Tax Collector, Palm Beach County          (1,615.19) Operating Expense
               5/18/2023    Aldine ISD                                     6.27 Operating Expense
               5/18/2023    Comp of Maryland                              18.08 Operating Expense
               5/18/2023    NC Utilities Commission                       25.00 Operating Expense
               5/18/2023    American Assets Trust                         41.00 Capital Expenditures
               5/18/2023    American Assets Trust                         55.50 Capital Expenditures
               5/18/2023    Digital Linx                                  65.00 Operating Expense
               5/18/2023    Digital Linx                                  65.00 Operating Expense
               5/18/2023    Tennessee State Department of Revenue         75.00 Operating Expense
               5/18/2023    Berkshire Income Realty OP, LP               102.10 Operating Expense


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GigaMonster Networks LLC                                                                                Case 23-10051-JKS
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               5/18/2023    Virginia Department of Taxation               114.71 Operating Expense
               5/18/2023    American Assets Trust                         120.90 Operating Expense
               5/18/2023    D Street Village                              122.00 Operating Expense
               5/18/2023    400 West Peachtree Residential                150.00 Operating Expense
               5/18/2023    Ace Satelite                                  270.00 Operating Expense
               5/18/2023    Portland General                              383.83 Operating Expense
               5/18/2023    Cigna                                         384.23 Payroll and Related
               5/18/2023    Allen Wayne Jones                             675.00 Operating Expense
               5/18/2023    American Broadband Services                   700.00 Operating Expense
               5/18/2023    WG Apartments                                 759.35 Operating Expense
               5/18/2023    Tek Group                                     940.00 Operating Expense
               5/18/2023    SAIA Motor Freight Line, LLC                1,164.36 Capital Expenditures
               5/18/2023    Healthpeak Properties, Inc.                 1,252.35 Operating Expense
               5/18/2023    RM Communications                           1,300.00 Operating Expense
               5/18/2023    Nevada Communications                       2,405.00 Operating Expense
               5/18/2023    Concur Technologies, Inc.                   3,215.62 Operating Expense
               5/18/2023    Western Data LLC                            3,225.00 Operating Expense
               5/18/2023    John Lee                                    4,025.00 Operating Expense
               5/18/2023    A&D Enterprise LLC                          5,415.26 Operating Expense
               5/18/2023    Data Foundry Inc                            6,300.00 Operating Expense
               5/18/2023    Merchtel                                    6,726.00 Capital Expenditures
               5/18/2023    Equinix, INC                                8,505.20 Operating Expense
               5/18/2023    Chargify                                   10,500.00 Operating Expense
               5/18/2023    Broadriver Communications                  15,550.65 Operating Expense
               5/18/2023    TelecomResults LLC                         20,000.00 Operating Expense
               5/18/2023    Cobb Commerce                              21,241.38 Operating Expense
               5/18/2023    Crown Castle Fiber                         32,958.33 Operating Expense
               5/18/2023    Equinix, INC                               44,607.42 Operating Expense
               5/18/2023    GigaMonster Networks Costa Rica, SRL       72,126.58 Operating Expense
               5/18/2023    Zayo Group, LLC                            91,962.56 Operating Expense
               5/19/2023    Portland General                               27.87 Operating Expense
               5/19/2023    Portland General                               27.87 Operating Expense
               5/19/2023    Portland General                               27.87 Operating Expense
               5/19/2023    Authorize.Net                                 119.00 Operating Expense
               5/19/2023    Nextra                                      1,560.24 Operating Expense
               5/19/2023    Tax Collector, Palm Beach County            1,998.82 Operating Expense
               5/19/2023    US Trustee                                 22,728.00 Professional Fees
               5/19/2023    Comcast                                    40,657.09 Operating Expense
               5/22/2023    Portland General                               88.89 Operating Expense
               5/22/2023    Rise Broadbrand                               151.94 Operating Expense
               5/22/2023    Paychex                                       400.00 Payroll and Related
               5/22/2023    Cigna                                      13,795.67 Payroll and Related
               5/22/2023    AT&T                                      144,675.18 Operating Expense
               5/23/2023    Georgia Natural Gas                           187.81 Operating Expense
               5/23/2023    Paychex                                   117,086.33 Payroll and Related
               5/24/2023    US Trustee                                 70,720.00 Professional Fees
               5/25/2023    Dynamark Monitoring, Inc                       14.46 Operating Expense
               5/25/2023    CenturyLink                                   104.00 Operating Expense
               5/25/2023    New Day Network Solutions                     150.00 Operating Expense
               5/25/2023    Paychex                                       426.92 Payroll and Related


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GigaMonster Networks LLC                                                                              Case 23-10051-JKS
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               5/25/2023    Allen Wayne Jones                            675.00 Operating Expense
               5/25/2023    NWAX                                         750.00 Operating Expense
               5/25/2023    American Broadband Services                  780.00 Operating Expense
               5/25/2023    Alianza                                      811.24 Operating Expense
               5/25/2023    Tek Group                                    830.00 Operating Expense
               5/25/2023    Alabaster Consulting                       1,024.56 Operating Expense
               5/25/2023    NiTel Inc                                  1,114.96 Operating Expense
               5/25/2023    RM Communications                          1,165.00 Operating Expense
               5/25/2023    Paychex                                    1,659.40 Payroll and Related
               5/25/2023    FiberLight, LLC                            1,750.61 Operating Expense
               5/25/2023    Uniti Fiber                                1,921.19 Operating Expense
               5/25/2023    US Signal                                  1,960.00 Operating Expense
               5/25/2023    Wirestar, Inc.                             2,243.65 Operating Expense
               5/25/2023    Nashville Electric Service                 2,249.89 Operating Expense
               5/25/2023    DirecTV                                    2,268.22 Operating Expense
               5/25/2023    APX Net, Inc                               2,379.41 Operating Expense
               5/25/2023    FiberLight, LLC                            2,560.63 Operating Expense
               5/25/2023    Cogent Communications                      2,586.45 Operating Expense
               5/25/2023    Broadband Enterprise LLC                   2,634.50 Operating Expense
               5/25/2023    BCM One - Wholesale Carrier Svcs           2,673.60 Operating Expense
               5/25/2023    Verizon                                    2,742.53 Operating Expense
               5/25/2023    GAVS Technologies                          2,760.00 Operating Expense
               5/25/2023    Collin McManus                             2,990.00 Operating Expense
               5/25/2023    Field Nation LLC -AR                       3,000.00 Operating Expense
               5/25/2023    GAVS Technologies                          3,680.00 Operating Expense
               5/25/2023    DirecTV                                    4,180.65 Operating Expense
               5/25/2023    Cox Communications                         4,605.00 Operating Expense
               5/25/2023    Alianza                                    5,765.12 Operating Expense
               5/25/2023    Alianza                                    5,965.85 Operating Expense
               5/25/2023    CoreSite L.P.                              6,460.90 Operating Expense
               5/25/2023    CoreSite L.P.                              6,617.65 Operating Expense
               5/25/2023    DirecTV                                    6,966.96 Operating Expense
               5/25/2023    CoreSite L.P.                              7,263.62 Operating Expense
               5/25/2023    DirecTV                                    7,978.09 Operating Expense
               5/25/2023    Portland NAP                               8,500.00 Operating Expense
               5/25/2023    Great-West Trust                           8,912.26 Payroll and Related
               5/25/2023    Cologix Inc                                9,513.96 Operating Expense
               5/25/2023    Time Warner Cable                         11,659.00 Operating Expense
               5/25/2023    DirecTV                                   15,653.41 Operating Expense
               5/25/2023    FiberLight, LLC                           15,790.95 Operating Expense
               5/25/2023    Charter Communications                    16,443.70 Operating Expense
               5/25/2023    DirecTV                                   23,381.34 Operating Expense
               5/25/2023    Telx, LLC                                 25,395.08 Operating Expense
               5/25/2023    DirecTV                                   25,781.69 Operating Expense
               5/25/2023    DirecTV                                   31,871.35 Operating Expense
               5/25/2023    Time Warner Cable                         31,878.88 Operating Expense
               5/25/2023    Cogent Communications                     68,585.64 Operating Expense
               5/26/2023    Spectrum                                      79.98 Operating Expense
               5/26/2023    Spectrum                                      81.00 Operating Expense
               5/26/2023    Spectrum                                     119.97 Operating Expense


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GigaMonster Networks LLC                                                                                   Case 23-10051-JKS
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               5/26/2023    Optum Bank                                        150.00 Operating Expense
               5/26/2023    Clifton Larson Allen                              262.50 Operating Expense
               5/26/2023    Marietta Power                                    271.07 Operating Expense
               5/26/2023    Northwest Natural                                 422.16 Operating Expense
               5/26/2023    CenturyLink                                       716.60 Operating Expense
               5/26/2023    CenturyLink                                     1,050.00 Operating Expense
               5/26/2023    CenturyLink                                     1,050.00 Operating Expense
               5/26/2023    CenturyLink                                     1,146.25 Operating Expense
               5/26/2023    CenturyLink                                     1,155.00 Operating Expense
               5/26/2023    CenturyLink                                     1,176.00 Operating Expense
               5/26/2023    CenturyLink                                     1,176.00 Operating Expense
               5/26/2023    CenturyLink                                     1,186.50 Operating Expense
               5/26/2023    CenturyLink                                     1,207.50 Operating Expense
               5/26/2023    CenturyLink                                     1,229.47 Operating Expense
               5/26/2023    Spirit Communications (Segra)                   1,832.46 Operating Expense
               5/26/2023    Vexus Fiber                                     2,536.36 Operating Expense
               5/26/2023    CenturyLink                                     2,901.34 Operating Expense
               5/26/2023    Level3                                          4,338.21 Operating Expense
               5/26/2023    Level3                                         44,326.93 Operating Expense
               5/30/2023    Integra Telecome                                  626.03 Operating Expense
               5/30/2023    Frontier                                          990.00 Operating Expense
               5/30/2023    Frontier                                        1,572.46 Operating Expense
               5/30/2023    Frontier                                        2,147.69 Operating Expense
               5/30/2023    Wave Internet                                  12,342.86 Operating Expense
               5/30/2023    Faegre Drinker Biddle Reath LLP                92,396.99 Professional Fees
               5/30/2023    Kroll                                          94,403.57 Escrow Payment
               5/30/2023    M3 Partners                                   113,853.60 Escrow Payment
               5/30/2023    Kroll                                         166,406.26 Professional Fees
               5/30/2023    Novo Advisors                                 253,424.09 Professional Fees
               5/30/2023    Faegre Drinker Biddle Reath LLP               300,000.00 Escrow Payment
               5/30/2023    Pachulski stang Ziehl                         384,966.85 Professional Fees
               5/31/2023    Consolidated First Tech                           797.94 Operating Expense
               5/31/2023    Consolidated First Tech                           805.38 Operating Expense
               6/1/2023     Donna Cruce                                         9.63 Operating Expense
               6/1/2023     Jerald Hart                                        20.50 Operating Expense
               6/1/2023     Patricia Vandyke                                   24.00 Operating Expense
               6/1/2023     Tierpoint                                          39.04 Operating Expense
               6/1/2023     Tierpoint                                          39.04 Operating Expense
               6/1/2023     Rick Ray                                           65.24 Operating Expense
               6/1/2023     Cigna                                              69.73 Payroll and Related
               6/1/2023     Sharon Green                                      178.84 Operating Expense
               6/1/2023     American Broadband Services                       285.00 Operating Expense
               6/1/2023     Greg Aldred                                       375.90 Operating Expense
               6/1/2023     Tek Group                                         510.00 Operating Expense
               6/1/2023     RM Communications                                 780.00 Operating Expense
               6/1/2023     Authorize.Net                                   1,122.84 Operating Expense
               6/1/2023     Allen Wayne Jones                               1,200.00 Operating Expense
               6/1/2023     Marsh USA                                       1,591.00 Operating Expense
               6/1/2023     Timron Enterprises                              1,591.22 Operating Expense
               6/1/2023     The Bartlett                                    2,000.00 Operating Expense


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               6/1/2023     Logix Communications                        2,019.28 Operating Expense
               6/1/2023     365 Operating Company                       2,705.24 Operating Expense
               6/1/2023     Tierpoint                                   2,813.62 Operating Expense
               6/1/2023     H5 Fund VIII LLC                            4,559.00 Operating Expense
               6/1/2023     John Lee                                    5,295.00 Operating Expense
               6/1/2023     Ronald K Rueve                              6,275.00 Operating Expense
               6/1/2023     Authorize.Net                               6,433.09 Operating Expense
               6/1/2023     TLC Solutions                               7,161.00 Capital Expenditures
               6/1/2023     TLC Solutions                               7,320.00 Capital Expenditures
               6/1/2023     Genesys Cloud Services                      8,168.27 Operating Expense
               6/1/2023     CallTEk Inc                                 8,446.92 Operating Expense
               6/1/2023     TLC Solutions                              10,555.00 Capital Expenditures
               6/1/2023     TLC Solutions                              11,730.00 Capital Expenditures
               6/1/2023     Marsh USA                                  17,832.07 Operating Expense
               6/1/2023     Cobb Commerce                              21,241.38 Operating Expense
               6/2/2023     Authorize.Net                                  23.00 Operating Expense
               6/2/2023     Spectrum                                       48.94 Operating Expense
               6/2/2023     Authorize.Net                                  62.50 Operating Expense
               6/2/2023     Fort Bend County                               68.90 Operating Expense
               6/2/2023     Spectrum                                       79.98 Operating Expense
               6/2/2023     Authorize.Net                                 100.40 Operating Expense
               6/2/2023     Authorize.Net                                 157.53 Operating Expense
               6/2/2023     Spectrum                                      319.92 Operating Expense
               6/2/2023     Sea Watch Condominiums                        500.00 Operating Expense
               6/2/2023     Authorize.Net                                 502.00 Operating Expense
               6/2/2023     Authorize.Net                               1,167.91 Operating Expense
               6/2/2023     City of Norfolk                             1,443.14 Operating Expense
               6/2/2023     Shentel                                     1,560.24 Operating Expense
               6/2/2023     DirecTV                                     2,244.90 Operating Expense
               6/2/2023     Comcast                                     5,006.73 Operating Expense
               6/5/2023     Twin City Voip Inc                             10.00 Operating Expense
               6/5/2023     Portland General                               42.27 Operating Expense
               6/5/2023     Chesterfield                                   80.30 Operating Expense
               6/5/2023     Quench USA Inc                                117.28 Operating Expense
               6/5/2023     First Response Systems                        168.00 Operating Expense
               6/5/2023     American Disposal Services                    217.67 Operating Expense
               6/5/2023     Standard Office Systems of Atlanta            231.09 Operating Expense
               6/5/2023     Ken and Peg Lamar                             316.42 Operating Expense
               6/5/2023     TRS                                           335.22 Operating Expense
               6/5/2023     Merit Network Inc                             595.00 Operating Expense
               6/5/2023     NWAX                                          750.00 Operating Expense
               6/5/2023     Verizon Connect Fleet USA LLC               1,070.60 Operating Expense
               6/5/2023     DirecTV                                     1,138.20 Operating Expense
               6/5/2023     Summit Broadband                            1,523.44 Operating Expense
               6/5/2023     Nextra                                      1,560.19 Operating Expense
               6/5/2023     DirecTV                                     2,276.40 Operating Expense
               6/5/2023     DirecTV                                     4,567.54 Operating Expense
               6/5/2023     Field Nation LLC -AR                        5,000.00 Operating Expense
               6/5/2023     Shaheen Development                         5,182.73 Operating Expense
               6/5/2023     DirecTV                                     9,210.58 Operating Expense


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GigaMonster Networks LLC                                                                                Case 23-10051-JKS
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               6/5/2023     Ziply Fiber                                18,098.57 Operating Expense
               6/6/2023     Berkshire Income Realty OP, LP                106.50 Operating Expense
               6/6/2023     Braintree                                     291.09 Operating Expense
               6/6/2023     Braintree                                     582.85 Operating Expense
               6/6/2023     Admin America                               2,000.00 Payroll and Related
               6/6/2023     Paychex                                   125,599.33 Payroll and Related
               6/7/2023     DirecTV                                       149.30 Operating Expense
               6/7/2023     Oregon Department of Revenue                  250.00 Operating Expense
               6/7/2023     Oregon Department of Revenue                  250.00 Operating Expense
               6/7/2023     Authorize.Net                                 322.00 Operating Expense
               6/7/2023     Pelican Pointe Slidell, LLC                 1,998.63 Operating Expense
               6/7/2023     DirecTV                                     4,798.50 Operating Expense
               6/8/2023     City of Chelsea                                 4.03 Operating Expense
               6/8/2023     Arizona Department of Revenue                   7.15 Operating Expense
               6/8/2023     DirecTV                                        34.51 Operating Expense
               6/8/2023     PGE                                            34.75 Capital Expenditures
               6/8/2023     ACE Micro LLC                                  51.25 Operating Expense
               6/8/2023     GAVS Technologies                              90.00 Operating Expense
               6/8/2023     Ace Satelite                                  120.00 Operating Expense
               6/8/2023     Tforce Freight, Inc.                          203.56 Operating Expense
               6/8/2023     Paychex                                       344.48 Payroll and Related
               6/8/2023     Alabaster Consulting                          349.83 Operating Expense
               6/8/2023     Paychex                                       426.92 Payroll and Related
               6/8/2023     American Broadband Services                   550.40 Operating Expense
               6/8/2023     RM Communications                             695.00 Operating Expense
               6/8/2023     Allen Wayne Jones                             900.00 Operating Expense
               6/8/2023     The Preserve ASA MT, LLC                    1,000.00 Operating Expense
               6/8/2023     Verizon Connect Fleet USA LLC               1,070.60 Operating Expense
               6/8/2023     Tek Group                                   1,210.00 Operating Expense
               6/8/2023     Corporation Service Company                 1,522.79 Operating Expense
               6/8/2023     Paychex                                     1,732.65 Payroll and Related
               6/8/2023     Broadband Enterprise LLC                    2,634.50 Operating Expense
               6/8/2023     Collin McManus                              2,730.00 Operating Expense
               6/8/2023     Data Foundry Inc                            3,150.00 Operating Expense
               6/8/2023     Flexential                                  4,769.93 Operating Expense
               6/8/2023     John Lee                                    4,860.00 Operating Expense
               6/8/2023     SmartCity Telecom                           8,208.56 Operating Expense
               6/8/2023     TLC Solutions                              12,825.00 Capital Expenditures
               6/8/2023     TelecomResults LLC                         20,000.00 Operating Expense
               6/8/2023     MTS Advisory                               20,000.00 Professional Fees
               6/8/2023     UCC Advisors                               28,463.40 Professional Fees
               6/8/2023     GigaMonster Networks Costa Rica, SRL       72,126.57 Operating Expense
               6/8/2023     Faegre Drinker Biddle Reath LLP            96,905.60 Professional Fees
               6/9/2023     Spectrum                                       48.94 Operating Expense
               6/9/2023     Paychex                                        48.96 Payroll and Related
               6/9/2023     Spectrum                                       79.98 Operating Expense
               6/9/2023     Portland General                               83.69 Operating Expense
               6/9/2023     Optum Bank                                    150.00 Operating Expense
               6/9/2023     Paychex                                       295.52 Payroll and Related
               6/9/2023     Regions - Banking Fees                        418.50 Operating Expense


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GigaMonster Networks LLC                                                                                Case 23-10051-JKS
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               Date                        Vendor Name               Amount              Category
               6/9/2023     Regions - Banking Fees                        676.29 Operating Expense
               6/9/2023     CenturyLink                                 1,289.00 Operating Expense
               6/9/2023     Regions - Banking Fees                      1,495.93 Operating Expense
               6/9/2023     CenturyLink                                 1,574.38 Operating Expense
               6/9/2023     Great-West Trust                            8,667.52 Payroll and Related
               6/12/2023    Texas Department of Revenue                (8,000.00) Operating Expense
               6/12/2023    Marietta Power                                 70.29 Operating Expense
               6/12/2023    Authorize.Net                                  88.00 Operating Expense
               6/12/2023    Verizon                                       171.99 Operating Expense
               6/12/2023    DirecTV                                       193.20 Operating Expense
               6/12/2023    Marietta Power                                286.14 Operating Expense
               6/12/2023    Comcast                                       301.63 Operating Expense
               6/12/2023    DirecTV                                       306.18 Operating Expense
               6/12/2023    DirecTV                                       341.25 Operating Expense
               6/12/2023    DirecTV                                       386.40 Operating Expense
               6/12/2023    DirecTV                                       437.75 Operating Expense
               6/12/2023    DirecTV                                       543.90 Operating Expense
               6/12/2023    DirecTV                                       646.38 Operating Expense
               6/12/2023    DirecTV                                       740.25 Operating Expense
               6/12/2023    Marietta Power                                773.84 Operating Expense
               6/12/2023    DirecTV                                       853.65 Operating Expense
               6/12/2023    DirecTV                                       938.70 Operating Expense
               6/12/2023    DirecTV                                       955.08 Operating Expense
               6/12/2023    DirecTV                                     1,081.50 Operating Expense
               6/12/2023    DirecTV                                     1,268.40 Operating Expense
               6/12/2023    DirecTV                                     1,289.40 Operating Expense
               6/12/2023    DirecTV                                     1,432.62 Operating Expense
               6/12/2023    DirecTV                                     1,599.15 Operating Expense
               6/12/2023    DirecTV                                     1,837.50 Operating Expense
               6/12/2023    DirecTV                                     1,850.10 Operating Expense
               6/12/2023    DirecTV                                     2,105.25 Operating Expense
               6/12/2023    DirecTV                                     6,054.30 Operating Expense
               6/12/2023    DirecTV                                     6,601.00 Operating Expense
               6/12/2023    AT&T                                      142,011.02 Operating Expense
               6/13/2023    Authorize.Net                                  80.70 Operating Expense
               6/13/2023    Admin America                               2,000.00 Payroll and Related
               6/14/2023    Portland General                               34.41 Operating Expense
               6/15/2023    Aldine I.S.D.                                  22.03 Operating Expense
               6/15/2023    American Assets Trust                          41.75 Capital Expenditures
               6/15/2023    American Assets Trust                          56.51 Capital Expenditures
               6/15/2023    Portland General                               60.41 Operating Expense
               6/15/2023    Portland General                               64.10 Operating Expense
               6/15/2023    Portland General                               65.67 Operating Expense
               6/15/2023    D Street Village                              100.00 Operating Expense
               6/15/2023    American Assets Trust                         113.00 Operating Expense
               6/15/2023    Corporation Service Company                   135.00 Operating Expense
               6/15/2023    Healthpeak Properties, Inc.                   301.74 Operating Expense
               6/15/2023    Ken and Peg Lamar                             316.42 Operating Expense
               6/15/2023    American Broadband Services                   460.00 Operating Expense
               6/15/2023    New Day Network Solutions                     600.00 Operating Expense


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GigaMonster Networks LLC                                                                              Case 23-10051-JKS
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               Date                        Vendor Name              Amount              Category
               6/15/2023    RM Communications                            635.00 Operating Expense
               6/15/2023    Tek Group                                    670.00 Operating Expense
               6/15/2023    City of Sherwood                           1,100.00 Operating Expense
               6/15/2023    Harris County                              1,281.78 Operating Expense
               6/15/2023    DC Treasurer                               5,662.00 Operating Expense
               6/15/2023    Shockoe Old Stone Row Owner                6,600.00 Operating Expense
               6/15/2023    DirecTV                                    8,835.12 Operating Expense
               6/15/2023    Ronald K Rueve                             9,350.00 Operating Expense
               6/15/2023    Chargify                                  10,500.00 Operating Expense
               6/15/2023    Avalara                                   28,788.00 Operating Expense
               6/16/2023    Portland General                              20.60 Operating Expense
               6/16/2023    Portland General                              55.07 Operating Expense
               6/16/2023    Portland General                              59.69 Operating Expense
               6/16/2023    Portland General                              97.14 Operating Expense
               6/16/2023    Portland General                             138.35 Operating Expense
               6/16/2023    Comcast                                    1,646.19 Operating Expense
               6/16/2023    USF Payment                                3,390.51 Operating Expense
               6/16/2023    Comcast                                    4,850.35 Operating Expense
               6/16/2023    Comcast                                   40,657.09 Operating Expense
               6/16/2023    Regions Credit Card                       85,803.44 Operating Expense
               6/20/2023    Portland General                              27.87 Operating Expense
               6/20/2023    Portland General                              27.87 Operating Expense
               6/20/2023    Portland General                              27.87 Operating Expense
               6/20/2023    Portland General                             383.83 Operating Expense
               6/20/2023    Paychex                                      400.00 Payroll and Related
               6/20/2023    Frontier                                   2,269.07 Operating Expense
               6/20/2023    Paychex                                  111,711.84 Payroll and Related
               6/21/2023    South Carolina Department of Revenue           1.31 Operating Expense
               6/21/2023    The Bancorp                                   49.99 Payroll and Related
               6/21/2023    Portland General                              88.03 Operating Expense
               6/21/2023    Webfile Tax Payment                          163.55 Operating Expense
               6/21/2023    Georgia ITS Tax                              294.25 Operating Expense
               6/21/2023    Consolidated First Tech                      837.84 Operating Expense
               6/21/2023    The Bancorp                                1,368.94 Payroll and Related
               6/21/2023    Cigna                                     14,626.41 Payroll and Related
               6/22/2023    Colorado Department of Revenue                 1.14 Operating Expense
               6/22/2023    Twin City Voip Inc                            10.00 Operating Expense
               6/22/2023    MarketSpark Inc.                              30.06 Operating Expense
               6/22/2023    The Bancorp                                   38.51 Payroll and Related
               6/22/2023    Virginia Department of Taxation               43.26 Operating Expense
               6/22/2023    Alabama Department of Revenue                 50.00 Operating Expense
               6/22/2023    Alabama Department of Revenue                 50.00 Operating Expense
               6/22/2023    Tennessee State Department of Revenue         71.00 Operating Expense
               6/22/2023    North Carolina Department of Revenue         134.31 Operating Expense
               6/22/2023    Rise Broadbrand                              151.94 Operating Expense
               6/22/2023    Georgia Natural Gas                          189.41 Operating Expense
               6/22/2023    American Disposal Services                   217.67 Operating Expense
               6/22/2023    Employee Travel/Reimbursement                461.20 Operating Expense
               6/22/2023    RM Communications                            645.00 Operating Expense
               6/22/2023    Tek Group                                    700.00 Operating Expense


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GigaMonster Networks LLC                                                                               Case 23-10051-JKS
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               6/22/2023    Genesys Cloud Services                        820.87 Operating Expense
               6/22/2023    Allen Wayne Jones                             825.00 Operating Expense
               6/22/2023    John Lee                                    1,025.00 Operating Expense
               6/22/2023    Alabaster Consulting                        1,074.53 Operating Expense
               6/22/2023    Paychex                                     1,137.92 Payroll and Related
               6/22/2023    Verizon                                     1,641.97 Operating Expense
               6/22/2023    Paychex                                     1,646.40 Payroll and Related
               6/22/2023    US Signal                                   1,960.00 Operating Expense
               6/22/2023    FiberLight, LLC                             2,560.63 Operating Expense
               6/22/2023    Nevada Communications                       2,795.00 Operating Expense
               6/22/2023    Concur Technologies, Inc.                   3,215.62 Operating Expense
               6/22/2023    John Lee                                    3,570.00 Operating Expense
               6/22/2023    Cox Communications                          4,605.00 Operating Expense
               6/22/2023    Field Nation LLC -AR                        5,000.00 Operating Expense
               6/22/2023    Portland NAP                                8,500.00 Operating Expense
               6/22/2023    TelecomResults LLC                         20,000.00 Operating Expense
               6/22/2023    GigaMonster Networks Costa Rica, SRL       75,409.26 Operating Expense
               6/22/2023    Zayo Group, LLC                           154,575.46 Operating Expense
               6/23/2023    Shentel                                        32.76 Operating Expense
               6/23/2023    Frontier                                       57.22 Operating Expense
               6/23/2023    Optum Bank                                    150.00 Operating Expense
               6/23/2023    Cox Communications                            224.28 Operating Expense
               6/23/2023    Clifton Larson Allen                          262.50 Operating Expense
               6/23/2023    Integra Telecome                              616.80 Operating Expense
               6/23/2023    CenturyLink                                   716.00 Operating Expense
               6/23/2023    Frontier                                    1,004.96 Operating Expense
               6/23/2023    CenturyLink                                 1,073.10 Operating Expense
               6/23/2023    CenturyLink                                 1,073.10 Operating Expense
               6/23/2023    CenturyLink                                 1,171.47 Operating Expense
               6/23/2023    CenturyLink                                 1,180.41 Operating Expense
               6/23/2023    CenturyLink                                 1,201.87 Operating Expense
               6/23/2023    CenturyLink                                 1,212.60 Operating Expense
               6/23/2023    CenturyLink                                 1,234.07 Operating Expense
               6/23/2023    Comcast                                     1,246.95 Operating Expense
               6/23/2023    CenturyLink                                 1,256.52 Operating Expense
               6/23/2023    CenturyLink                                 1,289.00 Operating Expense
               6/23/2023    CenturyLink                                 1,574.38 Operating Expense
               6/23/2023    CenturyLink                                 2,901.34 Operating Expense
               6/23/2023    Collin McManus                              3,310.00 Operating Expense
               6/23/2023    Great-West Trust                            8,326.77 Payroll and Related
               6/26/2023    Frontier                                    3,226.56 Operating Expense
               6/28/2023    Braintree                                      20.36 Operating Expense
               6/28/2023    Marietta Power                                549.41 Operating Expense
               6/29/2023    Quench USA Inc                                 59.88 Operating Expense
               6/29/2023    Corporation Service Company                    75.00 Operating Expense
               6/29/2023    Corporation Service Company                    90.00 Operating Expense
               6/29/2023    American Broadband Services                    99.00 Operating Expense
               6/29/2023    New Day Network Solutions                     100.00 Operating Expense
               6/29/2023    ACE Micro LLC                                 102.50 Operating Expense
               6/29/2023    ACE Micro LLC                                 256.25 Operating Expense


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GigaMonster Networks LLC                                                                              Case 23-10051-JKS
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               Date                         Vendor Name            Amount              Category
               6/29/2023    ACE Micro LLC                               256.25 Operating Expense
               6/29/2023    Eclipse Master Condo                        400.00 Operating Expense
               6/29/2023    RM Communications                           465.00 Operating Expense
               6/29/2023    Delmarva Power                              558.94 Operating Expense
               6/29/2023    Tek Group                                   590.00 Operating Expense
               6/29/2023    Allen Wayne Jones                           600.00 Operating Expense
               6/29/2023    Allen Wayne Jones                           675.00 Operating Expense
               6/29/2023    NWAX                                        750.00 Operating Expense
               6/29/2023    Verizon                                   1,016.84 Operating Expense
               6/29/2023    Verizon Connect Fleet USA LLC             1,070.60 Operating Expense
               6/29/2023    NiTel Inc                                 1,095.91 Operating Expense
               6/29/2023    Quext Connect                             1,100.00 Operating Expense
               6/29/2023    FiberLight, LLC                           1,108.72 Operating Expense
               6/29/2023    Marsh USA                                 1,591.00 Operating Expense
               6/29/2023    Uniti Fiber                               1,921.19 Operating Expense
               6/29/2023    Logix Communications                      2,019.28 Operating Expense
               6/29/2023    Wirestar, Inc.                            2,243.65 Operating Expense
               6/29/2023    Nashville Electric Service                2,249.89 Operating Expense
               6/29/2023    Crown Castle Fiber                        2,442.84 Operating Expense
               6/29/2023    Cologix Inc                               2,537.06 Operating Expense
               6/29/2023    Cogent Communications                     2,625.42 Operating Expense
               6/29/2023    Merchtel                                  2,657.74 Capital Expenditures
               6/29/2023    Tierpoint                                 2,813.62 Operating Expense
               6/29/2023    Metlife                                   2,934.58 Payroll and Related
               6/29/2023    H5 Fund VIII LLC                          4,627.38 Operating Expense
               6/29/2023    Flexential                                4,769.93 Operating Expense
               6/29/2023    Shaheen Development                       5,148.66 Operating Expense
               6/29/2023    CoreSite L.P.                             6,460.90 Operating Expense
               6/29/2023    CoreSite L.P.                             6,617.65 Operating Expense
               6/29/2023    Ronald K Rueve                            6,850.00 Operating Expense
               6/29/2023    CallTEk Inc                               8,446.92 Operating Expense
               6/29/2023    Crown Castle Fiber                       14,301.93 Operating Expense
               6/29/2023    FiberLight, LLC                          14,705.14 Operating Expense
               6/29/2023    Crown Castle Fiber                       16,213.56 Operating Expense
               6/29/2023    Marsh USA                                17,832.07 Operating Expense
               6/29/2023    Telx, LLC                                25,395.08 Operating Expense
               6/29/2023    Time Warner Cable                        31,878.88 Operating Expense
               6/29/2023    Equinix, INC                             45,828.75 Operating Expense
               6/29/2023    Cogent Communications                    69,592.88 Operating Expense
               6/29/2023    Novo Advisors                           242,313.38 Professional Fees
               6/30/2023    Colorado Department of Revenue                1.11 Operating Expense
               6/30/2023    Northwest Natural                            57.89 Operating Expense
               6/30/2023    Spectrum                                     79.98 Operating Expense
               6/30/2023    Spectrum                                    119.97 Operating Expense
               6/30/2023    Cox Communications                          254.28 Operating Expense
               6/30/2023    Comcast                                     411.02 Operating Expense
               6/30/2023    Comcast                                     546.27 Operating Expense
               6/30/2023    Comcast                                   1,086.09 Operating Expense
               6/30/2023    CenturyLink                               1,201.87 Operating Expense
               6/30/2023    Shentel                                   1,599.50 Operating Expense


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GigaMonster Networks LLC                                                                               Case 23-10051-JKS
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               6/30/2023    Spirit Communications (Segra)               1,837.46 Operating Expense
               6/30/2023    Level3                                      4,338.21 Operating Expense
               6/30/2023    Level3                                     51,681.47 Operating Expense
               7/3/2023     Frontier                                       85.22 Operating Expense
               7/3/2023     Authorize.Net                                 234.43 Operating Expense
               7/3/2023     AT&T                                          410.16 Operating Expense
               7/3/2023     Nextra                                        419.23 Operating Expense
               7/3/2023     Comcast                                       456.63 Operating Expense
               7/3/2023     Sea Watch Condominiums                        500.00 Operating Expense
               7/3/2023     Frontier                                      871.89 Operating Expense
               7/3/2023     Authorize.Net                                 876.53 Operating Expense
               7/3/2023     Summit Broadband                            1,546.29 Operating Expense
               7/3/2023     Authorize.Net                               1,579.59 Operating Expense
               7/3/2023     Timron Enterprises                          1,591.22 Operating Expense
               7/3/2023     Frontier                                    3,192.81 Operating Expense
               7/3/2023     Authorize.Net                               5,693.95 Operating Expense
               7/3/2023     Wave Internet                              12,127.17 Operating Expense
               7/5/2023     Authorize.Net                                  23.00 Operating Expense
               7/5/2023     Portland General                               43.45 Operating Expense
               7/5/2023     Authorize.Net                                  62.25 Operating Expense
               7/5/2023     Consolidated First Tech                        80.54 Operating Expense
               7/5/2023     Authorize.Net                                  87.37 Operating Expense
               7/5/2023     TRS                                           335.22 Operating Expense
               7/5/2023     Authorize.Net                                 433.40 Operating Expense
               7/5/2023     DirecTV                                     1,138.20 Operating Expense
               7/5/2023     DirecTV                                     2,276.40 Operating Expense
               7/5/2023     DirecTV                                     4,567.54 Operating Expense
               7/5/2023     Paychex                                   102,031.12 Payroll and Related
               7/6/2023     DirecTV                                    (4,567.54) Operating Expense
               7/6/2023     DirecTV                                    (2,276.40) Operating Expense
               7/6/2023     DirecTV                                    (1,138.20) Operating Expense
               7/6/2023     Authorize.Net                                  45.43 Operating Expense
               7/6/2023     Alabaster Consulting                          424.85 Operating Expense
               7/6/2023     RM Communications                             615.00 Operating Expense
               7/6/2023     Alianza                                       753.30 Operating Expense
               7/6/2023     Tek Group                                     880.00 Operating Expense
               7/6/2023     John Lee                                      920.00 Operating Expense
               7/6/2023     Paychex                                       962.69 Payroll and Related
               7/6/2023     Allen Wayne Jones                           1,125.00 Operating Expense
               7/6/2023     Paychex                                     1,632.65 Payroll and Related
               7/6/2023     GAVS Technologies                           2,280.00 Operating Expense
               7/6/2023     GAVS Technologies                           3,040.00 Operating Expense
               7/6/2023     Data Foundry Inc                            3,150.00 Operating Expense
               7/6/2023     Alianza                                     5,481.90 Operating Expense
               7/6/2023     UCC Advisors                               18,220.00 Professional Fees
               7/6/2023     TelecomResults LLC                         20,000.00 Operating Expense
               7/6/2023     MTS Advisory                               20,000.00 Professional Fees
               7/6/2023     UCC Advisors                               30,645.00 Professional Fees
               7/6/2023     Faegre Drinker Biddle Reath LLP            58,982.70 Professional Fees
               7/6/2023     GigaMonster Networks Costa Rica, SRL       75,409.26 Operating Expense


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               7/6/2023     UCC Advisors                             142,317.00 Professional Fees
               7/7/2023     Authorize.Net                                 69.00 Operating Expense
               7/7/2023     City of Chelsea                               96.23 Operating Expense
               7/7/2023     DirecTV                                      149.30 Operating Expense
               7/7/2023     Optum Bank                                   200.00 Operating Expense
               7/7/2023     Braintree                                    304.16 Operating Expense
               7/7/2023     Braintree                                    511.45 Operating Expense
               7/7/2023     Collin McManus                             3,270.00 Operating Expense
               7/7/2023     AT&T                                       4,928.32 Operating Expense
               7/7/2023     Great-West Trust                           7,582.91 Payroll and Related
               7/7/2023     Broadriver Communications                 14,343.08 Operating Expense
               7/10/2023    DirecTV                                     (149.30) Operating Expense
               7/10/2023    Regions - Banking Fees                       419.65 Operating Expense
               7/10/2023    Regions - Banking Fees                       682.19 Operating Expense
               7/10/2023    Regions - Banking Fees                     1,622.35 Operating Expense
               7/10/2023    Field Nation LLC -AR                       3,000.00 Operating Expense
               7/11/2023    UCC Advisors                            (141,198.53) Professional Fees
               7/11/2023    Portland General                              83.41 Operating Expense
               7/11/2023    Authorize.Net                                148.63 Operating Expense
               7/11/2023    DirecTV                                    6,054.30 Operating Expense
               7/12/2023    DirecTV                                   (6,054.30) Operating Expense
               7/12/2023    Portland General                             (83.41) Operating Expense
               7/12/2023    DirecTV                                      193.20 Operating Expense
               7/12/2023    Comcast                                      301.63 Operating Expense
               7/12/2023    DirecTV                                      306.18 Operating Expense
               7/12/2023    DirecTV                                      341.25 Operating Expense
               7/12/2023    DirecTV                                      386.40 Operating Expense
               7/12/2023    DirecTV                                      437.75 Operating Expense
               7/12/2023    DirecTV                                      543.90 Operating Expense
               7/12/2023    DirecTV                                      646.38 Operating Expense
               7/12/2023    DirecTV                                      740.25 Operating Expense
               7/12/2023    DirecTV                                      853.65 Operating Expense
               7/12/2023    DirecTV                                      938.70 Operating Expense
               7/12/2023    DirecTV                                      955.08 Operating Expense
               7/12/2023    DirecTV                                    1,081.50 Operating Expense
               7/12/2023    DirecTV                                    1,268.40 Operating Expense
               7/12/2023    DirecTV                                    1,289.40 Operating Expense
               7/12/2023    DirecTV                                    1,432.62 Operating Expense
               7/12/2023    DirecTV                                    1,837.50 Operating Expense
               7/12/2023    DirecTV                                    1,850.10 Operating Expense
               7/12/2023    DirecTV                                    2,105.25 Operating Expense
               7/12/2023    DirecTV                                    6,601.00 Operating Expense
               7/13/2023    DirecTV                                   (6,601.00) Operating Expense
               7/13/2023    DirecTV                                   (1,837.50) Operating Expense
               7/13/2023    DirecTV                                   (1,432.62) Operating Expense
               7/13/2023    DirecTV                                   (1,289.40) Operating Expense
               7/13/2023    DirecTV                                   (1,268.40) Operating Expense
               7/13/2023    DirecTV                                     (955.08) Operating Expense
               7/13/2023    DirecTV                                     (646.38) Operating Expense
               7/13/2023    DirecTV                                     (437.75) Operating Expense


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GigaMonster Networks LLC                                                                               Case 23-10051-JKS
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               Date                        Vendor Name              Amount              Category
               7/13/2023    DirecTV                                     (386.40) Operating Expense
               7/13/2023    DirecTV                                     (306.18) Operating Expense
               7/13/2023    DirecTV                                     (193.20) Operating Expense
               7/13/2023    Tierpoint                                     39.04 Operating Expense
               7/13/2023    Tek Group                                    400.00 Operating Expense
               7/13/2023    RM Communications                            555.00 Operating Expense
               7/13/2023    Allen Wayne Jones                          1,050.00 Operating Expense
               7/13/2023    Nevada Communications                      3,380.00 Operating Expense
               7/13/2023    John Lee                                   4,760.00 Operating Expense
               7/13/2023    Genesys Cloud Services                     7,465.00 Operating Expense
               7/14/2023    Authorize.Net                                 20.95 Operating Expense
               7/14/2023    MarketSpark Inc.                              30.06 Operating Expense
               7/14/2023    Portland General                              36.58 Operating Expense
               7/14/2023    AT&T                                         199.99 Operating Expense
               7/14/2023    Authorize.Net                                325.03 Operating Expense
               7/14/2023    Helio Broadband LLC                          753.44 Operating Expense
               7/14/2023    USF Payment                                3,390.51 Operating Expense
               7/14/2023    Skywire Holdings                           4,144.00 Operating Expense
               7/14/2023    AT&T                                     134,760.46 Operating Expense
               7/17/2023    USF Payment                               (3,390.51) Operating Expense
               7/17/2023    Worcester County                               2.25 Operating Expense
               7/17/2023    City of Hagerstown                            23.55 Operating Expense
               7/17/2023    Comcast                                       32.55 Operating Expense
               7/17/2023    Portland General                              58.11 Operating Expense
               7/17/2023    Portland General                              68.37 Operating Expense
               7/17/2023    Portland General                              70.19 Operating Expense
               7/17/2023    Authorize.Net                                300.00 Operating Expense
               7/17/2023    Authorize.Net                                434.05 Operating Expense
               7/17/2023    Comcast                                      556.27 Operating Expense
               7/17/2023    Worcester County                             753.96 Operating Expense
               7/18/2023    Worcester County                            (753.96) Operating Expense
               7/18/2023    Comcast                                     (556.27) Operating Expense
               7/18/2023    Comcast                                      (32.55) Operating Expense
               7/18/2023    City of Hagerstown                           (23.55) Operating Expense
               7/18/2023    Portland General                              20.60 Operating Expense
               7/18/2023    Portland General                              53.02 Operating Expense
               7/18/2023    Portland General                              55.25 Operating Expense
               7/18/2023    Portland General                              90.06 Operating Expense
               7/18/2023    Portland General                             127.34 Operating Expense
               7/18/2023    Paychex                                  101,788.84 Payroll and Related
               7/18/2023    Regions Credit Card                      104,557.80 Operating Expense
               7/19/2023    Stop Payment                                 300.00 Capital Expenditures
               7/19/2023    Authorize.Net                                300.00 Operating Expense
               7/19/2023    Portland General                             360.70 Operating Expense
               7/20/2023    Paychex                                        0.14 Payroll and Related
               7/20/2023    Portland General                              27.87 Operating Expense
               7/20/2023    Portland General                              27.87 Operating Expense
               7/20/2023    Portland General                              27.87 Operating Expense
               7/20/2023    Authorize.Net                                 60.00 Operating Expense
               7/20/2023    Maria Pinto                                   79.95 Operating Expense


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               Date                       Vendor Name               Amount              Category
               7/20/2023    New Day Network Solutions                    100.00 Operating Expense
               7/20/2023    Optum Bank                                   125.00 Operating Expense
               7/20/2023    Employee Travel/Reimbursement                135.63 Operating Expense
               7/20/2023    Authorize.Net                                188.68 Operating Expense
               7/20/2023    Alabaster Consulting                         250.00 Operating Expense
               7/20/2023    Tek Group                                    320.00 Operating Expense
               7/20/2023    RM Communications                            350.00 Operating Expense
               7/20/2023    Paychex                                      400.00 Payroll and Related
               7/20/2023    Employee Travel/Reimbursement                478.76 Operating Expense
               7/20/2023    California Department of Taxes               539.00 Operating Expense
               7/20/2023    NWAX                                         750.00 Operating Expense
               7/20/2023    Allen Wayne Jones                            825.00 Operating Expense
               7/20/2023    John Lee                                   1,050.00 Operating Expense
               7/20/2023    Paychex                                    1,095.38 Payroll and Related
               7/20/2023    Alabaster Consulting                       1,099.45 Operating Expense
               7/20/2023    Paychex                                    1,560.15 Payroll and Related
               7/20/2023    Western Data LLC                           1,570.00 Operating Expense
               7/20/2023    Uniti Fiber                                1,939.57 Operating Expense
               7/20/2023    Collin McManus                             2,010.00 Operating Expense
               7/20/2023    Cogent Communications                      2,588.31 Operating Expense
               7/20/2023    365 Operating Company                      2,705.24 Operating Expense
               7/20/2023    GAVS Technologies                          3,360.00 Operating Expense
               7/20/2023    John Lee                                   3,935.00 Operating Expense
               7/20/2023    CallTEk Inc                                8,446.92 Operating Expense
               7/20/2023    Cigna                                     18,391.89 Payroll and Related
               7/20/2023    Hogan                                     49,269.82 Professional Fees
               7/20/2023    Faegre Drinker Biddle Reath LLP           62,887.75 Professional Fees
               7/20/2023    Hogan                                     87,039.15 Professional Fees
               7/20/2023    Hogan                                    109,208.38 Professional Fees
               7/21/2023    Colorado Department of Revenue                 0.38 Operating Expense
               7/21/2023    Webfile Tax Payment                           51.13 Operating Expense
               7/21/2023    Portland General                              86.35 Operating Expense
               7/21/2023    Georgia ITS Tax                              184.03 Operating Expense
               7/21/2023    CenturyLink                                  717.20 Operating Expense
               7/21/2023    Frontier                                     990.00 Operating Expense
               7/21/2023    Vexus Fiber                                1,008.03 Operating Expense
               7/21/2023    CenturyLink                                1,050.00 Operating Expense
               7/21/2023    CenturyLink                                1,050.00 Operating Expense
               7/21/2023    CenturyLink                                1,146.25 Operating Expense
               7/21/2023    CenturyLink                                1,155.00 Operating Expense
               7/21/2023    CenturyLink                                1,176.00 Operating Expense
               7/21/2023    CenturyLink                                1,186.50 Operating Expense
               7/21/2023    CenturyLink                                1,202.44 Operating Expense
               7/21/2023    CenturyLink                                1,207.50 Operating Expense
               7/21/2023    CenturyLink                                1,229.47 Operating Expense
               7/21/2023    Comcast                                    1,246.95 Operating Expense
               7/21/2023    CenturyLink                                1,289.00 Operating Expense
               7/21/2023    Shentel                                    1,599.50 Operating Expense
               7/21/2023    Comcast                                    1,646.19 Operating Expense
               7/21/2023    Spirit Communications (Segra)              1,837.52 Operating Expense


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               7/21/2023    Frontier                                  2,147.69 Operating Expense
               7/21/2023    Frontier                                  2,914.31 Operating Expense
               7/21/2023    Great-West Trust                          7,720.73 Payroll and Related
               7/21/2023    Chargify                                 10,500.00 Operating Expense
               7/21/2023    Comcast                                  40,657.09 Operating Expense
               7/24/2023    Tennessee State Department of Revenue        42.00 Operating Expense
               7/24/2023    Comp of Maryland                             44.76 Operating Expense
               7/24/2023    Georgia Natural Gas                          68.36 Operating Expense
               7/24/2023    Virginia Department of Taxation              84.89 Operating Expense
               7/24/2023    Rise Broadbrand                             151.94 Operating Expense
               7/24/2023    Wave Internet                            10,909.53 Operating Expense
               7/25/2023    County of Rivers                              2.25 Operating Expense
               7/25/2023    Authorize.Net                               516.60 Operating Expense
               7/25/2023    Worcester County                            753.96 Operating Expense
               7/25/2023    USF Payment                               3,390.51 Operating Expense
               7/26/2023    Montgomery City Tax                           0.28 Operating Expense
               7/26/2023    Montgomery City Tax                          22.09 Operating Expense
               7/26/2023    Authorize.Net                                35.00 Operating Expense
               7/26/2023    Montgomery City Tax                          45.34 Operating Expense
               7/26/2023    Authorize.Net                               300.00 Operating Expense
               7/26/2023    County of Santa                             362.13 Operating Expense
               7/26/2023    Authorize.Net                             5,650.06 Operating Expense
               7/27/2023    Hampton Tax                                   0.75 Operating Expense
               7/27/2023    Mill Creek Residential                        1.35 Operating Expense
               7/27/2023    Arris Market Square                           2.84 Operating Expense
               7/27/2023    HM Southmore, LLC                             6.85 Operating Expense
               7/27/2023    Trea Sycamore Lane LLC                        8.56 Operating Expense
               7/27/2023    County of Henrico                             9.94 Operating Expense
               7/27/2023    The Reserve at Collegiate Acre               14.04 Operating Expense
               7/27/2023    SkyHouse - Dallas                            14.12 Operating Expense
               7/27/2023    Sellwood Bridge Apartments LLC               15.60 Operating Expense
               7/27/2023    SkyHouse Midtown Apartments - 22             26.68 Operating Expense
               7/27/2023    Skyhouse - River Oaks                        33.00 Operating Expense
               7/27/2023    American Assets Trust                        38.75 Capital Expenditures
               7/27/2023    Disregarded Entity CG Finings                42.89 Operating Expense
               7/27/2023    Apple Valley                                 46.27 Operating Expense
               7/27/2023    American Assets Trust                        48.00 Capital Expenditures
               7/27/2023    Wellington Grande, LLC                       64.99 Operating Expense
               7/27/2023    Crimson                                      68.41 Operating Expense
               7/27/2023    Delmarva Power                               78.26 Operating Expense
               7/27/2023    Hampton Tax                                  79.76 Operating Expense
               7/27/2023    1200 Acqua, LLC                              85.72 Operating Expense
               7/27/2023    The Pergola Group                            86.68 Operating Expense
               7/27/2023    D Street Village                             90.00 Operating Expense
               7/27/2023    American Broadband Services                  90.00 Operating Expense
               7/27/2023    Glisan Apartments LLC                        94.66 Operating Expense
               7/27/2023    St Mary's County                             95.66 Operating Expense
               7/27/2023    AVR Skyhouse Tampa LLC                      100.46 Operating Expense
               7/27/2023    Falcon Creek Luxury Apartments              102.71 Operating Expense
               7/27/2023    Arbors at Cahaba River, LLC                 105.87 Operating Expense


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GigaMonster Networks LLC                                                                                  Case 23-10051-JKS
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               7/27/2023    American Assets Trust                           115.50 Operating Expense
               7/27/2023    Kromer Investments                              118.78 Operating Expense
               7/27/2023    River West Condominiums                         135.49 Operating Expense
               7/27/2023    1163 West Peachtree St. Apartments              148.19 Operating Expense
               7/27/2023    BR Edgewater Leaseco, LLC                       150.00 Operating Expense
               7/27/2023    SCH-IH Glenwood Venture LLC                     153.01 Operating Expense
               7/27/2023    Standard JSP Olin, LLC                          175.25 Operating Expense
               7/27/2023    American Broadband Services                     180.00 Operating Expense
               7/27/2023    American Disposal Services                      217.67 Operating Expense
               7/27/2023    Stonecreek Grand LLC                            237.85 Operating Expense
               7/27/2023    Encompass PHX, LLC                              240.00 Operating Expense
               7/27/2023    Tek Group                                       240.00 Operating Expense
               7/27/2023    Belmont Flats Venture LLC                       250.50 Operating Expense
               7/27/2023    San Bernadino                                   284.97 Operating Expense
               7/27/2023    Belletera Realty Corporation                    300.55 Operating Expense
               7/27/2023    100 6th St. Development- 1290                   301.54 Operating Expense
               7/27/2023    Ken and Peg Lamar                               317.32 Operating Expense
               7/27/2023    CRP/Pollack 72 Milton Owner, LLC                333.53 Operating Expense
               7/27/2023    Marietta Power                                  433.86 Operating Expense
               7/27/2023    CWS ROCKWALL, L. P.                             439.23 Operating Expense
               7/27/2023    WST 1010 Water Street LLC                       510.00 Operating Expense
               7/27/2023    Manor Grand LLC                                 511.14 Operating Expense
               7/27/2023    Fairfield Bear Creek LP                         580.26 Operating Expense
               7/27/2023    Artisan Village, LP                             583.49 Operating Expense
               7/27/2023    Allen Wayne Jones                               600.00 Operating Expense
               7/27/2023    Alianza                                         713.16 Operating Expense
               7/27/2023    RM Communications                               740.00 Operating Expense
               7/27/2023    Steadfast Apartment REIT                        788.12 Operating Expense
               7/27/2023    SAIA Motor Freight Line, LLC                    796.16 Capital Expenditures
               7/27/2023    Orange County                                   807.40 Operating Expense
               7/27/2023    Expo Line Owner TRS, LLC                        881.82 Operating Expense
               7/27/2023    WST 1077 Water Street LLC                       885.32 Operating Expense
               7/27/2023    California Public Utilities Commission        1,000.00 Operating Expense
               7/27/2023    NiTel Inc                                     1,096.09 Operating Expense
               7/27/2023    Quext Connect                                 1,110.00 Operating Expense
               7/27/2023    Healthpeak Properties, Inc.                   1,275.02 Operating Expense
               7/27/2023    Lithonia Acquisition I, LLC                   1,388.79 Operating Expense
               7/27/2023    WST 815 Water Street LLC                      1,493.83 Operating Expense
               7/27/2023    Marsh USA                                     1,591.00 Operating Expense
               7/27/2023    CC Sands, LLC                                 1,640.17 Operating Expense
               7/27/2023    Pelican Pointe Slidell, LLC                   1,741.14 Operating Expense
               7/27/2023    Marsh USA                                     1,824.25 Operating Expense
               7/27/2023    The Preserve ASA MT, LLC                      2,002.42 Operating Expense
               7/27/2023    Landing at Mansfield Apartment                2,232.31 Operating Expense
               7/27/2023    Wirestar, Inc.                                2,243.65 Operating Expense
               7/27/2023    Crown Castle Fiber                            2,442.84 Operating Expense
               7/27/2023    GAVS Technologies                             2,520.00 Operating Expense
               7/27/2023    Nicholas Place, LLC                           2,632.21 Operating Expense
               7/27/2023    365 Operating Company                         2,705.24 Operating Expense
               7/27/2023    Tierpoint                                     2,813.62 Operating Expense


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               7/27/2023    Concur Technologies, Inc.                      3,215.62 Operating Expense
               7/27/2023    Place County Tax Collector                     3,627.67 Operating Expense
               7/27/2023    SmartCity Telecom                              4,104.28 Operating Expense
               7/27/2023    CallTEk Inc                                    4,223.46 Operating Expense
               7/27/2023    Authorize.Net                                  4,282.13 Operating Expense
               7/27/2023    County of Rivers                               4,392.26 Operating Expense
               7/27/2023    MM NoHo Apartments, LLC                        4,559.88 Operating Expense
               7/27/2023    Alianza                                        5,200.26 Operating Expense
               7/27/2023    Smith Gambrell & Russell                       6,172.75 Professional Fees
               7/27/2023    CoreSite L.P.                                  6,460.90 Operating Expense
               7/27/2023    Ryan, LLC                                      6,500.00 Operating Expense
               7/27/2023    CoreSite L.P.                                  6,617.65 Operating Expense
               7/27/2023    Portland NAP                                   8,500.00 Operating Expense
               7/27/2023    Time Warner Cable                             11,659.00 Operating Expense
               7/27/2023    Time Warner Cable                             11,659.00 Operating Expense
               7/27/2023    Crown Castle Fiber                            14,301.93 Operating Expense
               7/27/2023    Crown Castle Fiber                            16,213.56 Operating Expense
               7/27/2023    Marsh USA                                     17,832.07 Operating Expense
               7/27/2023    TelecomResults LLC                            20,000.00 Operating Expense
               7/27/2023    Marsh USA                                     20,160.40 Operating Expense
               7/27/2023    Telx, LLC                                     25,395.08 Operating Expense
               7/27/2023    Time Warner Cable                             28,901.64 Operating Expense
               7/27/2023    Equinix, INC                                  46,115.40 Operating Expense
               7/27/2023    Cogent Communications                         54,772.10 Operating Expense
               7/27/2023    Salesforce                                    64,545.24 Operating Expense
               7/27/2023    Zayo Group, LLC                              151,573.82 Operating Expense
               7/28/2023    Howard City Tax                                    1.50 Operating Expense
               7/28/2023    Washington County                                  2.00 Operating Expense
               7/28/2023    Washington County                                 21.81 Operating Expense
               7/28/2023    Howard City Tax                                  839.08 Operating Expense
               7/28/2023    CenturyLink                                    1,574.38 Operating Expense
               7/28/2023    Clifton Larson Allen                           2,362.50 Operating Expense
               7/28/2023    CenturyLink                                    2,901.34 Operating Expense
               7/28/2023    Level3                                        46,012.08 Operating Expense
               7/31/2023    California Public Utilities Commission             0.30 Operating Expense
               7/31/2023    Authorize.Net                                     59.99 Operating Expense
               7/31/2023    Authorize.Net                                    300.00 Operating Expense
               7/31/2023    Field Nation LLC -AR                           1,000.00 Operating Expense
               7/31/2023    Ziply Fiber                                   14,958.32 Operating Expense
               7/31/2023    Paychex                                      103,498.02 Payroll and Related
               8/1/2023     Authorize.Net                                    190.27 Operating Expense
               8/1/2023     Authorize.Net                                    374.36 Operating Expense
               8/1/2023     Timron Enterprises                             1,591.22 Operating Expense
               8/1/2023     Authorize.Net                                  5,040.46 Operating Expense
               8/2/2023     Authorize.Net                                     23.00 Operating Expense
               8/2/2023     Authorize.Net                                     59.52 Operating Expense
               8/2/2023     Authorize.Net                                     64.80 Operating Expense
               8/2/2023     Authorize.Net                                    162.74 Operating Expense
               8/2/2023     Authorize.Net                                    197.53 Operating Expense
               8/2/2023     Authorize.Net                                    404.90 Operating Expense


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               8/2/2023     Sea Watch Condominiums                       500.00 Operating Expense
               8/2/2023     Authorize.Net                              1,162.45 Operating Expense
               8/3/2023     DirecTV                                     (500.00) Operating Expense
               8/3/2023     Minneapolis LHA III                            0.15 Operating Expense
               8/3/2023     St Paul LHA IX                                 1.45 Operating Expense
               8/3/2023     Blaine LHA III, LLLP                           2.15 Operating Expense
               8/3/2023     Minneapolis Leased Housing                     4.40 Operating Expense
               8/3/2023     Woodbury Leased Housing                       10.61 Operating Expense
               8/3/2023     Minnetonka LHA III                            11.43 Operating Expense
               8/3/2023     Champlin LHA IV, LLLP                         11.89 Operating Expense
               8/3/2023     Cottage Grove LHA                             13.10 Operating Expense
               8/3/2023     Spring Lake Park LHA                          14.05 Operating Expense
               8/3/2023     Columbia Heights LHA                          15.35 Operating Expense
               8/3/2023     Lavista Associates, Inc                       19.42 Operating Expense
               8/3/2023     St Cloud LHA III, LLLP                        20.20 Operating Expense
               8/3/2023     Minneapolis, LHA IX, L                        22.82 Operating Expense
               8/3/2023     Baltazar Rubio                                25.00 Operating Expense
               8/3/2023     Florence L Brown                              25.00 Operating Expense
               8/3/2023     Michael Mason                                 25.00 Operating Expense
               8/3/2023     John Leone                                    25.00 Operating Expense
               8/3/2023     Eric Chipurnoi                                25.00 Operating Expense
               8/3/2023     Mark Torie                                    25.00 Operating Expense
               8/3/2023     Kevin Gillespie                               25.00 Operating Expense
               8/3/2023     Myrna Diamond                                 25.00 Operating Expense
               8/3/2023     Charles Miller                                25.00 Operating Expense
               8/3/2023     Harry Berman                                  25.00 Operating Expense
               8/3/2023     Frank Cangelosi                               25.00 Operating Expense
               8/3/2023     Ilie Chioariu                                 25.00 Operating Expense
               8/3/2023     Michael Engler                                25.00 Operating Expense
               8/3/2023     Marie Grismer                                 25.00 Operating Expense
               8/3/2023     Robert Walff                                  25.00 Operating Expense
               8/3/2023     Kris Fitze                                    25.00 Operating Expense
               8/3/2023     Patrick Calo                                  25.00 Operating Expense
               8/3/2023     Kris Fitze                                    25.00 Operating Expense
               8/3/2023     Christopher Atwood                            25.00 Operating Expense
               8/3/2023     Jim Miles                                     37.50 Operating Expense
               8/3/2023     Richard Quach                                 39.99 Operating Expense
               8/3/2023     Peter Kalian                                  40.00 Operating Expense
               8/3/2023     Cigna                                         44.92 Payroll and Related
               8/3/2023     Portland General                              49.37 Operating Expense
               8/3/2023     Mln Company                                   55.00 Operating Expense
               8/3/2023     Cigna                                         58.76 Payroll and Related
               8/3/2023     Rick Ray                                      70.87 Operating Expense
               8/3/2023     James Woody                                   75.00 Operating Expense
               8/3/2023     Jule Kempske                                  75.00 Operating Expense
               8/3/2023     Marye Lucas                                   75.00 Operating Expense
               8/3/2023     Grace Ferrone                                 75.00 Operating Expense
               8/3/2023     Rosario Fichter                               75.00 Operating Expense
               8/3/2023     Joletta Rankin                                75.00 Operating Expense
               8/3/2023     John Beachley                                 80.00 Operating Expense


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               8/3/2023     Bernice Brosious                            87.50 Operating Expense
               8/3/2023     Christina Johnston                          95.33 Operating Expense
               8/3/2023     Christina Johnston                          99.00 Operating Expense
               8/3/2023     Andrew Eppeldauer                          100.00 Operating Expense
               8/3/2023     Jeffrey Hudkins                            100.00 Operating Expense
               8/3/2023     James Parker                               100.00 Operating Expense
               8/3/2023     Jacquie Jones                              100.00 Operating Expense
               8/3/2023     State Comptroller                          103.74 Operating Expense
               8/3/2023     Velocity A Manages Services Co             110.00 Operating Expense
               8/3/2023     Benny Kirkner                              120.00 Operating Expense
               8/3/2023     William Delahanty                          120.00 Operating Expense
               8/3/2023     Sharmila Bhatia                            125.00 Operating Expense
               8/3/2023     Robert Derencz                             125.00 Operating Expense
               8/3/2023     Jim Hackett                                125.00 Operating Expense
               8/3/2023     Steve Harrison                             125.00 Operating Expense
               8/3/2023     Gary Hamrick                               125.00 Operating Expense
               8/3/2023     George Furey                               150.00 Operating Expense
               8/3/2023     Timothy Hill                               150.00 Operating Expense
               8/3/2023     Optum Bank                                 150.00 Operating Expense
               8/3/2023     Nicole White                               160.00 Operating Expense
               8/3/2023     Employee Travel/Reimbursement              161.42 Operating Expense
               8/3/2023     Albert Counselman                          175.00 Operating Expense
               8/3/2023     Angela Liebl                               175.00 Operating Expense
               8/3/2023     Deidre Porter                              175.00 Operating Expense
               8/3/2023     Vicki Stokes                               175.00 Operating Expense
               8/3/2023     Mary Lou Rehak                             175.00 Operating Expense
               8/3/2023     Ira Merin                                  175.00 Operating Expense
               8/3/2023     John Marcantoni                            175.00 Operating Expense
               8/3/2023     Chris Mcdaniel                             175.00 Operating Expense
               8/3/2023     Gregory Kulick                             175.00 Operating Expense
               8/3/2023     Douglas Berry                              175.00 Operating Expense
               8/3/2023     Kenneth Lee                                175.00 Operating Expense
               8/3/2023     Gigi Dermes                                175.00 Operating Expense
               8/3/2023     Jennifer Siciliano                         175.00 Operating Expense
               8/3/2023     William Herrman                            175.00 Operating Expense
               8/3/2023     William Nakhleh                            175.00 Operating Expense
               8/3/2023     Mary Cannon                                175.00 Operating Expense
               8/3/2023     Keith Lindler                              175.00 Operating Expense
               8/3/2023     Michael Robinson                           175.00 Operating Expense
               8/3/2023     Jacob Hess                                 175.00 Operating Expense
               8/3/2023     Ken Mccaw                                  175.00 Operating Expense
               8/3/2023     Lisa Deraymond                             175.00 Operating Expense
               8/3/2023     Carmen Gutierrez                           195.00 Operating Expense
               8/3/2023     Anaette Mccauley                           200.00 Operating Expense
               8/3/2023     Braemar 805 Llc.                           225.00 Operating Expense
               8/3/2023     Bob Halliday                               225.00 Operating Expense
               8/3/2023     Russell Waybright                          225.00 Operating Expense
               8/3/2023     KF Orlando Development                     227.55 Operating Expense
               8/3/2023     Ann Hirrlinger                             250.00 Operating Expense
               8/3/2023     Frederick Billig                           250.00 Operating Expense


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               8/3/2023     Christine Jones                               250.00 Operating Expense
               8/3/2023     Michael Grossfeld                             250.00 Operating Expense
               8/3/2023     Kerry Weathington                             250.00 Operating Expense
               8/3/2023     Susan Slagle                                  275.00 Operating Expense
               8/3/2023     Martin Kirsch                                 275.00 Operating Expense
               8/3/2023     Sharon Beaty                                  275.00 Operating Expense
               8/3/2023     Leslie Grimes                                 280.00 Operating Expense
               8/3/2023     Christina Johnston                            282.33 Operating Expense
               8/3/2023     Nancy Kozlowski                               300.00 Operating Expense
               8/3/2023     Tek Group                                     320.00 Operating Expense
               8/3/2023     Mark Piccirilli                               360.00 Operating Expense
               8/3/2023     Eclipse Master Condo                          400.00 Operating Expense
               8/3/2023     BREIT MF Arbour Square                        401.06 Operating Expense
               8/3/2023     Greystar                                      736.50 Operating Expense
               8/3/2023     Mecklenburg County Tax Collection             875.07 Operating Expense
               8/3/2023     Verizon Connect Fleet USA LLC               1,070.60 Operating Expense
               8/3/2023     Paychex                                     1,206.49 Payroll and Related
               8/3/2023     Paychex                                     1,473.90 Payroll and Related
               8/3/2023     Tony Chater                                 1,599.75 Operating Expense
               8/3/2023     BREIT MF Park Ave LLC                       1,736.04 Operating Expense
               8/3/2023     Logix Communications                        1,824.25 Operating Expense
               8/3/2023     Los Angeles County Tax Collector            1,832.38 Operating Expense
               8/3/2023     Breit MF Sea Harbor LL                      2,205.95 Operating Expense
               8/3/2023     BREIT MF The Greens LL                      2,450.55 Operating Expense
               8/3/2023     Collin McManus                              2,660.00 Operating Expense
               8/3/2023     Breckinridge LP                             4,386.33 Operating Expense
               8/3/2023     BREIT MF The Greens LL                      4,530.71 Operating Expense
               8/3/2023     H5 Fund VIII LLC                            4,559.00 Operating Expense
               8/3/2023     Cox Communications                          4,605.00 Operating Expense
               8/3/2023     Flexential                                  4,769.93 Operating Expense
               8/3/2023     CoreSite L.P.                               6,617.65 Operating Expense
               8/3/2023     BCORE MF Notting Hills                      7,384.53 Operating Expense
               8/3/2023     Great-West Trust                            8,555.11 Payroll and Related
               8/3/2023     Merchtel                                   10,000.00 Capital Expenditures
               8/3/2023     Charter Communications                     16,443.70 Operating Expense
               8/3/2023     MTS Advisory                               20,000.00 Professional Fees
               8/3/2023     Kroll                                      71,547.33 Professional Fees
               8/3/2023     Novo Advisors                             164,625.00 Professional Fees
               8/3/2023     Pachulski stang Ziehl                     756,938.47 Professional Fees
               8/4/2023     Shelby County Alabama                          99.29 Operating Expense
               8/4/2023     Spectrum                                      119.97 Operating Expense
               8/4/2023     Braintree                                     223.75 Operating Expense
               8/4/2023     Braintree                                     464.33 Operating Expense
               8/4/2023     TLC Solutions                               7,320.00 Capital Expenditures
               8/4/2023     TLC Solutions                               8,287.00 Capital Expenditures
               8/4/2023     TLC Solutions                               8,347.00 Capital Expenditures
               8/4/2023     US Trustee                                 76,787.94 Professional Fees
               8/4/2023     GigaMonster Networks Costa Rica, SRL      145,559.25 Operating Expense
               8/7/2023     BCORE MF Notting Hills                     (7,384.53) Operating Expense
               8/7/2023     BREIT MF Arbour Square                       (401.06) Operating Expense


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               8/7/2023     Harris County                                   15.43 Operating Expense
               8/7/2023     Comcast                                        556.27 Operating Expense
               8/7/2023     Comcast                                        562.32 Operating Expense
               8/8/2023     Authorize.Net                                  381.28 Operating Expense
               8/8/2023     Los Angeles County Tax Collector             1,299.61 Operating Expense
               8/8/2023     The Bancorp                                  2,570.00 Payroll and Related
               8/9/2023     Authorize.Net                                    7.03 Operating Expense
               8/9/2023     Portland General                               192.15 Operating Expense
               8/9/2023     Regions - Banking Fees                         416.80 Operating Expense
               8/9/2023     Regions - Banking Fees                         638.57 Operating Expense
               8/9/2023     Regions - Banking Fees                       1,510.88 Operating Expense
               8/10/2023    State of New Jersey                              3.00 Operating Expense
               8/10/2023    Employee Travel/Reimbursement                   35.00 Operating Expense
               8/10/2023    Employee Travel/Reimbursement                   40.00 Operating Expense
               8/10/2023    Alabaster Consulting                            99.95 Operating Expense
               8/10/2023    UPS                                            229.57 Operating Expense
               8/10/2023    Smith Gambrell & Russell                       309.00 Professional Fees
               8/10/2023    BREIT MF Arbour Square                         401.06 Operating Expense
               8/10/2023    John Lee                                       505.00 Operating Expense
               8/10/2023    RM Communications                              570.00 Operating Expense
               8/10/2023    Shockoe Old Stone Row Owner                    600.00 Operating Expense
               8/10/2023    Allen Wayne Jones                              600.00 Operating Expense
               8/10/2023    Tek Group                                      800.00 Operating Expense
               8/10/2023    John Lee                                     2,520.00 Operating Expense
               8/10/2023    Data Foundry Inc                             3,740.21 Operating Expense
               8/10/2023    BCORE MF Notting Hills                       7,384.53 Operating Expense
               8/10/2023    CallTEk Inc                                  8,446.92 Operating Expense
               8/10/2023    Chargify                                    10,500.00 Operating Expense
               8/10/2023    Ronald K Rueve                              15,025.00 Operating Expense
               8/10/2023    TelecomResults LLC                          20,000.00 Operating Expense
               8/11/2023    Portland General                               106.76 Operating Expense
               8/11/2023    Authorize.Net                                  889.05 Operating Expense
               8/11/2023    Comcast                                      1,246.95 Operating Expense
               8/11/2023    Comcast                                      1,646.19 Operating Expense
               8/11/2023    AT&T                                         3,752.62 Operating Expense
               8/11/2023    Level3                                       4,338.21 Operating Expense
               8/11/2023    DirecTV                                     12,114.85 Operating Expense
               8/11/2023    Comcast                                     40,657.09 Operating Expense
               8/14/2023    DirecTV                                    (12,114.85) Operating Expense
               8/14/2023    City of Murfrees                                 2.00 Operating Expense
               8/14/2023    City of Murfrees                                 4.00 Operating Expense
               8/14/2023    Portland General                                38.02 Operating Expense
               8/14/2023    Authorize.Net                                   69.00 Operating Expense
               8/14/2023    Authorize.Net                                  100.00 Operating Expense
               8/14/2023    DirecTV                                        392.65 Operating Expense
               8/14/2023    DirecTV                                        779.05 Operating Expense
               8/14/2023    DirecTV                                        881.75 Operating Expense
               8/14/2023    Frontier                                     1,572.46 Operating Expense
               8/14/2023    DirecTV                                      2,543.05 Operating Expense
               8/14/2023    DirecTV                                      2,585.05 Operating Expense


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               8/14/2023    DirecTV                                    3,681.25 Operating Expense
               8/14/2023    DirecTV                                   13,207.00 Operating Expense
               8/15/2023    DirecTV                                  (13,207.00) Operating Expense
               8/15/2023    DirecTV                                   (3,681.25) Operating Expense
               8/15/2023    DirecTV                                   (2,585.05) Operating Expense
               8/15/2023    DirecTV                                   (2,543.05) Operating Expense
               8/15/2023    DirecTV                                     (881.75) Operating Expense
               8/15/2023    DirecTV                                     (779.05) Operating Expense
               8/15/2023    DirecTV                                     (392.65) Operating Expense
               8/15/2023    Pennsylvania Department of Revenue             1.00 Operating Expense
               8/15/2023    State of New Jersey                            8.00 Operating Expense
               8/15/2023    Utah State Tax Commission                     30.00 Operating Expense
               8/15/2023    Authorize.Net                                 32.01 Operating Expense
               8/15/2023    State of New Jersey                           56.00 Operating Expense
               8/15/2023    Georgia Natural Gas                           68.36 Operating Expense
               8/15/2023    Portland General                              73.16 Operating Expense
               8/15/2023    Minnesota Department of Revenue              106.00 Operating Expense
               8/15/2023    North Carolina Department of Revenue         114.00 Operating Expense
               8/15/2023    Town of Ocean City                           408.92 Operating Expense
               8/15/2023    USF Payment                                1,591.84 Operating Expense
               8/15/2023    Paychex                                   82,304.63 Payroll and Related
               8/15/2023    AT&T                                     142,222.39 Operating Expense
               8/16/2023    Regions Credit Card                       29,984.60 Operating Expense
               8/17/2023    Authorize.Net                                  7.47 Operating Expense
               8/17/2023    The Couryard Lofts Trp Julian                 15.00 Operating Expense
               8/17/2023    MarketSpark Inc.                              30.07 Operating Expense
               8/17/2023    Richard Quach                                 39.99 Operating Expense
               8/17/2023    Stephanie Palmer                             162.00 Operating Expense
               8/17/2023    Philip Samawicz                              175.00 Operating Expense
               8/17/2023    Cindy Watson                                 225.00 Operating Expense
               8/17/2023    Audrey Riegel                                250.00 Operating Expense
               8/17/2023    Carla Pisano                                 250.00 Operating Expense
               8/17/2023    Portland General                             326.82 Operating Expense
               8/17/2023    Allen Wayne Jones                            525.00 Operating Expense
               8/17/2023    American Broadband Services                  565.00 Operating Expense
               8/17/2023    RM Communications                            570.00 Operating Expense
               8/17/2023    RM Communications                            705.00 Operating Expense
               8/17/2023    Verizon                                      808.23 Operating Expense
               8/17/2023    John Lee                                   1,130.00 Operating Expense
               8/17/2023    Paychex                                    1,136.02 Payroll and Related
               8/17/2023    Paychex                                    1,301.40 Payroll and Related
               8/17/2023    Allen Wayne Jones                          1,350.00 Operating Expense
               8/17/2023    US Signal                                  1,960.00 Operating Expense
               8/17/2023    Uniti Fiber                                1,983.10 Operating Expense
               8/17/2023    US Signal                                  1,989.40 Operating Expense
               8/17/2023    Metlife                                    2,349.67 Payroll and Related
               8/17/2023    Concur Technologies, Inc.                  3,215.62 Operating Expense
               8/17/2023    Universal Media Group                      3,600.00 Operating Expense
               8/17/2023    SmartCity Telecom                          4,104.28 Operating Expense
               8/17/2023    John Lee                                   4,365.00 Operating Expense


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               8/17/2023    Cox Communications                         4,605.00 Operating Expense
               8/17/2023    Avalara                                    5,235.00 Operating Expense
               8/17/2023    Universal Media Group                      7,100.00 Operating Expense
               8/17/2023    Cobb County                               11,201.29 Operating Expense
               8/17/2023    GigaMonster Networks Costa Rica, SRL     142,336.55 Operating Expense
               8/18/2023    Gwinnett County                                2.84 Operating Expense
               8/18/2023    Forsyth County                                 3.00 Operating Expense
               8/18/2023    Optum Bank                                    50.00 Operating Expense
               8/18/2023    Gwinnett County                               64.51 Operating Expense
               8/18/2023    Forsyth County                                78.66 Operating Expense
               8/18/2023    Gwinnett County                              128.81 Operating Expense
               8/18/2023    AT&T                                         225.00 Operating Expense
               8/18/2023    Clifton Larson Allen                         262.50 Operating Expense
               8/18/2023    Gwinnett County                              304.84 Operating Expense
               8/18/2023    Virginia Dept of Tax                         916.00 Operating Expense
               8/18/2023    Frontier                                     990.00 Operating Expense
               8/18/2023    Vexus Fiber                                1,008.03 Operating Expense
               8/18/2023    CenturyLink                                1,050.00 Operating Expense
               8/18/2023    CenturyLink                                1,050.00 Operating Expense
               8/18/2023    CenturyLink                                1,146.25 Operating Expense
               8/18/2023    CenturyLink                                1,155.00 Operating Expense
               8/18/2023    CenturyLink                                1,176.00 Operating Expense
               8/18/2023    CenturyLink                                1,229.47 Operating Expense
               8/18/2023    CenturyLink                                1,289.00 Operating Expense
               8/18/2023    Collin McManus                             1,390.00 Operating Expense
               8/18/2023    CenturyLink                                1,575.26 Operating Expense
               8/18/2023    Frontier                                   1,939.84 Operating Expense
               8/18/2023    CenturyLink                                2,905.83 Operating Expense
               8/18/2023    Great-West Trust                           6,116.82 Payroll and Related
               8/21/2023    Paychex                                      400.00 Payroll and Related
               8/21/2023    Dekalb County                                452.48 Operating Expense
               8/21/2023    US Signal                                  1,960.00 Operating Expense
               8/21/2023    US Signal                                  1,989.40 Operating Expense
               8/21/2023    Dekalb County                              2,317.06 Operating Expense
               8/22/2023    Webfile Tax Payment                           66.87 Operating Expense
               8/22/2023    Rise Broadbrand                              151.94 Operating Expense
               8/22/2023    Georgia ITS Tax                              152.96 Operating Expense
               8/22/2023    Authorize.Net                                341.63 Operating Expense
               8/22/2023    Cigna                                     19,429.33 Payroll and Related
               8/23/2023    Virginia Department of Taxation                0.61 Operating Expense
               8/23/2023    Tennessee State Department of Revenue        102.44 Operating Expense
               8/24/2023    Cox Communications                        (4,605.00) Operating Expense
               8/24/2023    State of New Jersey                            5.00 Operating Expense
               8/24/2023    Authorize.Net                                 54.00 Operating Expense
               8/24/2023    Verizon Connect Fleet USA LLC                535.30 Operating Expense
               8/24/2023    RM Communications                            665.00 Operating Expense
               8/24/2023    Allen Wayne Jones                            750.00 Operating Expense
               8/24/2023    NiTel Inc                                  1,096.09 Operating Expense
               8/24/2023    Cox Communications                         2,228.23 Operating Expense
               8/24/2023    Nashville Electric Service                 2,249.89 Operating Expense


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               8/24/2023    Crown Castle Fiber                         2,442.84 Operating Expense
               8/24/2023    Cogent Communications                      2,550.51 Operating Expense
               8/24/2023    UPS                                        3,557.02 Operating Expense
               8/24/2023    H5 Fund VIII LLC                           4,627.38 Operating Expense
               8/24/2023    Ronald K Rueve                             6,550.00 Operating Expense
               8/24/2023    Portland NAP                               8,500.00 Operating Expense
               8/24/2023    Crown Castle Fiber                        14,301.93 Operating Expense
               8/24/2023    Crown Castle Fiber                        16,213.56 Operating Expense
               8/24/2023    Faegre Drinker Biddle Reath LLP           19,248.55 Professional Fees
               8/24/2023    TelecomResults LLC                        20,000.00 Operating Expense
               8/24/2023    Telx, LLC                                 25,395.08 Operating Expense
               8/24/2023    Kroll                                     32,587.60 Professional Fees
               8/25/2023    Walton County                                  1.50 Operating Expense
               8/25/2023    Walton County                                 87.19 Operating Expense
               8/25/2023    Cox Communications                           289.90 Operating Expense
               8/25/2023    TRS                                          308.55 Operating Expense
               8/25/2023    Spirit Communications (Segra)              1,837.52 Operating Expense
               8/25/2023    Level3                                     4,338.21 Operating Expense
               8/25/2023    Bennett Thrasher                          55,000.00 Operating Expense
               8/28/2023    DirecTV                                      112.68 Operating Expense
               8/28/2023    Georgia Power                                470.05 Operating Expense
               8/28/2023    Georgia Power                                526.35 Operating Expense
               8/28/2023    Frontier                                   2,175.05 Operating Expense
               8/28/2023    Frontier                                   2,914.31 Operating Expense
               8/28/2023    Paychex                                   61,260.48 Payroll and Related
               8/29/2023    Travis County                                  1.00 Operating Expense
               8/29/2023    Authorize.Net                                 10.00 Operating Expense
               8/29/2023    Travis County                                 20.19 Operating Expense
               8/29/2023    Authorize.Net                                 74.40 Operating Expense
               8/29/2023    Paychex                                      295.52 Payroll and Related
               8/30/2023    Authorize.Net                                300.00 Operating Expense
               8/31/2023    Mlg/Pf Barlett Investments                    14.81 Operating Expense
               8/31/2023    Tierpoint                                     53.62 Operating Expense
               8/31/2023    American Disposal Services                   244.66 Operating Expense
               8/31/2023    Employee Travel/Reimbursement                299.78 Operating Expense
               8/31/2023    BREIT MF Arbour Square                       401.06 Operating Expense
               8/31/2023    NWAX                                       1,000.00 Operating Expense
               8/31/2023    Paychex                                    1,186.40 Payroll and Related
               8/31/2023    Marsh USA                                  1,591.00 Operating Expense
               8/31/2023    Bmf Iv Ga Sahdow Ridge                     1,805.24 Operating Expense
               8/31/2023    Logix Communications                       1,824.25 Operating Expense
               8/31/2023    365 Operating Company                      2,705.24 Operating Expense
               8/31/2023    Tierpoint                                  2,813.62 Operating Expense
               8/31/2023    Genesys Cloud Services                     7,124.55 Operating Expense
               8/31/2023    BCORE MF Notting Hills                     7,384.53 Operating Expense
               8/31/2023    Time Warner Cable                         11,659.00 Operating Expense
               8/31/2023    Charter Communications                    16,040.24 Operating Expense
               8/31/2023    Marsh USA                                 17,832.07 Operating Expense
               8/31/2023    Time Warner Cable                         29,462.69 Operating Expense
               8/31/2023    Equinix, INC                              45,182.16 Operating Expense


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               8/31/2023    Cogent Communications                      53,589.02 Operating Expense
               9/1/2023     Authorize.Net                                  25.00 Operating Expense
               9/1/2023     Authorize.Net                                  59.00 Operating Expense
               9/1/2023     Spectrum                                      119.97 Operating Expense
               9/1/2023     Authorize.Net                                 271.71 Operating Expense
               9/1/2023     Comcast                                       456.63 Operating Expense
               9/1/2023     Universal Media Group                       4,800.00 Operating Expense
               9/1/2023     Authorize.Net                               4,818.78 Operating Expense
               9/1/2023     Level3                                     35,100.56 Operating Expense
               9/5/2023     Authorize.Net                                  23.00 Operating Expense
               9/5/2023     Optum Bank                                     25.00 Operating Expense
               9/5/2023     Authorize.Net                                  50.82 Operating Expense
               9/5/2023     Authorize.Net                                  55.20 Operating Expense
               9/5/2023     Authorize.Net                                 155.98 Operating Expense
               9/5/2023     Authorize.Net                                 343.90 Operating Expense
               9/5/2023     Authorize.Net                                 350.90 Operating Expense
               9/5/2023     Sea Watch Condominiums                        500.00 Operating Expense
               9/5/2023     Integra Telecome                            1,878.23 Operating Expense
               9/5/2023     Great-West Trust                            3,126.92 Payroll and Related
               9/5/2023     Wave Internet                              11,342.86 Operating Expense
               9/6/2023     Authorize.Net                                  35.00 Operating Expense
               9/6/2023     TRS                                           308.55 Operating Expense
               9/7/2023     MarketSpark Inc.                                8.02 Operating Expense
               9/7/2023     Robert Putman                                  25.80 Operating Expense
               9/7/2023     Authorize.Net                                  59.00 Operating Expense
               9/7/2023     Katherine Bolton                               75.26 Operating Expense
               9/7/2023     Virginia Cone                                  99.00 Operating Expense
               9/7/2023     Braintree                                     220.76 Operating Expense
               9/7/2023     Braintree                                     411.08 Operating Expense
               9/7/2023     Collin McManus                              3,270.00 Operating Expense
               9/7/2023     Flexential                                  5,119.93 Operating Expense
               9/7/2023     Alianza                                     5,496.93 Operating Expense
               9/7/2023     Ronald K Rueve                              7,275.00 Operating Expense
               9/7/2023     MTS Advisory                               20,000.00 Professional Fees
               9/7/2023     TelecomResults LLC                         20,000.00 Operating Expense
               9/7/2023     Zayo Group, LLC                           110,713.30 Operating Expense
               9/7/2023     GigaMonster Networks Costa Rica, SRL      128,644.15 Operating Expense
               9/7/2023     Pachulski stang Ziehl                     587,727.92 Professional Fees
               9/8/2023     Henry County Tax Commissioner                   1.50 Operating Expense
               9/8/2023     Authorize.Net                                  74.00 Operating Expense
               9/8/2023     Henry County Tax Commissioner                 130.84 Operating Expense
               9/8/2023     City of Marietta                           29,214.60 Operating Expense
               9/11/2023    Authorize.Net                                   5.00 Operating Expense
               9/11/2023    Regions - Banking Fees                        417.05 Operating Expense
               9/11/2023    Regions - Banking Fees                        728.23 Operating Expense
               9/11/2023    Spectrum                                      820.52 Operating Expense
               9/11/2023    Regions - Banking Fees                      1,498.18 Operating Expense
               9/11/2023    AT&T                                        4,742.02 Operating Expense
               9/12/2023    Authorize.Net                                 169.59 Operating Expense
               9/12/2023    Paychex                                    45,590.08 Payroll and Related


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               9/14/2023    Cherokee County                                 21.09 Operating Expense
               9/14/2023    Portland General                                37.87 Operating Expense
               9/14/2023    Authorize.Net                                   59.00 Operating Expense
               9/14/2023    Paychex                                      1,157.65 Payroll and Related
               9/14/2023    Cherokee County                              1,355.01 Operating Expense
               9/14/2023    Collin McManus                               3,010.00 Operating Expense
               9/14/2023    Broadriver Communications                    3,420.75 Operating Expense
               9/14/2023    CallTEk Inc                                  8,446.92 Operating Expense
               9/14/2023    Chargify                                    10,500.00 Operating Expense
               9/14/2023    Kroll                                       22,677.39 Professional Fees
               9/14/2023    Novo Advisors                              124,132.50 Professional Fees
               9/15/2023    Authorize.Net                                   29.95 Operating Expense
               9/15/2023    Authorize.Net                                   44.00 Operating Expense
               9/15/2023    Portland General                                79.92 Operating Expense
               9/15/2023    USF Payment                                  1,591.84 Operating Expense
               9/18/2023    Optum Bank                                      25.00 Operating Expense
               9/18/2023    Authorize.Net                                  119.00 Operating Expense
               9/18/2023    US Trustee                                     570.06 Professional Fees
               9/18/2023    Regions Credit Card                         30,517.70 Operating Expense
               9/18/2023    AT&T                                       116,927.36 Operating Expense
               9/19/2023    Portland General                               136.90 Operating Expense
               9/19/2023    Authorize.Net                                  223.67 Operating Expense
               9/19/2023    DirecTV                                        607.67 Operating Expense
               9/19/2023    DirecTV                                      3,552.85 Operating Expense
               9/19/2023    Great-West Trust                             3,864.68 Payroll and Related
               9/20/2023    City of Acworth                                 59.44 Operating Expense
               9/20/2023    Authorize.Net                                  119.00 Operating Expense
               9/20/2023    Paychex                                        400.00 Payroll and Related
               9/20/2023    Cigna                                       17,219.57 Payroll and Related
               9/21/2023    Joan Stobel                                    158.40 Operating Expense
               9/21/2023    Clayton County                                 287.27 Operating Expense
               9/21/2023    PGE                                            515.98 Operating Expense
               9/21/2023    Collin McManus                               1,650.00 Operating Expense
               9/21/2023    Pelican Pointe Slidell, LLC                  1,741.14 Operating Expense
               9/21/2023    Ronald K Rueve                               3,550.00 Operating Expense
               9/21/2023    GAVS Technologies                            5,760.00 Operating Expense
               9/21/2023    Steven Mutton                                8,580.00 Operating Expense
               9/22/2023    Hall County Tax Commissioner                     2.00 Operating Expense
               9/22/2023    Rutherford County                                2.00 Operating Expense
               9/22/2023    City of Clarksville                              7.67 Operating Expense
               9/22/2023    Rutherford County                              131.00 Operating Expense
               9/22/2023    Clifton Larson Allen                           262.50 Operating Expense
               9/22/2023    City of Clarksville                            308.00 Operating Expense
               9/22/2023    Rise Broadbrand                                328.88 Operating Expense
               9/22/2023    Montgomery City Tax                            762.09 Operating Expense
               9/22/2023    Frontier                                     1,939.84 Operating Expense
               9/22/2023    Hall County Tax Commissioner                 3,063.58 Operating Expense
               9/25/2023    GiGstreem                                   94,000.00 Operating Expense
               9/26/2023    Authorize.Net                                   49.00 Operating Expense
               9/26/2023    City of Dallas                                 350.03 Operating Expense


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               Date                        Vendor Name               Amount              Category
               9/26/2023    Wendy Burgess, Tax Assessor                   790.06 Operating Expense
               9/26/2023    Vexus Fiber                                 1,008.03 Operating Expense
               9/26/2023    Comcast                                     1,246.95 Operating Expense
               9/26/2023    Comcast                                     1,646.19 Operating Expense
               9/26/2023    Paychex                                    32,498.10 Payroll and Related
               9/26/2023    Comcast                                    40,657.09 Operating Expense
               9/29/2023    Joan Stobel                                   304.00 Operating Expense
               9/29/2023    ACE Micro LLC                                 307.50 Operating Expense
               9/29/2023    Andrew Coke                                   425.48 Operating Expense
               9/29/2023    Broadriver Communications                     830.34 Operating Expense
               9/29/2023    Craig Weaver                                1,105.00 Operating Expense
               9/29/2023    Logix Communications                        1,824.25 Operating Expense
               9/29/2023    John Lee                                    1,915.00 Operating Expense
               9/29/2023    Merchtel                                    2,000.00 Capital Expenditures
               9/29/2023    Tanya Dickerson                             2,136.00 Operating Expense
               9/29/2023    Nick Raviele                                2,639.25 Operating Expense
               9/29/2023    Steven Mutton                               3,074.50 Operating Expense
               9/29/2023    Flexential                                  3,413.28 Operating Expense
               9/29/2023    H5 Fund VIII LLC                            4,559.00 Operating Expense
               9/29/2023    Marsh USA                                  19,423.07 Operating Expense
               9/29/2023    TelecomResults LLC                         20,000.00 Operating Expense
               9/29/2023    Faegre Drinker Biddle Reath LLP            61,245.25 Professional Fees
               9/29/2023    Pachulski stang Ziehl                     445,980.95 Professional Fees
               10/2/2023    Authorize.Net                                  16.10 Operating Expense
               10/2/2023    Authorize.Net                                  41.15 Operating Expense
               10/2/2023    Authorize.Net                                  50.00 Operating Expense
               10/2/2023    Paychex                                     1,157.65 Payroll and Related
               10/2/2023    Authorize.Net                               1,905.20 Operating Expense
               10/3/2023    Authorize.Net                                   0.95 Operating Expense
               10/3/2023    Authorize.Net                                   1.40 Operating Expense
               10/3/2023    Authorize.Net                                  23.00 Operating Expense
               10/3/2023    City of Sugar Hill                             33.14 Operating Expense
               10/3/2023    Authorize.Net                                 111.30 Operating Expense
               10/3/2023    Great-West Trust                            2,385.24 Payroll and Related
               10/4/2023    Richard Quach                                  39.99 Operating Expense
               10/4/2023    Dr Scott Fantz                                 40.50 Operating Expense
               10/4/2023    Katharine Bolton                               50.44 Operating Expense
               10/4/2023    City of Murfreesboro                           67.00 Operating Expense
               10/4/2023    Shelby County Alabama                         100.20 Operating Expense
               10/4/2023    505 Courtland                                 304.92 Operating Expense
               10/4/2023    TRS                                           308.55 Operating Expense
               10/4/2023    Metrolpolitan Trustee                         716.69 Operating Expense
               10/4/2023    Craig Weaver                                1,105.00 Operating Expense
               10/5/2023    Braintree                                       0.36 Operating Expense
               10/5/2023    Braintree                                      23.97 Operating Expense
               10/5/2023    Authorize.Net                                  59.00 Operating Expense
               10/5/2023    Fulton County Tax Commissioner             13,011.81 Operating Expense
               10/6/2023    North American Numbering                       25.00 Operating Expense
               10/6/2023    Authorize.Net                                  35.00 Operating Expense
               10/6/2023    Northwest Natural Gas                          65.26 Operating Expense


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GigaMonster Networks LLC                                                                            Case 23-10051-JKS
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               Date                        Vendor Name               Amount             Category
               10/6/2023    Comcast Business                             178.59 Operating Expense
               10/6/2023    NiTel Inc                                  1,096.09 Operating Expense
               10/6/2023    Nick Raviele                               1,130.83 Operating Expense
               10/6/2023    Uniti Fiber                                1,388.17 Operating Expense
               10/6/2023    Crown Castle Fiber                         2,442.84 Operating Expense
               10/6/2023    Steven Mutton                              2,645.50 Operating Expense
               10/6/2023    Conterra Networks                          2,652.03 Operating Expense
               10/6/2023    Concur Technologies, Inc.                  3,215.62 Operating Expense
               10/6/2023    CoreSite L.P.                              3,720.91 Operating Expense
               10/6/2023    Genesys Cloud Services                     5,274.76 Operating Expense
               10/6/2023    Charter Communications                     5,846.92 Operating Expense
               10/6/2023    Portland NAP                               5,950.00 Operating Expense
               10/6/2023    Verizon                                    6,356.13 Operating Expense
               10/6/2023    Ronald K Rueve                             6,954.48 Operating Expense
               10/6/2023    MTS Advisory                              20,000.00 Professional Fees
               10/6/2023    TelecomResults LLC                        20,000.00 Operating Expense
               10/6/2023    Telx, LLC                                 25,395.08 Operating Expense
               10/6/2023    Equinix, INC                              28,072.59 Operating Expense
               10/6/2023    Time Warner Cable                         41,122.42 Operating Expense
               10/6/2023    Cogent Communications                     57,080.86 Operating Expense
               10/10/2023   Spectrum                                      81.43 Operating Expense
               10/10/2023   City of Chelsea                               96.22 Operating Expense
               10/10/2023   Vexus Fiber                                  162.59 Operating Expense
               10/10/2023   Regions - Banking Fees                       415.85 Operating Expense
               10/10/2023   Comcast                                      556.32 Operating Expense
               10/10/2023   Regions - Banking Fees                       579.94 Operating Expense
               10/10/2023   Regions - Banking Fees                     1,077.66 Operating Expense
               10/10/2023   Frontier                                   1,584.06 Operating Expense
               10/10/2023   Clifton Larson Allen                       2,362.50 Operating Expense
               10/10/2023   Frontier                                   2,778.01 Operating Expense
               10/10/2023   Comcast                                    9,768.72 Operating Expense
               10/10/2023   Crown Castle Fiber                        17,816.35 Operating Expense
               10/11/2023   City of Kennesaw                               7.97 Operating Expense
               10/11/2023   Summit Broadband                           1,285.63 Operating Expense
               10/11/2023   GigaMonster Networks Costa Rica, SRL       3,060.00 Operating Expense
               10/12/2023   Smith Gambrell & Russell                     238.50 Professional Fees
               10/12/2023   Iconectiv                                    332.44 Operating Expense
               10/12/2023   Joan Stobel                                  400.00 Operating Expense
               10/12/2023   Andrew Coke                                  755.92 Operating Expense
               10/12/2023   Tanya Dickerson                            1,223.75 Operating Expense
               10/12/2023   USF Payment                                1,591.85 Operating Expense
               10/12/2023   Craig Weaver                               2,125.00 Operating Expense
               10/12/2023   Nick Raviele                               2,165.83 Operating Expense
               10/12/2023   Steven Mutton                              2,860.00 Operating Expense
               10/12/2023   ACE Micro LLC                              3,177.50 Operating Expense
               10/12/2023   Kroll                                     30,844.01 Professional Fees
               10/12/2023   Novo Advisors                             96,410.00 Professional Fees
               10/13/2023   Portland General                              38.15 Operating Expense
               10/13/2023   NWAX                                         750.00 Operating Expense
               10/13/2023   Jefferson County, J.T. Smallwood             991.98 Operating Expense


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GigaMonster Networks LLC                                                                                   Case 23-10051-JKS
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               Date                       Vendor Name                    Amount              Category
               10/13/2023   Comcast                                           997.56 Operating Expense
               10/13/2023   Comcast                                         1,316.95 Operating Expense
               10/13/2023   Comcast                                         1,454.40 Operating Expense
               10/13/2023   Comcast                                        32,500.80 Operating Expense
               10/16/2023   Portland General                                   65.35 Operating Expense
               10/16/2023   Integra Telecome                                   75.96 Operating Expense
               10/16/2023   Frontier                                          390.68 Operating Expense
               10/16/2023   Frontier                                          483.34 Operating Expense
               10/16/2023   Frontier                                          680.01 Operating Expense
               10/16/2023   AT&T                                            4,019.58 Operating Expense
               10/16/2023   Wave Internet                                   7,940.00 Operating Expense
               10/17/2023   Durham County                                     293.27 Operating Expense
               10/17/2023   Dallas County                                   3,723.07 Operating Expense
               10/17/2023   Regions Credit Card                             7,306.94 Operating Expense
               10/18/2023   Dorchester County                                   2.00 Operating Expense
               10/18/2023   Dorchester County                                  57.11 Operating Expense
               10/19/2023   Bartlett TN                                         0.95 Operating Expense
               10/19/2023   Bartlett TN                                         0.95 Operating Expense
               10/19/2023   Bartlett TN                                         1.73 Operating Expense
               10/19/2023   Bartlett TN                                        43.08 Operating Expense
               10/20/2023   Chris Mcdaniel                                    175.00 Operating Expense
               10/20/2023   Robert Dunn                                       243.33 Operating Expense
               10/20/2023   NiTel Inc                                         318.22 Operating Expense
               10/20/2023   Joan Stobel                                       400.00 Operating Expense
               10/20/2023   Cogent Communications                             405.56 Operating Expense
               10/20/2023   NWAX                                              525.00 Operating Expense
               10/20/2023   ACE Micro LLC                                     717.50 Operating Expense
               10/20/2023   York County Tax Collector                         877.94 Operating Expense
               10/20/2023   Nick Raviele                                    1,150.00 Operating Expense
               10/20/2023   Steven Mutton                                   1,358.50 Operating Expense
               10/20/2023   Logix Communications                            1,824.25 Operating Expense
               10/20/2023   US Signal                                       2,537.57 Operating Expense
               10/20/2023   TRS                                             2,776.95 Operating Expense
               10/20/2023   Crown Castle Fiber                              3,829.58 Operating Expense
               10/20/2023   USF Payment                                     7,805.55 Operating Expense
               10/20/2023   Equinix, INC                                   12,328.62 Operating Expense
               10/23/2023   Rise Broadbrand                                   505.82 Operating Expense
               10/24/2023   US Trustee                                     54,600.85 Professional Fees
               10/25/2023   Authorize.Net                                      25.00 Operating Expense
               10/27/2023   Tanya Dickerson                                   311.50 Operating Expense
               10/27/2023   Cogent Communications                             324.45 Operating Expense
               10/27/2023   Andrew Coke                                       879.56 Operating Expense
               10/27/2023   Steven Mutton                                   1,883.21 Operating Expense
               10/27/2023   Ronald K Rueve                                  4,259.89 Operating Expense
               10/30/2023   Paychex                                            15.00 Payroll and Related
               10/30/2023   Faegre Drinker Biddle Reath LLP               111,165.25 Professional Fees
               10/31/2023   Delmarva Power                                    603.57 Operating Expense
               10/31/2023   Frontier                                        1,099.24 Operating Expense
               10/31/2023   Summit Broadband                                3,069.73 Operating Expense
               10/31/2023   Spirit Communications (Segra)                   3,073.74 Operating Expense


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GigaMonster Networks LLC                                                                             Case 23-10051-JKS
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Statement of Disbursements - by Date

               Date                        Vendor Name               Amount              Category
               10/31/2023   Nashville Electric Service                  3,824.81 Operating Expense
               11/1/2023    Yamhill County                                 32.61 Operating Expense
               11/1/2023    Yamhill County                                  2.00 Operating Expense
               11/2/2023    Telx, LLC                                   4,095.98 Operating Expense
               11/2/2023    Steven Mutton                               1,108.25 Operating Expense
               11/2/2023    Craig Weaver                                  425.00 Operating Expense
               11/2/2023    West Harris County                             81.33 Operating Expense
               11/2/2023    Authorize.Net                                  23.00 Operating Expense
               11/2/2023    Cogent Communications                       4,006.89 Operating Expense
               11/6/2023    Washington County                           3,878.49 Operating Expense
               11/6/2023    Washington County                              74.06 Operating Expense
               11/6/2023    Multnomah County                           21,317.33 Operating Expense
               11/6/2023    Rockwall CAD                                  289.49 Operating Expense
               11/6/2023    Washington County                             935.92 Operating Expense
               11/6/2023    St. Lucie County                              177.75 Operating Expense
               11/6/2023    Orange County                               2,376.75 Operating Expense
               11/6/2023    Osceola County                              1,036.50 Operating Expense
               11/6/2023    Palm Beach                                    917.34 Operating Expense
               11/6/2023    Miami Dade County                              23.24 Operating Expense
               11/6/2023    Braintree                                       1.51 Operating Expense
               11/7/2023    Montgomery City Tax                            60.13 Operating Expense
               11/9/2023    Nancy Millan Tax Collector                 13,692.37 Operating Expense
               11/9/2023    Clifton Larson Allen                        4,095.98 Operating Expense
               11/9/2023    Steven Mutton                               1,108.25 Operating Expense
               11/9/2023    Regions - Banking Fees                        873.04 Operating Expense
               11/9/2023    Andrew Coke                                   755.48 Operating Expense
               11/9/2023    Regions - Banking Fees                        539.48 Operating Expense
               11/9/2023    Tanya Dickerson                               425.00 Operating Expense
               11/9/2023    Regions - Banking Fees                        414.75 Operating Expense
               11/9/2023    Brazos County                                 401.61 Operating Expense
               11/9/2023    Steven Mutton                                 250.25 Operating Expense
               11/10/2023   Bennett Thrasher                           55,000.00 Operating Expense
               11/10/2023   Comcast                                     1,300.57 Operating Expense
               11/10/2023   Aldine ISD                                    172.69 Operating Expense
               11/10/2023   Woodstock GA                                   34.65 Operating Expense
               11/10/2023   Aldine ISD                                      2.00 Operating Expense
               11/10/2023   Woodstock GA                                    1.95 Operating Expense
               11/13/2023   Wake County                                   994.81 Operating Expense
               11/13/2023   Collin County                                 795.92 Operating Expense
               11/13/2023   Wake County                                   721.54 Operating Expense
               11/13/2023   Hockley County                                561.17 Operating Expense
               11/13/2023   Gregg County                                  430.36 Operating Expense
               11/13/2023   Denton County                                 173.86 Operating Expense
               11/13/2023   Harris CO Prop                                 96.82 Operating Expense
               11/14/2023   AT&T                                          937.78 Operating Expense
               11/15/2023   Authorize.Net                                  29.00 Operating Expense
               11/16/2023   Wendy Burgess, Tax Assessor                 3,292.86 Operating Expense
               11/16/2023   Mecklenburg County Tax Collection              69.38 Operating Expense
               11/16/2023   Pachulski stang Ziehl                     145,940.60 Professional Fees
               11/16/2023   Novo Advisors                              91,187.50 Professional Fees


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GigaMonster Networks LLC                                                                                       Case 23-10051-JKS
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               Date                        Vendor Name                       Amount              Category
               11/16/2023   Kroll                                              21,375.99 Professional Fees
               11/16/2023   MTS Advisory                                       20,000.00 Professional Fees
               11/16/2023   Regions Credit Card                                 5,630.13 Operating Expense
               11/16/2023   Steven Mutton                                       1,048.19 Operating Expense
               11/16/2023   Authorize.Net                                          58.00 Operating Expense
               11/16/2023   Henrico County                                          9.94 Operating Expense
               11/17/2023   Frontier                                            1,812.54 Operating Expense
               11/20/2023   Spring Branch ISD Tax Office                          216.10 Operating Expense
               11/20/2023   Clear Creek ISD                                        97.11 Operating Expense
               11/20/2023   Spring Branch ISD Tax Office                            1.50 Operating Expense
               11/21/2023   Harris County                                       7,374.32 Operating Expense
               11/21/2023   St. Tammany Parish                                  1,471.05 Operating Expense
               11/21/2023   St. Tammany Parish                                    206.09 Operating Expense
               11/21/2023   St. Tammany Parish                                     89.77 Operating Expense
               11/22/2023   Ronald K Rueve                                      7,532.00 Operating Expense
               11/22/2023   Steven Mutton                                       1,369.94 Operating Expense
               11/22/2023   Andrew Coke                                           531.32 Operating Expense
               11/23/2023   City of Baltimore                                   1,114.56 Operating Expense
               11/24/2023   Travis County Tax Office                            3,205.59 Operating Expense
               11/27/2023   Travis County                                           1.00 Operating Expense
               11/28/2023   Authorize.Net                                          84.00 Operating Expense
               11/30/2023   Faegre Drinker Biddle Reath LLP                    58,031.09 Professional Fees
               11/30/2023   Pachulski stang Ziehl                             172,747.85 Professional Fees
               11/30/2023   Steven Mutton                                         729.30 Operating Expense
               11/30/2023   ACE Micro LLC                                         307.50 Operating Expense
               11/30/2023   Tanya Dickerson                                       242.50 Operating Expense
               11/30/2023   Admin America                                       1,645.25 Payroll and Related
               Total                                                     $ 31,482,606.76




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GigaMonster Networks LLC                                                                      Case 23-10051-JKS
Monthly Operating Report, Jan. 17 - Nov 30, 2023
11/30/23 - Accounts Payable Summary

                                                   Days Past Due
                               Current        31-60          61-90      91+        Total
                                  57,975              -        26,054    (1,824)     82,205

                              Past Due
                                 24,230




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GigaMonster Networks LLC                                                                                                                                  Case 23-10051-JKS
Monthly Operating Report, Jan. 17 - Nov 30, 2023
Statement of Operations

                                                                                   GigaMonster Networks
                                                                                     Income Statement
                                                                     For Period January 17, 2023, through Nov 30, 2023

                      January       February    March        April       May          June         July       August       September October November Cumulative
                       Total          Total     Total        Total       Total        Total       Total        Total         Total    Total    Total    Total

  Total Revenue         785,316     1,275,003   1,235,999    1,156,144   1,194,304   1,428,704    982,100      640,636         170,148   370,812       9,991      9,249,156


  Cost of Sales          57,642       863,776   1,252,819    1,080,027   1,134,635    845,813     753,352      528,714         358,303   295,592      11,216      7,181,890


  Gross Profit          727,673       411,227     (16,819)     76,116      59,670     582,891     228,747      111,921       (188,156)    75,220      (1,225)     2,067,266


  G&A Expenses          523,209       704,609   1,247,786     938,654     544,857     659,459     743,650      491,346         370,471    91,393      78,873      6,394,307


  Other Expenses         80,122       202,826     671,706       2,740     213,892     199,918      76,592      321,850         130,644         0           0      1,900,290


  Interest                      0           0     122,279            0           0            0           0            0             0         0           0        122,279


  Taxes                 135,718        23,851     103,544      22,684      20,137       6,370      16,784       22,458          38,019    28,706      72,724        490,994


  Professional Fees     559,655        20,000     219,868    1,734,566   2,217,552    387,682     443,544     1,142,044      1,262,334   313,259     509,283      8,809,787


  Net Income           (571,031)     (540,059) (2,382,002) (2,622,527) (2,936,769)   (670,538) (1,051,823) (1,865,776)      (1,989,623) (358,138)   (662,105)   (15,650,391)




* The above Statement of Operations is displayed on a cash basis




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GigaMonster Networks LLC                                                                             Case 23-10051-JKS
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Prepetition Debt Payments - by Date


                    Date Cleared    Date Cut                  Vendor Name                Amount
                    1/17/2023      1/15/2023    *Admin America                              340.38
                    1/17/2023      1/12/2023    *Georgia Tech Foundation, Inc.              115.00
                    1/17/2023      -            *Portland General                            46.85
                    1/17/2023      -            *Shentel                                     32.76
                    1/17/2023      -            *So Cal Edison                               82.19
                    1/17/2023      -            Regions Bank Credit Card                 51,603.12
                    1/18/2023      -            *Portland General                            51.45
                    1/18/2023      -            *Portland General                            53.93
                    1/18/2023      8/18/2022    *WST 1077 Water Street LLC                  171.77
                    1/19/2023      1/12/2023    *American Assets Trust                      130.42
                    1/19/2023      1/12/2023    *American Assets Trust                       58.27
                    1/19/2023      1/12/2023    *American Assets Trust                       64.00
                    1/19/2023      1/12/2023    *American Broadband Services              3,165.00
                    1/19/2023      1/12/2023    *Berkshire Income Realty OP, LP             104.00
                    1/19/2023      -            *Portland General                            20.60
                    1/19/2023      -            *Portland General                            51.38
                    1/19/2023      -            *Portland General                            58.40
                    1/19/2023      -            *Portland General                            62.32
                    1/19/2023      -            *Portland General                            95.73
                    1/19/2023      -            City of Lincoln                             205.25
                    1/19/2023      1/12/2023    City of Orange                              174.00
                    1/20/2023      10/26/2022   *Belletera Realty Corporation               482.87
                    1/20/2023      1/12/2023    *WG Apartments                            1,734.85
                    1/23/2023      1/5/2023     *Helio Broadband LLC                      2,363.38
                    1/23/2023      1/12/2023    *Ken and Peg Lamar                          321.85
                    1/24/2023      1/12/2023    *400 West Peachtree Residential             150.00
                    1/24/2023      1/12/2023    *Healthpeak Properties, Inc.                841.28
                    1/24/2023      -            Department of Revenue - Colorado              1.16
                    1/24/2023      -            Department of Revenue - Florida          28,261.29
                    1/24/2023      -            Department of Revenue - Georgia          25,435.41
                    1/24/2023      -            Department of Revenue - MN                   29.00
                    1/24/2023      -            Department of Revenue - South Carolina    4,518.08
                    1/24/2023      -            Louisiana Department of Revenue              16.00
                    1/24/2023      -            Virginia Dept of Taxation                11,840.84
                    1/25/2023      10/26/2022   *Arbors at Cahaba River, LLC                121.91
                    1/25/2023      -            Department of Revenue - Tennessee             1.00
                    1/25/2023      -            Maryland Comptroller                        334.16
                    1/25/2023      -            State of New York                           100.00
                    1/30/2023      -            California Dept of Tax and Fee Admin     14,649.00
                    1/30/2023      -            Commonwealth of Massachusetts             1,734.93
                    1/30/2023      -            Department of Revenue - Alabama           2,492.53
                    1/30/2023      -            Department of Revenue - Texas            45,824.28
                    1/31/2023      1/5/2023     *Delmarva Power                              12.66
                    1/31/2023      1/12/2023    *Shockoe Old Stone Row Owner              1,600.00
                    1/31/2023      -            California Public Utilities Commission      101.25
                    2/7/2023       2/15/2023    City of Sherwood                            558.87
                    2/14/2023      8/18/2022    *Gables Vinings                               4.92
                    2/16/2023      2/22/2023    City of Sherwood                          1,155.00
                    2/21/2023      10/26/2022   *Gables Vinings                              40.40


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GigaMonster Networks LLC                                                                                      Case 23-10051-JKS
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                    Date Cleared    Date Cut                  Vendor Name                         Amount
                    2/21/2023      2/16/2023   GPSC UAF                                            1,591.98
                    2/24/2023      2/16/2023   Florida Public Service Commissions                    636.00
                    3/2/2023       3/8/2023    Aldine I.S.D.                                         146.92
                    3/2/2023       3/9/2023    Ann Harris Bennett                                 12,031.24
                    3/2/2023       3/9/2023    Baldwin County Revenue Commission                      51.48
                    3/2/2023       3/15/2023   Charles W. Thomas                                     419.18
                    3/2/2023       3/8/2023    City of Bartlett                                       73.18
                    3/2/2023       3/6/2023    City of Clarksville                                   218.00
                    3/2/2023       3/7/2023    City of Kennesaw                                        8.24
                    3/2/2023       3/7/2023    City of Murfreesboro                                   82.00
                    3/2/2023       3/23/2023   Clackamas County Tax Collector                      3,373.53
                    3/2/2023       3/8/2023    Collin County Tax Office                            1,566.75
                    3/2/2023       3/8/2023    Dallas County Tax Office                            2,943.81
                    3/2/2023       3/15/2023   Denton County Tax Assessor                            180.69
                    3/2/2023       3/8/2023    Desoto County, Tax Collector                          234.39
                    3/2/2023       3/13/2023   Fort Bend County Tax Assessor                         862.14
                    3/2/2023       3/7/2023    Fulton County Tax Commissioner                         94.44
                    3/2/2023       3/14/2023   Hays County Tax Assessor                            1,103.26
                    3/2/2023       3/8/2023    Hockley County Tax Office                             670.19
                    3/2/2023       -           Jefferson County, J.T. Smallwood                      812.41
                    3/2/2023       3/7/2023    Kristeen Roe Tax Assessor                             963.25
                    3/2/2023       3/15/2023   Mecklenburg County Tax Collection                   2,128.74
                    3/2/2023       3/6/2023    Metropolitan Trustee                                1,223.05
                    3/2/2023       3/15/2023   Miami - Dade Tax Collector                          6,082.66
                    3/2/2023       3/8/2023    Michelle Terry, PCAC                                  517.64
                    3/2/2023       3/15/2023   Montgomery County Trustee                             531.00
                    3/2/2023       3/22/2023   Nancy Millan, Tax Collector                        10,234.23
                    3/2/2023       3/7/2023    Rockwall CAD                                          384.04
                    3/2/2023       3/8/2023    Rutherford County Trustee                             139.00
                    3/2/2023       3/9/2023    Scott Randolph, Tax Collector                       2,687.11
                    3/2/2023       3/7/2023    Shelby County Alabama                                 109.92
                    3/2/2023       3/7/2023    St. Claire County Revenue Commissioner                  6.56
                    3/2/2023       3/10/2023   St. Lucie County Tax Collector                        178.01
                    3/2/2023       -           St. Tammany Parish                                  1,937.27
                    3/2/2023       -           Tax Collector, Palm Beach County                    1,568.33
                    3/2/2023       3/9/2023    Travis County Tax Office                              222.74
                    3/2/2023       3/6/2023    Wendy Burgess, Tax Assessor                         6,661.25
                    3/2/2023       3/13/2023   West Harris County Municipal Utility District #2       99.66
                    3/2/2023       -           York County Tax Collector                             388.61
                    3/3/2023       -           Christopher Posey                                   2,221.31
                    3/16/2023      3/23/2023   Carson City Treasurer                                  20.79
                    3/16/2023      3/23/2023   Oregon State Treasury                                 150.00
                    3/16/2023      3/23/2023   Oregon State Treasury                                 150.00
                    3/16/2023      3/23/2023   Oregon State Treasury                                 150.00
                    3/17/2023      -           Dirk Haas                                             231.35
                    3/17/2023      -           Donald Minzey                                       2,789.85
                    3/22/2023      -           Georgia Dept of Revenue                             3,182.50
                    3/23/2023      3/29/2023   City of Sherwood                                       37.26
                    3/29/2023      -           Florida Department of Revenue                         182.59


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GigaMonster Networks LLC                                                                               Case 23-10051-JKS
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                    Date Cleared       Date Cut                  Vendor Name               Amount
                    3/29/2023      -              Florida Department of Revenue                60.63
                    3/29/2023      -              Florida Department of Revenue                50.00
                    3/29/2023      -              Florida Department of Revenue                50.00
                    3/29/2023      -              Florida Department of Revenue                47.11
                    3/29/2023      -              Florida Department of Revenue                47.11
                    3/29/2023      -              Florida Department of Revenue                47.11
                    3/29/2023      -              Florida Department of Revenue                47.11
                    3/31/2023      -              Abdou Daouda                                840.06
                    3/31/2023      -              California Public Utilities Commission        1.42
                    3/31/2023      -              California Public Utilities Commission        0.33
                    3/31/2023      -              California Public Utilities Commission        0.31
                    3/31/2023      -              California Public Utilities Commission        0.23
                    3/31/2023      -              California Public Utilities Commission        0.21
                    3/31/2023      -              Eric Cora                                 1,033.51
                    3/31/2023      -              Giovanni Velez Sheppard                   1,067.50
                    3/31/2023      -              Gregory Baez                              1,287.00
                    3/31/2023      -              Jason Carter                              1,254.95
                    3/31/2023      -              Joel Treasvant                            1,250.00
                    3/31/2023      -              Jordan Steagall                             763.84
                    3/31/2023      -              Lamont Croom                              1,620.00
                    3/31/2023      -              Manuel Cora                               1,213.42
                    3/31/2023      -              Michael Frazier Binkley                   1,743.39
                    3/31/2023      -              Robert Drake                              2,916.88
                    3/31/2023      -              Charles Russell Beal                      1,999.75
                    4/3/2023       -              Peter Martin Walsh                          136.00
                    4/28/2023      -              Andrew Christopher Coke                   1,899.37
                    4/28/2023      -              Bobby Cole                                1,280.64
                    4/28/2023      -              Keith Cagle                                 308.12
                    4/28/2023      -              Lakessica Sims                            2,497.51
                    5/12/2023      -              Jeanine Garcia                            2,070.63
                    5/12/2023      -              Joseph King                               1,971.07
                    5/12/2023      -              Rodrigo Nieto                             2,163.60
                    5/17/2023      -              Oregon State Treasury                       387.65
                    6/9/2023       -              Dionne McCormick                            930.00
                    6/9/2023       -              Michael Shane Mayfield                    2,999.38
                    6/23/2023      -              Christopher Hall                          4,616.35
                    7/7/2023       -              Chrystal Godwin                           2,251.88
                    7/7/2023       -              Jaaliyah Arrington                          962.80
                    8/4/2023       -              Jeff Thompson                               439.21
                    8/4/2023       -              Aleia Peterson                            2,194.33
                    8/4/2023       -              Kathryn Crawford                          4,584.17
                    8/14/2023      -              Diego Palacios                            1,068.00
                    8/14/2023      -              Jonathan Berumen                          1,227.20
                    9/1/2023       -              Abraham Sarmiento                           963.30
                    9/1/2023       -              Brendan Daltry                            3,000.00
                    9/1/2023       -              Darren Doolittle                            241.20
                    9/1/2023       -              Jesus Garcia                              2,334.00
                    9/1/2023       -              Sabastian Coutinho                        6,922.00
                    9/1/2023       -              William McKinney                          2,053.92


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GigaMonster Networks LLC                                                                                    Case 23-10051-JKS
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                    Date Cleared       Date Cut                Vendor Name                     Amount
                    9/15/2023      -              Steven Ronald Mutton                           6,651.10
                    9/15/2023      -              Tanya Dickerson                                5,770.73
                    9/29/2023      -              Craig Weaver                                   3,997.15
                    9/29/2023      -              James Hawthorne                                2,860.87
                    9/29/2023      -              Nicholas Raviele                               3,727.40
                    9/29/2023      -              Olivia Protash                                 2,470.18
                    9/29/2023      -              Robert McNeal                                  5,332.55
                    9/29/2023      -              Sarah Holzmacher                               1,748.25
                    Total                                                                     373,094.71

* The above disbursements were automatically drawn from Regions Bank and are related to prepetition
liability. These payments are currently in dispute and pending reversal.




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